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            CASE NO. 17-CV-00204
           JOHNNIE LEE SAVORY
                           V.
        CHARLES CANNON, ET AL.


                   DEPONENT:
                  ANN YEAGLE


                       DATE:
                February 06, 2023
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·1· · · · ·IN THE UNITED STATES DISTRICT COURT FOR THE
·2· · · · · · · · ·NORTHERN DISTRICT OF ILLINOIS
·3· · · · · · · · · · · ·EASTERN DIVISION
·4· · · · · · · · · · ·CASE NO. 17-CV-00204
·5
·6· · · · · · · · · · ·JOHNNIE LEE SAVORY,
·7· · · · · · · · · · · · · ·Plaintiff
·8
·9· · · · · · · · · · · · · · · V.
10
11· · · · · · · · · ·CHARLES CANNON, ET AL.,
12· · · · · · · · · · · · · Defendants
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23· ·DEPONENT:· ANN YEAGLE
24· ·DATE:· · · FEBRUARY 6, 2023
25· ·REPORTER:· EMILIA LOPEZ
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11· ·The Sotos Law Firm, P.C.                                  11· · · · ·PEORIA_SAVORY 12704-12705
12· ·141 West Jackson Boulevard                                12
13· ·Suite 1240A                                               13
14· ·Chicago, Illinois 60604                                   14
15· ·Telephone No.: (630) 735-3300                             15
16· ·E-mail: jtimbo@sotos.com                                  16
17· ·(Appeared via videoconference)                            17
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·1· · · · · · · · · · · · ·STIPULATION                            ·1· · · ·Bowling Brook, Illinois.
·2                                                                ·2· · · · · · MS. HAGY:· Assistant Attorney General Robert
·3· ·The VIDEO deposition of ANN YEAGLE was taken at              ·3· · · ·Hogue here from Springfield, Illinois on behalf of
·4· ·KENTUCKIANA COURT REPORTERS, 730 WEST MAIN STREET, SUITE     ·4· · · ·Ann Yeagle.
·5· ·101, LOUISVILLE, KENTUCKY 40202, via videoconference in      ·5· · · · · · COURT REPORTER:· All righty.· Thank you.
·6· ·which all participants attended remotely, on MONDAY the      ·6· · · ·Ms. Yeagle, will please state your full name and
·7· ·6th day of FEBRUARY 2023 at 10:06 a.m. (CT); said            ·7· · · ·hold your ID up to the camera?
·8· ·deposition was taken pursuant to the FEDERAL Rules of        ·8· · · · · · THE WITNESS:· My name is Ann Maria Yeagle.
·9· ·Civil Procedure.· The oath in this matter was sworn          ·9· · · · · · COURT REPORTER:· Thank you so much.· Do all
10· ·remotely pursuant to FRCP 30.                                10· · · ·parties agree that the witnesses, in fact, Ann
11                                                                11· · · ·Yeagle?
12· ·It is agreed that EMILIA LOPEZ, being a Notary Public        12· · · · · · MS. HAGY:· Yes.
13· ·and Court Reporter, may swear the witness and that the       13· · · · · · COURT REPORTER:· Thank you.
14· ·reading and signing of the completed transcript by the       14· · · · · · MR. TIMBO:· So stipulated.
15· ·witness is not waived.                                       15· · · · · · COURT REPORTER:· Thank you.· Ms. Yeagle, will
16                                                                16· · · ·you please raise your right hand?· Do you solemnly
17                                                                17· · · ·swear or affirm that the testimony you're about to
18                                                                18· · · ·give will be the truth, the whole truth, and nothing
19                                                                19· · · ·but the truth?
20                                                                20· · · · · · THE WITNESS:· Yes, I do.
21                                                                21· · · · · · COURT REPORTER:· Thank you.· Counsel, you may
22                                                                22· · · ·proceed.
23                                                                23· · · · · · · · · DIRECT EXAMINATION
24                                                                24· ·BY MS. HAGY:
25                                                                25· · · · Q· · Ms. Yeagle, have you already spelled your name

                                                         Page 7                                                          Page 9
·1· · · · · · · · · · ·PROCEEDINGS                                ·1· ·for the record?
·2                                                                ·2· · · · A· · No, I have not.
·3· · · · COURT REPORTER:· Okay, we're now on the record.         ·3· · · · Q· · Okay, why don't you go ahead and do that so we
·4· ·My name is Emilia Lopez.· I'm the online video               ·4· ·have that?
·5· ·technician and court reporter today representing             ·5· · · · A· · So it's Ann, A-N-N, last name, Yeagle,
·6· ·Kentuckiana Court Reporters located at 730 West Main         ·6· ·Y-E-A-G-L-E.
·7· ·Street, Suite 101, Louisville, Kentucky 40202.               ·7· · · · Q· · And let the record reflect this is a
·8· ·Today is the 6th day of February 2023 and the time           ·8· ·videotaped deposition of Ann Yeagle taken pursuant to
·9· ·is 10:06 a.m. Central Time.· We are convened by              ·9· ·notice and the Federal Rules of Civil Procedure.
10· ·videoconference to take the deposition of Ann Yeagle         10· ·Ms. Yeagle, have you ever been deposed before?
11· ·in the matter of Johnnie Lee Savory v. Charles               11· · · · A· · Yes, I have.
12· ·Cannon, et al., pending in the US District Court for         12· · · · Q· · And have you been deposed via Zoom before?
13· ·the Northern District of Illinois, Eastern Division,         13· · · · A· · No, I have not.
14· ·Case number 12-CV-00204.· Will everyone but the              14· · · · Q· · Okay.· So you're probably familiar with a lot
15· ·witness please state your appearance, how you're             15· ·of the rules, but I'm just going to go over them really
16· ·attending, and your location, starting with the              16· ·quickly, especially because they're a little different
17· ·plaintiff's counsel?                                         17· ·over Zoom.· So it's important to keep your voice loud
18· · · · MS. HAGY:· This is Lindsay Hagy on behalf of            18· ·and to answer verbally rather than with gestures or by
19· ·Plaintiff Johnnie Lee Savory, appearing via Zoom             19· ·saying, "Uh-huh," so that it's easier for the court
20· ·from Oak Park, Illinois.                                     20· ·reporter to write it down.· I'm sure you're also
21· · · · MS. PIERCE:· This is Megan Pierce on behalf of          21· ·familiar with that from your courtroom testimony.· And
22· ·the plaintiff as well, attending remotely from               22· ·I'll try to ask questions that make sense, but if they
23· ·Portland, Oregon.                                            23· ·don't make sense, please let me know so that I can
24· · · · MR. TIMBO:· Good morning, John Timbo on behalf          24· ·restate them; is that fair?
25· ·of all defendants appearing from my residence in             25· · · · A· · Yes, thank you.
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·1· · · · Q· · And if they -- if you do answer, then I'll       ·1· · · · Q· · Okay.· And do you believe that in 2015, you
·2· ·assume that you -- that the question did make sense to     ·2· ·would've given accurate and truthful testimony to the
·3· ·you; is that fair?                                         ·3· ·best of your ability?
·4· · · · A· · Yes, thank you.                                  ·4· · · · A· · Yes.
·5· · · · Q· · And because there's no judge, there's no one     ·5· · · · Q· · Okay.· And do you remember any other documents
·6· ·to rule on objections.· So once -- Mr. Timbo might         ·6· ·that you reviewed?
·7· ·object to my questions and then just let him make his      ·7· · · · A· · Solely case file notes, reports, however some
·8· ·objections, and then unless Mr. Hogue instructs you not    ·8· ·conversation logs, that type of information.
·9· ·to answer, then you can answer the question.               ·9· · · · Q· · Did you look at some of the photos that you
10· · · · A· · Yes, thank you.                                  10· ·took of the evidence?
11· · · · Q· · Okay.· ·And if you need a break, just let me     11· · · · A· · Yes, I did.· Those are included in my case
12· ·know.· I would just ask that you finish answering the      12· ·file notes.
13· ·question that's before you, or maybe if you can see if     13· · · · Q· · And is it accurate to say there's a case file
14· ·there's a good stopping point, but you can basically       14· ·note that goes with each of the reports that you issued
15· ·take a break anytime that you need to.                     15· ·in this case?
16· · · · A· · Thank you.                                       16· · · · A· · Yes, that is correct.
17· · · · Q· · So do you have any conditions that might         17· · · · Q· · So you issued four reports; is that right?
18· ·affect your ability to provide truthful and accurate       18· · · · A· · Correct, two forensic biology reports, two DNA
19· ·testimony today?                                           19· ·reports, and then there was an amended report, so that
20· · · · A· · No.                                              20· ·counts kind of in that same.· There was one additional
21· · · · Q· · Do you have any conditions that affect your      21· ·report, I believe, in regards to the combined DNA
22· ·memory?                                                    22· ·indexing system.
23· · · · A· · No.                                              23· · · · Q· · And that's what's known as CODIS, correct?
24· · · · Q· · And are you on any medications that might        24· · · · A· · Yes.
25· ·affect your ability to provide truthful and accurate       25· · · · Q· · Okay.· And that was the last report that you

                                                      Page 11                                                         Page 13
·1· ·testimony today?                                           ·1· ·issued in this case, correct?
·2· · · · A· · No, I'm not.                                     ·2· · · · A· · Yes, I believe so.
·3· · · · Q· · And are you on any medications that affect       ·3· · · · Q· · Okay.· And you're right, I am -- I was going
·4· ·your memory?                                               ·4· ·to talk about that amended report when we get to that
·5· · · · A· · No, I'm not.                                     ·5· ·one, but it's basically the same.· It's basically the
·6· · · · Q· · Is there anything else that might affect your    ·6· ·same as October 1st report, right?· You were just fixing
·7· ·ability to provide accurate testimony or affect your       ·7· ·kind of, like, a typo?
·8· ·memory today?                                              ·8· · · · A· · Yes, that's correct.
·9· · · · A· · No, not to my -- best of my knowledge.           ·9· · · · Q· · Okay.· And do you have an independent memory
10· · · · Q· · Okay.· Did you do anything to prepare for this   10· ·of your work in the Johnnie Lee Savory case?
11· ·deposition today?                                          11· · · · A· · I have some, yes.
12· · · · A· · Yes, I did.                                      12· · · · Q· · Okay.
13· · · · Q· · Okay.· What did you do?                          13· · · · A· · Just general recollection of my work and of
14· · · · A· · I reviewed my case notes as well as prior to     14· ·what was done, yes.
15· ·today, I have had conversations with you as well as        15· · · · Q· · And your work in this case began in 2013; is
16· ·conversation with individuals from the Sotos Law Firm.     16· ·that accurate?
17· · · · Q· · Okay.· And who did you talk to from the Sotos    17· · · · A· · Yes, I believe that's when my work started.
18· ·Law Firm?                                                  18· · · · Q· · And then you finished in 2018, right?
19· · · · A· · I don't recall exactly.                          19· · · · A· · Correct, I believe that's when the last report
20· · · · Q· · Okay.· And did you review your 2015 testimony    20· ·was issued was in 2018.
21· ·in the criminal case?                                      21· · · · Q· · Okay.· But you didn't do any of the work in
22· · · · A· · I did not.                                       22· ·this case in the original proceedings in 1977 and 1981,
23· · · · Q· · Okay.                                            23· ·right?
24· · · · A· · A few pages of it, but I did not review it in    24· · · · A· · Correct.
25· ·totality.                                                  25· · · · Q· · And you did some testing on items that had
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·1· ·been found at the crime scene, right?                      ·1· · · · Q· · And what was your first position there?
·2· · · · A· · Yes, I believe there were items that were        ·2· · · · A· · I was a state police evidence technician II at
·3· ·found at the crime scene, yes.                             ·3· ·the Springfield laboratory.
·4· · · · Q· · And then you also did testing on items that      ·4· · · · Q· · And when did you first start doing DNA
·5· ·were found at the home of Johnnie Lee Savory, right?· Or   ·5· ·testing?
·6· ·were -- or did you not really have information on where    ·6· · · · A· · I became a -- I was hired as a forensic
·7· ·the items were recovered from?                             ·7· ·scientist trainee in the areas of forensic biology and
·8· · · · A· · I did not have complete information as to        ·8· ·DNA analysis in November of 2000, so I began my training
·9· ·where the items were recovered from.· There were some      ·9· ·at that time and completed my training in
10· ·items that were reported to have been obtained from, or    10· ·2002.
11· ·that they were from a bedroom or from a bedroom floor or   11· · · · Q· · Okay.· Sorry, I don't want to try it.· Sorry,
12· ·from autopsy, but I didn't have complete information on    12· ·my kid is standing here with a cup of ramen.· I don't
13· ·each item as to whether, right, that was from the          13· ·know why.· Okay.· Okay, I'm sorry about that.· So what
14· ·original crime scene or where those items were recovered   14· ·was the role that you had in 2014?
15· ·from specifically.                                         15· · · · A· · 2014, I was with forensic biology and DNA
16· · · · Q· · Okay.· And I want to go into your background a   16· ·analyst, so working as a forensic scientist, and I
17· ·little bit.· Do you have a college degree?                 17· ·received evidence from law enforcement agencies,
18· · · · A· · I have a Bachelor's of Science degree from the   18· ·examined that evidence, both for biological material as
19· ·University of Illinois in Urbana-Champaign.                19· ·well as obtaining DNA profiles from that evidence and
20· · · · Q· · And what did you major in?                       20· ·reporting those findings as well as testifying in court
21· · · · A· · I majored in animal science and took             21· ·as needed.· At that time, I was employed and working in
22· ·additional coursework in biology, microbiology,            22· ·the Morton Forensic Science Laboratory for the Illinois
23· ·molecular genetics, and genetics in general.· So an        23· ·State Police.
24· ·animal science degree with supporting science              24· · · · Q· · Okay.· And what type of training did you have
25· ·background.                                                25· ·from the Illinois State Police to do DNA testing?

                                                      Page 15                                                         Page 17
·1· · · · Q· · And then did you -- was it after that that you   ·1· · · · A· · I had completed the Illinois State Police's
·2· ·took additional classes at the University of Illinois      ·2· ·training program in both forensic biology and DNA
·3· ·Springfield?                                               ·3· ·analysis.· That training program involved hands-on
·4· · · · A· · Yes, it was after I graduated from University    ·4· ·application, so actually the performing the DNA tests
·5· ·of Illinois in Urbana-Champaign in 1995.· And then in      ·5· ·and having that work checked to ensure those were
·6· ·1996, I took coursework from the University of Illinois    ·6· ·obtaining the correct profiles.· That -- that training
·7· ·in Springfield.                                            ·7· ·program, I was in -- in training for approximately a
·8· · · · Q· · Okay.· And what coursework -- was that the       ·8· ·year-and-a-half, that included both the forensic biology
·9· ·coursework you just described?                             ·9· ·screening portion, which was about six months of
10· · · · A· · That was genetics class as well as -- it was     10· ·training and then the DNA analysis training.· So there
11· ·teacher education prep was what I was looking for.         11· ·was classroom material presentations with reading
12· · · · Q· · Okay.                                            12· ·exercises, lectures, quizzes, and tests that I had to
13· · · · A· · In education.                                    13· ·take to show that I understood the theory and the
14· · · · Q· · And when did you first start working at the      14· ·science behind the DNA analysis itself as well as the
15· ·Illinois -- at -- for Illinois State Police?               15· ·protocols as set up by the Illinois State Police. I
16· · · · A· · I began working for the Illinois State Police    16· ·completed that training program, and then I finished
17· ·in November of 1996.                                       17· ·with oral exams and a mock trial to show that I could
18· · · · Q· · So was that pretty soon after you graduated      18· ·relay that information back verbally and explain right
19· ·from college?                                              19· ·what I was doing; as well as then annually, I take and
20· · · · A· · Yes, I graduated in May of '95 and started       20· ·pass proficiency examinations to show that I'm retaining
21· ·with the Illinois State Police in November of 1996, so     21· ·proficiency in that forensic biology and DNA analysis.
22· ·about a year-and-a-half.                                   22· · · · Q· · And when you were talking about the ISP
23· · · · Q· · And so have you been at the state police since   23· ·protocols, does ISP have its own interpretation
24· ·that time?                                                 24· ·guidelines for DNA?
25· · · · A· · Yes, I have.                                     25· · · · A· · Yes, it does.
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·1· · · · Q· · And are those based on any national standards    ·1· · · · Q· · And then I'm going to scroll down.· Oh, this
·2· ·or any standards that are adopted by other laboratories?   ·2· ·one is not signed, but this is your report, right?
·3· · · · A· · Our -- the Illinois State Police                 ·3· · · · A· · Yes, it appears to be, yes.
·4· ·interpretation guidelines are following our validation     ·4· · · · Q· · Okay.· So is it fair to say that this report
·5· ·studies that were done within the Illinois State Police    ·5· ·lays out some of the -- well, not some of, but the for
·6· ·as well as utilizing those developmental validations       ·6· ·-- sorry, let's just strike that.· Is it fair to say
·7· ·that are available from the companies that provide the     ·7· ·that this report lays out your forensic and biology
·8· ·DNA kits that we utilize, the chemistries as well as       ·8· ·examination of the items in this case that you were
·9· ·then following the guidelines from the quality assurance   ·9· ·asked to test in 2014?
10· ·standards, which are set up by the FBI, and as well as     10· · · · A· · Yes, I believe it does.
11· ·our other accrediting bodies, ensuring that those are --   11· · · · Q· · Okay.· So I'm going to stop sharing.· And some
12· ·we're following those standards.                           12· ·of the items you didn't do any forensic examination or
13· · · · Q· · And is that similar processes for your           13· ·biology examination of, right?
14· ·standard operating procedures?                             14· · · · A· · Yes, that is correct.
15· · · · A· · Yes.                                             15· · · · Q· · So the vaginal swabs, which was 1A1, you
16· · · · Q· · And so those are also somewhat derived from      16· ·didn't do any forensic examination on, right?
17· ·the QAS developed by the FBI, right, and reflect similar   17· · · · A· · I did not do any testing, correct. I
18· ·procedures that are used by other accredited               18· ·preserved that for future testing for DNA analysis.
19· ·laboratories?                                              19· · · · Q· · Okay.· And why didn't you do any biology
20· · · · A· · Yes, that is correct.                            20· ·testing on those?
21· · · · Q· · Okay.· And in this case, you also coordinated    21· · · · A· · Number one reasoning was to preserve the
22· ·some of the testing with representatives from Bode         22· ·sample for the DNA analysis.· The process of forensic
23· ·Cellmark, right?                                           23· ·biology screening uses up sample but is not able to
24· · · · A· · Yes, that is correct.                            24· ·identify a source as in an individual, so it was
25· · · · Q· · And all of the testing that was undertaken in    25· ·determined to solely preserve the sample.· There was

                                                      Page 19                                                         Page 21
·1· ·this case was done with input from both the defendant      ·1· ·prior information provided to me from a prior report by
·2· ·and the State; is that fair?                               ·2· ·a prior analyst that there was seminal material
·3· · · · A· · Yes, that is correct.· There was a court order   ·3· ·indicated on the item and it was preserved and passed on
·4· ·for -- right, for the processing, for the testing as       ·4· ·for DNA analysis.
·5· ·well as, right, discussions with both the prosecution      ·5· · · · Q· · And that, you have no independent knowledge of
·6· ·and defense in regards to approval for testing as well     ·6· ·that testing or opinion on that testing, you just have
·7· ·as, right, the individuals from Bode Cellmark all coming   ·7· ·the fact of what that testing was reported, right?
·8· ·together to facilitate the testing and ensure everyone     ·8· · · · A· · Correct.
·9· ·agreed to the testing and I agreed with the path -- path   ·9· · · · Q· · And in some of the prior testing, all you had
10· ·forward with the items of evidence.                        10· ·was the reports, right?· None of the underlying
11· · · · Q· · Okay.· And was this the first time that you      11· ·worksheets for some of them, you just had that report,
12· ·did testing in an older case like this?                    12· ·correct?
13· · · · A· · No, I have done a few older cases.               13· · · · A· · That is correct.
14· · · · Q· · Okay.· So I'm going to start with the first      14· · · · Q· · And so you were just reading what the prior
15· ·report that you did in this case, the January 17, 2014     15· ·analysts, what they said their findings were, right?
16· ·report.· And I'm going to bring this up on the screen as   16· · · · A· · Yes, that is correct.
17· ·Exhibit 1, and then please let me know if you can see      17· · · · Q· · Okay.· And as you said, with the swabs, the
18· ·this.· I can make it bigger.· Okay.· Are you able to see   18· ·goal was to try to get DNA from that item, right?
19· ·this?                                                      19· · · · A· · Yes.
20· · · · · · · (EXHIBIT 1 MARKED FOR IDENTIFICATION)           20· · · · Q· · And when you got the swabs, they were already
21· · · · A· · Yes, I can see a portion of that report you're   21· ·partially consumed; is that right?
22· ·describing.                                                22· · · · A· · I believe so, yes.· There had been testing
23· · · · Q· · Okay.· And so this was issued on January 17,     23· ·done prior.· They appeared to have testing done on them.
24· ·2014, right?                                               24· · · · Q· · Would it be fair to say that it -- they were
25· · · · A· · Yes, that is correct.                            25· ·about halfway consumed?
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·1· · · · A· · Possibly.· I don't recall exactly how much was   ·1· ·testing, I utilized IdentiFiler Plus, which is a
·2· ·consumed.                                                  ·2· ·commercial kit available that looks at 15 locations on
·3· · · · Q· · Okay.· I can show you this, which this is        ·3· ·the DNA as well as amelogenin, which is a sex typing
·4· ·your --                                                    ·4· ·marker.· So looking at those locations, looking at
·5· · · · · · MS. HAGY:· -- so Emilia, I hope I marked that     ·5· ·specific regions of those on that DNA to determine a DNA
·6· · · ·last item as Exhibit 1?· Okay.                         ·6· ·profiler, a DNA type at each one of those locations as
·7· · · · Q· · So this is going to be Exhibit 2.· Okay, can     ·7· ·well as for that totality of those 15 locations on the
·8· ·you see this?                                              ·8· ·DNA, plus the amelogenin, so that's sex typing marker.
·9· · · · · · · (EXHIBIT 2 MARKED FOR IDENTIFICATION)           ·9· ·In future testing, I utilized a different kit that is
10· · · · A· · Yes, I can.                                      10· ·larger, a larger multiplex, and has 23 locations plus
11· · · · Q· · And this -- well, what is this document?         11· ·amelogenin, but they're both utilizing the same science
12· · · · A· · This appears to be a copy of my case notes       12· ·and short tandem repeat technology. So looking at your
13· ·from the examination of item 1A, the -- the vaginal        13· ·DNA, looking at specific locations on specific
14· ·swabs.                                                     14· ·chromosomes for that genetic information.
15· · · · Q· · Okay.· And I'll show you here.· I don't know     15· · · · Q· · And when you do the quantitative portion of
16· ·if you can see it from -- I'll make it smaller for a       16· ·the autosomal DNA, is it fair to say that sometimes you
17· ·second.· These are your initials here, right?              17· ·determine that a different type of testing might be best
18· · · · A· · Yes, those are.                                  18· ·for that particular item?
19· · · · Q· · Okay.· And so here, you can see the picture of   19· · · · A· · Yes, that is true.
20· ·the swabs.· And then you had said here, about half of      20· · · · Q· · And is that what happened in this case, that
21· ·each swab tip appeared to have been previously removed?    21· ·you determined that the swab would be better suited for
22· · · · A· · Yes, that is correct.                            22· ·Y-STR or MiniFiler testing?
23· · · · Q· · Okay.· And then you were working to preserve     23· · · · A· · Yes.
24· ·-- to extract the DNA and then preserve it?                24· · · · Q· · Okay.· And then you ultimately had that --
25· · · · A· · Yes, correct.                                    25· ·passed this on to Mr. Frank, Mr. William Frank, so that

                                                      Page 23                                                         Page 25
·1· · · · Q· · I'm sorry --                                     ·1· ·he could do the more specified testing on this item?
·2· · · · A· · Right.                                           ·2· · · · A· · Yes, that is correct.
·3· · · · Q· · You can answer.                                  ·3· · · · Q· · Okay.· And then in January 2014, another item
·4· · · · A· · I -- yes, I preserved the swab material, and     ·4· ·that you reported on was the light switch, the light
·5· ·that was then, right, for DNA testing.                     ·5· ·switch panel, right?
·6· · · · Q· · And you were extracting the DNA, and is it       ·6· · · · A· · The light switch cover, yes.
·7· ·accurate that you were also quantifying how much DNA was   ·7· · · · Q· · And you extracted DNA from the cover?
·8· ·there?                                                     ·8· · · · A· · Yes, that is correct.
·9· · · · A· · Yes, that is correct.                            ·9· · · · Q· · Okay.· So actually, I'm going to put that
10· · · · Q· · And the quantities that you were taking, was     10· ·Exhibit 2 back up.· Okay.· Ms. Yeagle, is this the light
11· ·that for autosomal testing?                                11· ·switch cover that you tested?
12· · · · A· · I would need to see that quant sheet, but yes,   12· · · · A· · Yes, that is my -- that appears to be my
13· ·that's -- that's the goal of my analysis is autosomal      13· ·notes.· And yes, appears to be the image of the light
14· ·STR analysis.· The quantification is looking at human      14· ·switch cover that I tested.
15· ·DNA as well as can be looking at how much male DNA is      15· · · · Q· · And then did you -- here on the side, can you
16· ·present or is detected, and that information can also be   16· ·see where I have the little hand?
17· ·utilized for other types of testing.· But for myself,      17· · · · A· · Yes, I can.
18· ·when I'm quantitating, I'm, right, looking at how much     18· · · · Q· · Are those your notes or are those somebody
19· ·DNA is present and its ability to be used for autosomal    19· ·else's notes?
20· ·STR analysis.                                              20· · · · A· · To the best of my ability, seeing those, those
21· · · · Q· · And can you give just a quick overview of what   21· ·appear -- appear to be mine, case number, date and my
22· ·autosomal DNA analysis is?                                 22· ·initials.
23· · · · A· · So autosomal STR analysis is just a simplified   23· · · · Q· · Okay.· And then --
24· ·process of DNA extraction and processing and looking at    24· · · · A· · It's just difficult to see.
25· ·specific locations on the DNA.· So in the first round of   25· · · · Q· · Sorry?
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·1· · · · A· · It's just difficult to see.· It -- it's a        ·1· · · · · · · (EXHIBIT 3 MARKED FOR IDENTIFICATION)
·2· ·little fuzzy.                                              ·2· · · · · · MR. TIMBO:· I did actually need Exhibit 2. I
·3· · · · Q· · Okay.· And this marker outline here, is this     ·3· · · ·did actually need the Exhibit 2 Bates numbers.
·4· ·where you swabbed your DNA samples from?                   ·4· · · · · · MS. HAGY:· Okay.· So for Exhibit 2, the Bates
·5· · · · A· · Yes, that is where I tested from and that is     ·5· · · ·numbers are SDT-BOI000945 to 947.
·6· ·one of the two areas that I swabbed.                       ·6· · · · · · MR. TIMBO:· Got it.· Okay, good.· Thank you.
·7· · · · Q· · Okay.· And up here where it has a little "1"     ·7· · · ·And then what's Exhibit 3?
·8· ·by it, is this the other one where you swabbed from?       ·8· · · · · · MS. HAGY:· So Exhibit 3 it's -- I'm only going
·9· · · · A· · Yes, it is.                                      ·9· · · ·to be looking at this one page right now, but it's a
10· · · · Q· · Okay.· And here you -- it says, the front        10· · · ·big chunk of documents.· It's the lab worksheets
11· ·before the testing and the swabbing and so you marked      11· · · ·from the January report.· But I actually -- because
12· ·it, and then this was before you took the sample from      12· · · ·of how big the document is, I had to break it up
13· ·it?                                                        13· · · ·into two parts.· So I'm -- what I'm going to be
14· · · · A· · Yes, that is correct.                            14· · · ·looking at right now is SDT-BOI000485.
15· · · · Q· · And then you didn't do any testing on the        15· · · · · · MR. TIMBO:· Got it.· Go ahead.· Thanks.
16· ·backside?                                                  16· ·BY MS. HAGY:
17· · · · A· · No.                                              17· · · · Q· · Okay.· So Ms. Yeagle, the -- it's pretty
18· · · · Q· · Okay.· And the light switch was called -- for    18· ·small, but let me know if you need me to make it bigger?
19· ·your testing, it was called Exhibit 15, right?             19· · · · A· · No, it's fine.
20· · · · A· · Yes, that is correct.                            20· · · · Q· · Okay.· So here, for the knife we said was
21· · · · Q· · Okay.· And then I'm going to stop sharing        21· ·Exhibit 44, right?
22· ·this.· And then you also looked at the knife, right?       22· · · · A· · Correct.
23· ·The -- a knife that was labeled Exhibit 44?                23· · · · Q· · And so 44A is the blade of the knife, right?
24· · · · A· · Yes, a folding pocket-style knife, yes.          24· ·Or I can go to another document to refresh.
25· · · · Q· · And on the knife, you also didn't do any -- do   25· · · · A· · Yes.· I believe the -- the blade was 44A, and

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·1· ·you say it -- or biology testing, I'm just going to say?   ·1· ·the inside portion of the folding area of the knife was
·2· · · · A· · No, I did not do any screening, so I didn't do   ·2· ·44B.
·3· ·any testing to determine the possible source of the        ·3· · · · Q· · And so when we talk about the inside portion
·4· ·biological material or of the staining present. I          ·4· ·of the knife, that's where the blade goes when the knife
·5· ·solely preserved the stains I observed.                    ·5· ·is closed, right?
·6· · · · Q· · And why was that?                                ·6· · · · A· · Yes.· Yes.· That is what I mean by what a --
·7· · · · A· · Again, that was to preserve sample for DNA       ·7· ·by that.
·8· ·testing versus using up the small stains in the            ·8· · · · Q· · Okay.· And so both of these, for autosomal
·9· ·biological screening.· So determining whether or not       ·9· ·DNA, it says, "ND."· And what does ND mean?
10· ·blood might be present on those stains based on its        10· · · · A· · ND indicates not detected.
11· ·visual appearance, I preserve the stains to preserve as    11· · · · Q· · So you didn't detect any DNA on the blade of
12· ·much as possible for DNA testing.                          12· ·the knife or the inside pocket of the knife, right?
13· · · · Q· · Okay.· And ultimately, there were some parts     13· · · · A· · Correct.· Based on this -- this quantitation,
14· ·of the knife where you didn't detect any quantities of     14· ·no human DNA was identified or in -- was detected on
15· ·autosomal DNA; is that fair?                               15· ·44A1 or 44B1.· Correct.
16· · · · A· · I believe so, yes.                               16· · · · Q· · And then here, where it says the little -- the
17· · · · Q· · Okay.· Would it help if I showed you the         17· ·last column doesn't have a label, but is it fair to say
18· ·quantification sheet?                                      18· ·that it's indicating what kind of testing might work for
19· · · · A· · Yes, that would help.                            19· ·that item?
20· · · · Q· · Okay.· Okay.· Well, I'm going to mark this as    20· · · · A· · Correct.· This is a -- a summary sheet in my
21· ·Exhibit 3.                                                 21· ·notes that is describing all of the items tested and
22· · · · · · MS. HAGY:· And John, I realize I haven't been     22· ·their quantitation results as well as then that last
23· · · ·saying the Bates numbers aloud, which I did mean to    23· ·column is describing the process moving forward with
24· · · ·say that, so if you need me to go back to any of the   24· ·that item, whether it would -- potentially could be
25· · · ·other ones, I can do that.                             25· ·forwarded for Y-STR analysis or MiniFiler, whether
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·1· ·nothing else would be done, whether it was consumed.· So   ·1· · · · A· · Yes, that is correct.
·2· ·just that -- a compilation of all that information.· But   ·2· · · · Q· · And do you know -- I need to take this down.
·3· ·that final column is, right, what would be going on next   ·3· ·Why were you able to do the biology testing on the
·4· ·with that item or what processing could be conducted on    ·4· ·pants?
·5· ·that item.                                                 ·5· · · · A· · The stained areas on the pants were much
·6· · · · Q· · Okay.· And when -- you mention the word          ·6· ·larger.· And the coloring of the stains on the pants
·7· ·"consumed;" and what does that mean?                       ·7· ·were not exactly -- they -- they appeared aged, but they
·8· · · · A· · Consumed in this context is in regards to the    ·8· ·didn't have an exact appearance of -- of true blood-like
·9· ·extracted DNA that -- in regards to, say, this reagent     ·9· ·staining in some areas.· And so I wanted to attempt to
10· ·blank where it says, "Consumed for 1-22MRB1," the          10· ·use the testing chemicals to better guide me into
11· ·notation off to the side is, "Consumed."· I utilized all   11· ·whether, right, this is -- is there -- is this testing
12· ·of that extracted DNA in my DNA analysis, and so there's   12· ·positive for blood or not?· And they're dark blue pants,
13· ·none left for additional testing.                          13· ·and trying to look at that as well as on, then, on the
14· · · · Q· · And in this case, there were a lot of            14· ·inside of the pockets.· So it was just a different item.
15· ·procedures around consumption, right, meaning that both    15· ·You know, a knife is a small, compact item and had a
16· ·parties agreed that that might happen and agreed -- when   16· ·small amount of visible staining present.· So I felt the
17· ·an item was going to be consumed, all parties agreed to    17· ·need to preserve that for solely DNA testing, whereas on
18· ·that consumption; is that accurate?                        18· ·these pants, there was a lot more surface area, a lot
19· · · · A· · Yes, that is correct.                            19· ·more potential for testing.
20· · · · Q· · And that's part of why Cellmark was involved,    20· · · · Q· · Okay.· Thank you.· So first, I'm going to
21· ·right?· So that there could be another accredited          21· ·bring up Exhibit 4.· And this is going to be ISP 956.
22· ·analyst input into whether consumption was needed, or      22· ·I'm sorry.· It's -- I did not mean -- I meant to say
23· ·just to make sure that the right testing was done before   23· ·SDT-BOI000956.· Okay.· And Ms. Yeagle, is this the knife
24· ·something was consumed?                                    24· ·that was designated Exhibit 44?
25· · · · A· · Correct.· I -- I was functioning based on ISP    25· · · · · · · (EXHIBIT 4 MARKED FOR IDENTIFICATION)

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·1· ·policies, protocols, our procedures manual.· And then      ·1· · · · A· · Yes.
·2· ·right.· Even, I believe, before I was involved, Bode       ·2· · · · Q· · Okay.· And so we see here that 44A was the
·3· ·Cellmark was involved with this.· So right, there was      ·3· ·sharp edge of the knife, the blade edge of the knife.
·4· ·information from myself in regards to the other events     ·4· ·And you can kind of see it here in this -- you took a
·5· ·and then as well, right, the additional input from Bode    ·5· ·picture where my -- where the hand is.· You took a
·6· ·Cellmark to give all sides, I believe, fair and accurate   ·6· ·picture of the blade?
·7· ·information in making those determinations of processing   ·7· · · · A· · Yes, that is correct.
·8· ·the DNA and ensuring that each item of evidence was        ·8· · · · Q· · And that's where you took the 44A testing
·9· ·following the best path it could at the time.              ·9· ·from?
10· · · · Q· · Thank you.· And so when you mentioned 22,        10· · · · A· · Yes, that is correct.
11· ·those were the fingernail scrapings from victim Connie     11· · · · Q· · And this is where -- and you came up with not
12· ·Cooper, right?                                             12· ·detected for the autosomal DNA quantity?
13· · · · A· · I believe so, yes.                               13· · · · A· · Correct.· Not detected for the human autosomal
14· · · · Q· · Okay.· And we can look at your report again in   14· ·DNA, correct.
15· ·a minute.· So here -- we'll start here on the pants,       15· · · · Q· · Human.· So there could have been animal?
16· ·which were blue pants that were given the number 59,       16· · · · A· · Correct.· I -- right.· My testing is solely
17· ·right?                                                     17· ·for human DNA.
18· · · · A· · Yes, that's correct.                             18· · · · Q· · Okay.· And then here, it's -- for 44B, right
19· · · · Q· · And here, we'll come back to this, but you       19· ·in the first picture on the left, this is where the
20· ·also did quantitative testing on several different parts   20· ·blade is inside of, that -- the inside area of the
21· ·of the blue pants, right?                                  21· ·folding knife?
22· · · · A· · Correct.· I cut out areas of the blue pants as   22· · · · A· · Yes, that is correct.
23· ·well as I swabbed from the waistband of the blue pants.    23· · · · Q· · And then you swabbed inside of -- like,
24· · · · Q· · And the pants, you also did biology testing      24· ·there's a crevice there, and you swabbed inside of that?
25· ·on, right?                                                 25· · · · A· · Yes, that's correct.
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·1· · · · Q· · And there, you also had not detected for human   ·1· · · · A· · Yes, that's correct.
·2· ·DNA on -- in the inside of that crevice?                   ·2· · · · Q· · So you mostly -- you swabbed the large
·3· · · · A· · Yes, that's correct, on the swab that I took.    ·3· ·majority of the waistband?
·4· · · · Q· · Okay.· Just going to -- this was Exhibit 4,      ·4· · · · A· · Yes, that is correct.
·5· ·and I'm going to take this down.· Okay.· And now, I'm      ·5· · · · Q· · Okay.· And we're going to come back here for a
·6· ·going to bring up Exhibit 5.· Okay.· And Ms. Yeagle, do    ·6· ·minute in a minute.· But first, I want to go back to
·7· ·you -- oh, sorry.· I'm going to say the Bates number for   ·7· ·Exhibit 1, which is the -- I have too many things open
·8· ·a minute.· This is SDT-BOI000959, and it's going to go     ·8· ·now.· The -- your report.· So coming back down, this is
·9· ·to 962.· Ms. Yeagle, do you see this initial down here?    ·9· ·where your report talked about the biology testing.· And
10· · · · · · · (EXHIBIT 5 MARKED FOR IDENTIFICATION)           10· ·as we discussed -- just go back up here -- you -- for
11· · · · A· · Yes, I do.· Well --                              11· ·1A, it says that you didn't do any testing on -- no
12· · · · Q· · And whose initial is that?                       12· ·biology testing on the vaginal swab, right?
13· · · · A· · Moment -- I need to move.                        13· · · · A· · Yes, that's correct.
14· · · · Q· · Oh.                                              14· · · · Q· · And then it says blood was indicated on the
15· · · · A· · Yes, I do.· Those are --                         15· ·light switch.· So what kind of blood testing did you do
16· · · · Q· · Okay.                                            16· ·on the light switch?
17· · · · A· · That is my initials.                             17· · · · A· · I utilized the Kastle-Myer test, which is just
18· · · · Q· · I'm glad that you know how to move the           18· ·a color indication test.· It detects, basically,
19· ·pictures because it's harder when the witness doesn't      19· ·hemoglobin in the blood.· So a positive color reaction
20· ·know how to do it.· And do you recognize this document?    20· ·indicates that blood is indicated.
21· · · · A· · Yes.· This appears to be a copy of my work       21· · · · Q· · Okay.· And so for the light switch plate, you
22· ·notes from Item 59 --                                      22· ·-- blood was indicated on it?
23· · · · Q· · Okay.                                            23· · · · A· · Yes, that is correct.
24· · · · A· · -- the blue pants.                               24· · · · Q· · Okay.· And then here, the -- we discussed that
25· · · · Q· · Okay.· And here -- you mentioned earlier that    25· ·you did some -- you examined scrapings that had been

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·1· ·you swabbed this whole waistband?                          ·1· ·taken from victim Connie Cooper, right?
·2· · · · A· · That is correct.· I swabbed the inside of the    ·2· · · · A· · Yes.· I did a visual examination of the wooden
·3· ·waistband with one moist swab.· I tried to avoid any       ·3· ·sticks and preserved a portion of those sticks that
·4· ·areas with markings that were present before.· But it      ·4· ·would've been used to scrape underneath the fingernails.
·5· ·was about three-quarters of an inch of the waistband       ·5· · · · Q· · And here -- is it accurate that you basically
·6· ·width was swabbed all the way around.                      ·6· ·just did visual testing or visual examination of that
·7· · · · Q· · Okay.· And where -- if I zoom into this, are     ·7· ·item?
·8· ·you able to tell me where the testing was done             ·8· · · · A· · Yes, correct.· I used -- I believe I used a
·9· ·previously, where you tried to avoid?                      ·9· ·stereomicroscope, which is just basically a -- a
10· · · · A· · It's difficult for me to tell from -- from the   10· ·powerful magnifying glass, to look more closely at the
11· ·pictures.· But I was just trying to avoid any markings,    11· ·end of that, observed apparent debris, and just
12· ·anything like that that was present beforehand.· But the   12· ·preserved that.· I did not do any additional testing to
13· ·-- the outline, you know, dotted area is where I was       13· ·preserve that material for DNA analysis.
14· ·swabbing.· So in -- in the image I'm looking at, right,    14· · · · Q· · Okay.· And here, another thing that you were
15· ·it appears discolored next to that, kind of to the right   15· ·trying to do was get standards of the victims and their
16· ·of my tag.· And I believe that was one of the areas,       16· ·parents in this case, right?
17· ·right, I was avoiding in my swab.                          17· · · · A· · Yes, that is correct.
18· · · · Q· · Right here?                                      18· · · · Q· · And they've all passed away, obviously, so --
19· · · · A· · Yes, I believe so.                               19· ·well, obviously for the victims, but also, Noyalee
20· · · · Q· · Like, to -- like, for the yellow tag up, like    20· ·Douglas and William Douglas have passed away.· So you
21· ·you said, to the right corner of it?                       21· ·were getting -- trying to get DNA standards from them
22· · · · A· · Yes.                                             22· ·from preserved material, right?
23· · · · Q· · And so you can kind of see your dots are to      23· · · · A· · Yes, that is correct.
24· ·the left of it, and then your dots are again to the        24· · · · Q· · And you also developed a profile from
25· ·right of it?                                               25· ·Johnnie Lee Savory, right?
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·1· · · · A· · Yes, that is correct.                            ·1· · · · A· · Correct.· I attempted to swab the outside of
·2· · · · Q· · And he was still alive, so you did -- you        ·2· ·the blood tubes, so that top stopper, in an attempt to
·3· ·collected a buccal swab from Mr. Savory, right?            ·3· ·utilize that because that -- any blood present on the
·4· · · · A· · A buccal swab was collected from him, yes, and   ·4· ·outside of that stopper would've at least air dried and
·5· ·submitted to the laboratory.· I was able to process that   ·5· ·-- and been in a dried format versus liquid blood, which
·6· ·for a DNA profile.                                         ·6· ·is a much more -- dried blood is much more stable for
·7· · · · Q· · And can you explain what a buccal swab is?       ·7· ·the DNA.· So I did attempt swabbing the blood-like
·8· · · · A· · So a buccal, or some people will say buccal,     ·8· ·crusts from the top and around the lower edge of the
·9· ·it is just a swabbing of the inside lining of your         ·9· ·stopper of the tubes, but that was not completely
10· ·mouth.· Those skin cells are readily available when the    10· ·successful.
11· ·inside of your mouth is swabbed with a cotton swab. And    11· · · · Q· · Okay.· And so you ended up moving on to trying
12· ·that cotton swab then collects that cellular material      12· ·to use their hair as standards?
13· ·and is dried and is available for analysis.                13· · · · A· · That is correct, whether it was head hairs or
14· · · · Q· · And were you able to get a profile from          14· ·pubic hairs.· Yes.
15· ·Mr. Savory's buccal swab?                                  15· · · · Q· · And when you say here that for Ms. Cooper, you
16· · · · A· · Yes, I was.                                      16· ·had some of the hair ends -- well, for hair, is it
17· · · · Q· · And was that a full profile?                     17· ·better if you have some of the hair follicle attached to
18· · · · A· · Yes, I believe it was.                           18· ·it?
19· · · · Q· · And that's pretty typical for a fresher DNA      19· · · · A· · At -- at this time in DNA processing and when
20· ·collection; is that right?                                 20· ·I was doing this, right, what I was looking for was,
21· · · · A· · Yes.· The collection of a known DNA standard     21· ·right, the -- the follicle or that -- that root tag kind
22· ·from an individual, whether it is a blood standard or a    22· ·of where, when hair is pulled out, there is DNA attached
23· ·buccal swab, normally, there is large amounts of DNA       23· ·to that as it's being pulled from the individual's
24· ·present in a good or suitable format in good condition     24· ·scalp.· So that is -- when they were -- when hair
25· ·because of how they're collected and normally preserved.   25· ·standards were collected, whether it was from victims or

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·1· ·So in regards to his buccal swab standard, that did        ·1· ·suspects in cases, they were supposed to be pulled.· And
·2· ·yield sufficient DNA.· And there is still sample           ·2· ·so those, that follicular material or that root tag, is
·3· ·remaining that could be retested if others want --         ·3· ·the best source of DNA.· And so when I say apparent --
·4· ·needed to utilize it for a DNA standard for any other      ·4· ·portion of apparent hair ends preserved, right, I was
·5· ·type of DNA testing.                                       ·5· ·looking for the ends of the hair.· And I preserved more
·6· · · · Q· · And for the people who have passed away, you     ·6· ·than just those that I was looking at and would see
·7· ·were looking at -- here, I'll scroll down.· This was       ·7· ·apparent tag material, taking both ends, and just trying
·8· ·evidence that was collected in 1977, correct?              ·8· ·to get any of that material that I could from those to
·9· · · · A· · Yes.· That's my understanding.                   ·9· ·obtain, right, the genetic information and develop a DNA
10· · · · Q· · This is a little more challenging, right?        10· ·profile for Connie Cooper or James Robinson.
11· · · · A· · Yes, that is correct.                            11· · · · Q· · Okay.· And so is it accurate that if you are
12· · · · Q· · And for -- going back up here.· The blood        12· ·able to get some of the follicle, then you're going to
13· ·tubes, those did not stay preserved very well, right?      13· ·be able to get a better profile than if you don't have
14· · · · A· · That is correct.· A -- a blood -- the blood      14· ·any of the follicle?
15· ·tubes were not -- excuse me.· The blood tubes, to my       15· · · · A· · Correct.
16· ·knowledge, were not stored frozen or in any way to         16· · · · Q· · And we'll talk about this in a little bit, but
17· ·preserve the quality of the DNA in those tubes.· So they   17· ·for James, it was more challenging to get a DNA profile
18· ·basically were still blood tubes that had been around      18· ·for him, right?
19· ·since 1977.· And that leads me to believe, and the         19· · · · A· · Yes.· It just -- it was -- it was, right,
20· ·information I have from them, right, is that is degraded   20· ·different for each sample as to how well they worked and
21· ·and is not necessarily suitable anymore for use for DNA    21· ·the totality of the profiles obtained.· Yes.
22· ·analysis.                                                  22· · · · Q· · Okay.· And so here, when we go down to the
23· · · · Q· · So you weren't able to use these, this           23· ·pants, it says the pants are 59, right?
24· ·preserved blood, from either Connie Cooper or victim       24· · · · A· · Yes, that is correct.
25· ·James Robinson as standards for their DNA, right?          25· · · · Q· · And it says, "No blood indicated on areas
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·1· ·tested at this time," right?                               ·1· ·to line that up to the report, like, how you called
·2· · · · A· · Yes, that is correct.                            ·2· ·that.· I -- so, this was the right-front pocket, right?
·3· · · · Q· · So all of the testing that you did on the        ·3· · · · A· · Yes, that's the right-front pocket.
·4· ·pants, no blood was indicated?                             ·4· · · · Q· · And we can go back to your report, but I think
·5· · · · A· · That is correct at -- based on my testing,       ·5· ·that ended up being called 59C?
·6· ·yes.                                                       ·6· · · · A· · I believe so, yes.· And I think it would be on
·7· · · · Q· · Okay.· And that was the Kastle-Myer testing?     ·7· ·a following page of my notes as well, should clarify. I
·8· · · · A· · Yes, that is correct.                            ·8· ·guess -- I guess the report delineates it well.
·9· · · · Q· · Okay.· And I'm going to go through -- back to    ·9· · · · Q· · Yeah.· And maybe it's -- maybe I don't --
10· ·the other document.· And there were quite a few            10· · · · A· · So it could be, right, in the report more
11· ·different areas that you tested.· And so as we discussed   11· ·clearly.
12· ·previously, 59A was the waistband, right?                  12· · · · Q· · Yeah.· So let's go back.
13· · · · A· · Yes, that is correct.                            13· · · · A· · I do write that 59C is from the right pocket.
14· · · · Q· · And so you didn't find any blood -- actually,    14· · · · Q· · And here, where you outlined the stains here,
15· ·you know, strike that.· I'm going to go -- I think it      15· ·is this then the cutting?· Well, this is the area from
16· ·will be easier if we go back to the other exhibit.         16· ·which you took cuttings for the blood.· And then did you
17· · · · · · MS. HAGY:· So Emilia, did I mark this as -- was   17· ·take different cuttings for the DNA, or did you use the
18· · · ·this Exhibit 4, the pants picture?                     18· ·same cuttings for blood and then use those also for
19· · · · · · COURT REPORTER:· The pants was 5.                 19· ·DNA?
20· ·BY MS. HAGY:                                               20· · · · A· · I took separate cuttings for the Kastle-Myer
21· · · · Q· · Okay.· Thank you.· So here, you took these       21· ·testing, very small cuttings.· And so first, I swabbed
22· ·really helpful pictures of the different areas that you    22· ·the area and tested that in an attempt to leave as much
23· ·swabbed.· And actually, the -- is it accurate that for     23· ·material on the fabric as possible.· And then I took
24· ·the waistband, you didn't actually do any blood testing    24· ·small cuttings of the fabric, the stain on the fabric,
25· ·on the waistbands?                                         25· ·and tested those with a Kastle-Myer reagent to see if

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·1· · · · A· · I believe that's correct, yes.                   ·1· ·those would come up positive with a more concentrated
·2· · · · Q· · Because that was to try to determine who wore    ·2· ·stain.· And so the testing for DNA analysis was a
·3· ·the pants?                                                 ·3· ·separate cutting.
·4· · · · A· · Yes.· That was the goal of that swabbing.        ·4· · · · Q· · Okay.· And so when you say you took a very
·5· · · · Q· · Okay.· And then here, it says, "Q1."· And it     ·5· ·small portion for the Kastle-Myer, can you describe
·6· ·says -- well, what does -- can you read that sentence,     ·6· ·about how small?
·7· ·and then also say what it means?                           ·7· · · · A· · It depends item to item, but it could be as
·8· · · · A· · Okay.· So "Q1."· And then "It's                  ·8· ·small as just a millimeter squared.· Like, so it could
·9· ·V-I-S-M-E-D-R-B-S on pocket outside of WT material."· So   ·9· ·be -- and in this, I think I took a slightly large area.
10· ·basically, that's saying that Q1 is a visible medium       10· ·But it can just be, you know, a -- teasing off a thread
11· ·red-brown stain on the pocket outside of the white         11· ·from the fabric that -- that has that stain present on
12· ·material, or it's colored at that point, but I was         12· ·it, up to half a centimeter by half a centimeter stain.
13· ·presuming was white material.· Kastle-Myer testing of      13· ·But the -- my goal is to use as little as possible to
14· ·the Q1 swab of the stain was negative.· I tested two       14· ·get an accurate test result.
15· ·small portions of a swab, or tried that twice.· And then   15· · · · Q· · And is the Kastle-Myer test pretty sensitive?
16· ·I took cuttings twice on each side to -- and those were    16· · · · A· · Yes, it is.· But it has to -- that hemoglobin
17· ·also negative for Kastle-Myer.· So it -- it's a large,     17· ·has to be available for the chemicals to -- to bind to
18· ·you know, a relatively good-sized stain there.· But I      18· ·it to give the positive test result.· So it is possible
19· ·was unable to get the Kastle-Myer test to give me a        19· ·in certain stains, whether they're degraded or have
20· ·positive result, so it was negative based on my testing.   20· ·other chemicals present, it is possible that something
21· · · · Q· · And this -- oh, sorry.                           21· ·is a blood stain, but I'm not able to detect that with
22· · · · A· · Oh, I was going to say I didn't know -- did      22· ·the test.· The Kastle-Myer is very sensitive.· I mean,
23· ·you want me to talk about the rest of the results, or      23· ·it can dilute -- it can detect very dilute stains.· And
24· ·just Q1?                                                   24· ·in my training, we had stains that were older than this,
25· · · · Q· · Yeah.· For now, just Q1, because I want to try   25· ·you know, more than 50 years old that were available for
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·1· ·testing.· But of course, those stains were pristine.· So   ·1· ·description of what I would find inside.
·2· ·they're on -- they're on clean cotton material.· They've   ·2· · · · Q· · Okay.
·3· ·been kept in a laboratory setting for -- for that time,    ·3· · · · A· · But I don't know otherwise how they were
·4· ·so they're preserved to maintain the integrity of that     ·4· ·maintained before that, other than -- right -- how I --
·5· ·sample.· But with the age of this, it -- it is quite       ·5· ·how I received them in that ground paper bag.
·6· ·possible it may have been blood, but I can't say that --   ·6· · · · Q· · And you swabbed both the outside of the
·7· ·my testing doesn't say that blood is indicated.            ·7· ·pocket, and the inside of the pocket -- right?
·8· · · · Q· · Okay.· And you -- as we discussed, and will      ·8· · · · A· · Testing for Kastle-Myer, yes.
·9· ·continue to discuss, you tested quite a few areas to try   ·9· · · · Q· · Okay.· And -- going back here -- and you can
10· ·to find the blood on the pants, right?                     10· ·see there, there was, like, a visible kind of brown
11· · · · A· · Yes, that is correct.                            11· ·area, and that is where you circled it, and then you
12· · · · Q· · And here, when we look at this pocket, you       12· ·took the -- your samples from those two circled areas,
13· ·were looking at several different areas of the pocket,     13· ·right?
14· ·right?· You looked -- sample one here, and then you had    14· · · · A· · Yes.
15· ·sample two, right?· And so then we talked about the        15· · · · Q· · And were you able to tell in your examination
16· ·testing of Q1, but then you also tested Q2, which was      16· ·whether any prior testing had been done on this pocket?
17· ·from the pocket, right?                                    17· · · · A· · I don't believe I was able to see any areas
18· · · · A· · Yes, that's correct.                             18· ·that were tested, so no obvious areas that I recall
19· · · · Q· · And what was that Kastle-Myer -- can you read    19· ·outlined or cut out of that.
20· ·that next line, what your Kastle-Myer results were, and    20· · · · Q· · Okay.· And so within, you did Q3.· It was --
21· ·then go ahead and read the line under that as well,        21· ·it says it was an apparent burn hole on the front leg of
22· ·please.                                                    22· ·the pants, right?
23· · · · A· · So Q2, same pocket swab, equals NEG; cutting     23· · · · A· · Yes.
24· ·equals NEG; inside Q1 swab times 2 equals NEG; two         24· · · · Q· · And that was negative for Kastle-Myer, right?
25· ·cuttings inside seam equal NEG.· So again, Q2 is           25· · · · A· · Yes, that is correct.

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·1· ·relating to Question Stain Number 2 -- you see the 2 on    ·1· · · · Q· · And then you did a -- Q4 was a yellowish stain
·2· ·the document is the same pocket as Number 1.· So I         ·2· ·around the edge of the tag.· So do you see this little
·3· ·swabbed, which was -- had a negative Kastle-Myer result;   ·3· ·picture here where I have my cursor and there's a ruler,
·4· ·had a cutting, again, a negative Kastle-Myer result        ·4· ·is that where you did the Q3?· And do you want me to
·5· ·inside Q1.· So looking at the inside right swabbed two     ·5· ·zoom in?
·6· ·more times, both negative cuttings from the inside seam    ·6· · · · A· · I believe that is where I did Q3, yes.
·7· ·as well, negative for Kastle-Myer.· So no, I was unable    ·7· · · · Q· · Okay -- or I'm sorry about that.
·8· ·to detect blood in those -- in those stained areas.        ·8· · · · A· · Okay.
·9· · · · Q· · And these pants were preserved in a paper bag;   ·9· · · · Q· · Q4, I meant to say.
10· ·is that right?                                             10· · · · A· · My apologies, yes.· Q4, the yellowish stain
11· · · · A· · Yes.· When I obtained them, I believe they       11· ·around the edge of the tag, and then Q5 was the
12· ·were in a paper bag.                                       12· ·yellow-brown stain above.
13· · · · Q· · And is that a proper way to store an item of     13· · · · Q· · Okay.
14· ·clothing?                                                  14· · · · A· · Above the tag.
15· · · · A· · Yes.· At the time, and currently, dried-items    15· · · · Q· · And both of those were negative on the
16· ·evidence should be packaged in a paper bag, or brown       16· ·Kastle-Myer test, right?
17· ·paper, so that they're -- they're able to dry, and they    17· · · · A· · Yes, that is correct.
18· ·remain dry, and no moisture is trapped on those items of   18· · · · Q· · Okay.· And then -- and this is from the
19· ·evidence.                                                  19· ·inside-back of the pants, right?
20· · · · Q· · And --                                           20· · · · A· · I believe so, yes.
21· · · · A· · So it should stay on the page above this, or     21· · · · Q· · Okay.· And then here you continue to do
22· ·in the page -- the first page of my notes -- right -- it   22· ·testing on the pants.· And you did testing on QS, the
23· ·should describe the packaging as I received it, so that    23· ·stain inside the back of pants below the tag, and that
24· ·it was received in a brown paper bag, filled with clear    24· ·was also negative for Kastle-Myer, right?
25· ·box tape, and then on the brown paper bag it gave me a     25· · · · A· · Correct.
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·1· · · · Q· · And then Q7 was the outside of the apparent      ·1· · · · Q· · And -- right.· You say that was relatively
·2· ·burn hole that was Q3, and then that you cut and you       ·2· ·large.· It was about 1.4 centimeters times 0.9
·3· ·swabbed for Q7?                                            ·3· ·centimeters, right?
·4· · · · A· · Yes.· And that was also --                       ·4· · · · A· · Yes, that's approximate size.
·5· · · · Q· · And then what was the result there?              ·5· · · · Q· · So that's a pretty big chunk of material,
·6· · · · A· · That was also negative for Kastle-Myer.          ·6· ·right?
·7· · · · Q· · Okay.· And then Q8 was -- it said, "Visible      ·7· · · · A· · Yes.· That is about the -- depending on the
·8· ·dirt on the left front leg."· And what was the result of   ·8· ·type of fabric, about the maximum size I would want to
·9· ·the swab from that?                                        ·9· ·put in one tube for processing.· Obviously, still the --
10· · · · A· · Negative as well for Kastle-Myer.                10· ·you know, the paint -- the pants still exist, and -- and
11· · · · Q· · Okay.· And then Q9, do you know what that is,    11· ·some of those items, there's still stained area present
12· ·Q9?                                                        12· ·on the pants that could be gone back to.· But yes,
13· · · · A· · I don't recall exactly where that was from.      13· ·that's about in the range of how much material toward a
14· · · · Q· · Okay.· But that was also negative?               14· ·maximum size that I would want to be putting in a tube.
15· · · · A· · Yes, that's correct.                             15· · · · Q· · Okay.· And then here we have what became 59E.
16· · · · Q· · And then Q10 was the zipper -- a stain from      16· ·So here you did Q11, and that was a swabbing from area
17· ·the zipper, right?                                         17· ·right around the pocket here -- right around -- and that
18· · · · A· · Correct.· The zipper/fly area, yes.              18· ·-- what was the result for Kastle-Myer testing there?
19· · · · Q· · Okay.· And then here it's -- you described       19· · · · A· · Q11 as well as swabbing from that area, was
20· ·that you preserved these areas for DNA analysis, and so    20· ·negative.
21· ·you took -- for the DNA you took pretty sizable stains,    21· · · · Q· · And you said here -- well, can you read --
22· ·right?· You took -- for what ended up being 59B, you       22· ·above the Q11, can you read what you wrote there?
23· ·took a stain, and that was the area from the burn hole.    23· · · · A· · So "Visual dirty areas surrounding, but no
24· ·You took one cutting that was .4 of a centimeter in        24· ·blood-like stains observed."· Q11 was a swabbing from
25· ·diameter, right?                                           25· ·the area around the right pocket, outside.· Kastle-Myer

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·1· · · · A· · So the -- the burn hole itself was               ·1· ·testing was negative.· And so there is just -- right.
·2· ·approximately 0.4 centimeters in diameter, so I took a     ·2· ·There was a small -- what appeared to be a small
·3· ·cutting from around that apparent burn hole.· And so the   ·3· ·cutting.
·4· ·area cut out was approximately half-a-centimeter by        ·4· · · · Q· · Okay.
·5· ·0.8 centimeters, so that hole was in the center of that    ·5· · · · A· · And so --
·6· ·fabric.· And then that was placed in one tube for DNA      ·6· · · · Q· · And so --
·7· ·testing.                                                   ·7· · · · A· · Go ahead.
·8· · · · Q· · Oh, I see.· So you took the burn hole out?       ·8· · · · Q· · This -- when you were talking about the small
·9· · · · A· · Correct.· They cut around the -- the apparent    ·9· ·cutting, that's that little square right there under the
10· ·burn hole.                                                 10· ·belt loop?
11· · · · Q· · Okay.· And then for 59C, which was the sample    11· · · · A· · Yes, that is correct.
12· ·from the pocket, you took a few different cuttings,        12· · · · Q· · And so that -- you observed that that was a
13· ·right?                                                     13· ·prior cutting from the pants, right?
14· · · · A· · Yes, that is correct.                            14· · · · A· · That is what I believed it to be, yes.
15· · · · Q· · And that ended up being pretty big -- right --   15· · · · Q· · And did you ever find a preserved cutting from
16· ·like, one was 0.5 centimeters times about 0.8              16· ·the pants?
17· ·centimeters?                                               17· · · · A· · No, not to my knowledge.
18· · · · A· · Yes, that's correct.                             18· · · · Q· · Did you look for that?
19· · · · Q· · And then you took another sample from the        19· · · · A· · I believe we did, and -- but I asked -- there
20· ·washing tag, right?                                        20· ·were many items that I asked the Peoria Police
21· · · · A· · Correct.· From -- right.· From stained area 5    21· ·Department to look for as well as other vendors to look
22· ·-- Q5, yes.· That was another -- another relatively        22· ·for.· But to my knowledge, that was never located.
23· ·large cutting.                                             23· · · · Q· · Okay.· And some of those other items that they
24· · · · Q· · And that became 59D, right?                      24· ·were looking for was also two hairs, right?
25· · · · A· · Yes, that is correct.                            25· · · · A· · Yes, I believe so, yes.
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·1· · · · Q· · And one was a hair that was found in victim      ·1· · · ·go back to -- and Emilia, I'm sorry, I'm going to
·2· ·Connie Cooper's hand, right?                               ·2· · · ·need your help on the -- what was the extract from
·3· · · · A· · Correct.· There was an apparent hair reported,   ·3· · · ·the pants called?· Was that Exhibit 6?
·4· ·right.· There was an item reported as apparent hair from   ·4· · · · · · COURT REPORTER:· The work -- the blue pants was
·5· ·the hand of Connie Cooper, yes.                            ·5· · · ·Exhibit 5.
·6· · · · Q· · And similarly, there was an item reported as     ·6· ·BY MS. HAGY:
·7· ·an apparent hair from the hand of James Robinson, right?   ·7· · · · Q· · Oh, Exhibit 5?· Okay.· Thank you.· I'm going
·8· · · · A· · Yes.                                             ·8· ·to put that back.· Okay.· So here we have the cutting,
·9· · · · Q· · And you were looking for those hairs, right?     ·9· ·and then did you test from around that area for -- with
10· · · · A· · Yes, that is correct.                            10· ·the Kastle-Myer test?
11· · · · Q· · And there were -- I'm going to stop sharing      11· · · · A· · So there was a --
12· ·for a minute.· There were bags that said they were --      12· · · · · · MR. HOGUE:· Objection to the form.· I don't
13· ·contained those hairs, right?                              13· · · ·know what you mean by "that area."
14· · · · A· · Yes, that is correct.                            14· · · · Q· · Oh, I'm sorry.· The previously cut area.
15· · · · Q· · And you opened those bags, right?                15· · · · A· · So I cut out -- so I swabbed the area -- so in
16· · · · A· · I believe I did.· I remember looking at them.    16· ·that Q11 swabbing -- right? -- swabbing around that
17· ·I remember not seeing any apparent hairs.· There was --    17· ·area.· And so that would be around the area cut out as
18· · · · Q· · And they --                                      18· ·well as in that area, to get that negative Kastle-Myer
19· · · · A· · There was no apparent hair present for me that   19· ·result.· But then what I cut out was, I cut out the
20· ·-- I was unable to find it.                                20· ·inside layer from under, so approximately
21· · · · Q· · And I think that you -- and I can show you the   21· ·half-a-centimeter square.· So that 0.4 by 0.5 was cut
22· ·notes, but it -- do you remember opening them also with    22· ·out and placed into a tube for DNA analysis.· So it's
23· ·William Frank to see if he could help you find the         23· ·that -- not the area around that square cutting, but
24· ·hairs?                                                     24· ·that next layer in.
25· · · · A· · I remember showing William, yes, the packages    25· · · · Q· · Oh, I see.· So like, where we see there's

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·1· ·to look at them -- trying our best to determine what had   ·1· ·still a blue material under it?
·2· ·gone wrong with them, what might have happened with the    ·2· · · · A· · Correct.
·3· ·hairs, where they might be, if they're there, yes.         ·3· · · · Q· · That's the part that you cut out?
·4· · · · Q· · And you guys couldn't find any hairs in those    ·4· · · · A· · Yes.
·5· ·bags, right?                                               ·5· · · · Q· · And did you cut bigger than that area too, or
·6· · · · A· · Correct.                                         ·6· ·just that underlayer?
·7· · · · Q· · And like you said, you asked the Peoria Police   ·7· · · · A· · I believe I just cut the underlayer.
·8· ·Department if they could find those hairs?                 ·8· · · · Q· · Okay.· And is it correct to say that you did
·9· · · · A· · Yes, that is correct.                            ·9· ·quite a lot of work to try to understand where
10· · · · Q· · And they weren't able to find them either,       10· ·Mr. Gonsowski had done his previous testing, right?
11· ·right?                                                     11· · · · A· · Yes.· I didn't have any information as to what
12· · · · A· · Correct.                                         12· ·exactly was tested in the prior -- prior analysis --
13· · · · Q· · Okay.· So we can go back to that, but we could   13· ·just that -- just the reporting, so I was looking very
14· ·also -- we've been going for more than an hour, so I       14· ·closely at the evidence in an attempt to determine what
15· ·don't know if you want to take a quick five-minute         15· ·was possibly tested before me.· And I didn't have
16· ·break?                                                     16· ·knowledge as to what area was tested, or what area might
17· · · · A· · I -- I could use that.· That would be good.      17· ·have been used as a control, so I didn't have notes to
18· · · · · · MS. HAGY:· Okay.· So let's come back at 11:30.    18· ·look at for that.· So I was looking at -- at the item,
19· · · · · · THE WITNESS:· Thank you.                          19· ·and the items in totality, to determine what I could
20· · · · · · COURT REPORTER:· Okay.· We're going off the       20· ·view as the best areas to test.
21· · · ·record.· The time is 11:24 a.m.                        21· · · · Q· · And you also -- in trying to determine what he
22· · · · · · · (OFF THE RECORD)                                22· ·had tested, you even looked at his testimony from both
23· · · · · · COURT REPORTER:· We're back on the record, and    23· ·the criminal trials, right?
24· · · ·the time is 11:34 a.m.                                 24· · · · A· · I looked at parts of it, yes.
25· · · · · · MS. HAGY:· Okay.· So Ms. Yeagle, I'm going to     25· · · · Q· · And from -- as we discussed, from the area
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·1· ·that you swabbed around 59E, you didn't detect any blood   ·1· · · · Q· · And why did you determine that some of that
·2· ·with the Kastle-Myer tests, right?                         ·2· ·should go to MiniFiler testing?
·3· · · · A· · That is correct.                                 ·3· · · · A· · There was a low quantity of DNA present, and
·4· · · · Q· · Okay.· And -- okay.· So now I'm going to move    ·4· ·MiniFiler worked better with low quantities of input DNA
·5· ·on to your next report, which was issued in March 20,      ·5· ·than IdentiFiler Plus, which was the kit I was using at
·6· ·2014.· And that was more of a DNA result report, right?    ·6· ·the time.· It -- it -- MiniFiler looks at less spots on
·7· · · · A· · Yes, that is correct.                            ·7· ·the DNA, so it is -- was manufactured to look at lower
·8· · · · Q· · Okay.· You know what?· I'm also -- I'm going     ·8· ·quantity of DNA.
·9· ·to go back for a minute to what was Exhibit 3.· And so     ·9· · · · Q· · Okay.· Okay.· All right.· So I'd like to mark
10· ·this was -- the DNA quantifications here, with the 59,     10· ·this as Exhibit 6, and this is SDTBOY000541, and
11· ·these were the DNA quantifications from the pants,         11· ·Ms. Yeagle, is this your signature here -- or your --
12· ·correct?                                                   12· ·sorry, your initials?
13· · · · A· · Yes.· That is a summary of information, yes,     13· · · · · · · (EXHIBIT 6 MARKED FOR IDENTIFICATION)
14· ·from the pants.                                            14· · · · A· · Yes.· It appears to be my initials, yes.
15· · · · Q· · And so -- oops.· For 59A1, which was the         15· · · · Q· · And this is some of the additional -- well,
16· ·waistband, you did have some -- you detected some DNA      16· ·this is the additional extraction that you did from the
17· ·from the waistband, correct?                               17· ·pants pocket, right?
18· · · · A· · Yes, that is correct.                            18· · · · A· · I believe so, yes.
19· · · · Q· · And then for the pocket, the right pocket        19· · · · Q· · And so this shows -- I think it -- what it
20· ·where you took quite big cuttings, you didn't detect any   20· ·shows is what you had first extracted -- right -- where
21· ·autosomal DNA, right?                                      21· ·it's cut out?
22· · · · A· · Are you looking at 59B or 59D, as in --          22· · · · A· · I believe so.
23· · · · Q· · Sorry, B as in boy.                              23· · · · Q· · And then you did an additional cutting, right?
24· · · · A· · Okay. B as in boy, I believe -- was that the     24· · · · A· · Yes.· So there were -- right.· There was the
25· ·apparent burn hole?                                        25· ·-- the cutting from the edge by the corner, and then --

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·1· · · · Q· · Oh, yes.· I apologize.· You're right.· Okay.     ·1· ·went ahead, right?· And so -- right.· The cuttings --
·2· ·So that, you didn't detect any DNA, right?                 ·2· ·then the additional cuttings were taken and combined for
·3· · · · A· · Correct.· No human DNA detected.                 ·3· ·that extraction Number 2.
·4· · · · Q· · And then D was by the stain, right?              ·4· · · · Q· · Oh, I see.· So the first picture shows the
·5· · · · A· · Correct.· By the inside back tag, I believe.     ·5· ·cutting before, and then the second picture shows the
·6· · · · Q· · And there you also didn't have any DNA, right?   ·6· ·additional cutting that you did?
·7· · · · A· · Correct.· No human DNA detected.                 ·7· · · · A· · Correct.· So this is actually -- sorry, as I
·8· · · · Q· · And for 59E, that was the portion by the belt    ·8· ·use the pointer -- the area cut out from that length,
·9· ·loop where the previous testing had been done, right?      ·9· ·along with the 1AY with the marker next to it. I
10· · · · A· · Yes.                                             10· ·believe that is the second portion.
11· · · · Q· · And no DNA was detected by that, right?          11· · · · · · MS. HAGY:· Okay.· Great.· And Emilia, when
12· · · · A· · Correct, yes.                                    12· · · ·you're recording it, is it recording at this point
13· · · · Q· · And then the 59C was the pocket, and you --      13· · · ·Ms. Yeagle and the exhibit, or does it just record
14· ·this is where you did quite a bit of testing, right --     14· · · ·Ms. Yeagle?
15· ·quite a bit of sampling?                                   15· · · · · · COURT REPORTER:· It's both.
16· · · · A· · Yes.· I did additional extractions, with         16· ·BY MS. HAGY:
17· ·concern that the blue dye from the pants might be          17· · · · Q· · Okay.· And so I will put on the record that I
18· ·affecting the DNA extractions themselves.· So yes, I did   18· ·am the one controlling the mouse, so that it doesn't get
19· ·multiple extractions, and I was unable to detect human     19· ·put on Ms. Yeagle later.· But Ms. Yeagle, so where I'm
20· ·DNA from that as well.                                     20· ·circling right now, that is what you first extracted,
21· · · · Q· · Okay.· And here, going back up, we have the      21· ·and then this long portion, that is what you extracted
22· ·light switch, 59A, and you did detect DNA on the light     22· ·second, right?
23· ·switch, right?                                             23· · · · A· · I believe so, yes.
24· · · · A· · Yes, that is correct.· The light switch did      24· · · · Q· · Okay.· And so you were taking quite a bit of
25· ·have human DNA detected.                                   25· ·material to try to find the DNA from this pocket, right?
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·1· · · · A· · Yes, that is correct.                            ·1· · · · Q· · Okay.· And here where you took the sample from
·2· · · · Q· · Okay.· Let's take that down, and then -- okay.   ·2· ·15B, we can see that in the first column, but ultimately
·3· ·So this is -- I'm going to mark this as Exhibit 7.· And    ·3· ·you weren't able to compare that to the known standards,
·4· ·Counsel, this is Peoria Savory 1918 to 1921.· So let's     ·4· ·right?
·5· ·go back down here.· So is -- this is your report, right?   ·5· · · · A· · Correct.· I was unable to make that comparison
·6· · · · · · · (EXHIBIT 7 MARKED FOR IDENTIFICATION)           ·6· ·based on the numbers of contributors that were present
·7· · · · A· · Yes, it appears to be.                           ·7· ·in that mixed sample.· There was more -- more than one,
·8· · · · Q· · And this was from March 20, 2014, right?         ·8· ·potentially more than two present in that sample.
·9· · · · A· · Yes, that is correct.                            ·9· · · · Q· · Okay.· And then, so you had Mr. Frank do more
10· · · · Q· · Okay.· And here -- we'll go down -- you made     10· ·testing on the light switch so that it could be done
11· ·an exhibit, an attachment 1, and that provides the         11· ·with a more sensitive testing that would allow you to
12· ·findings at each of the loci that you tested from each     12· ·determine the number of contributors, right?
13· ·item, right?                                               13· · · · A· · Correct.· In that the MiniFiler testing is and
14· · · · A· · Yes.· That is the alleles, or the DNA types,     14· ·was at the time better suited for degraded samples,
15· ·detected at each one of those locations above my           15· ·samples of low DNA quantity and would be better suited
16· ·detection threshold, and following the Illinois State      16· ·for the ability to interpret that mixture and make a
17· ·Police guidelines.                                         17· ·comparison, yes.
18· · · · Q· · Okay.· And so here for Mr. Savory, you can see   18· · · · Q· · Okay.· And so in that report that we labeled
19· ·there is a pretty robust profile, right?                   19· ·Exhibit 7, is it fair to say you were laying out what
20· · · · A· · Yes.· Complete DNA profile information at all    20· ·you had found in the standards and then that you weren't
21· ·15 locations, plus amelogenin.                             21· ·able to make a conclusion on the 15B light switch plate?
22· · · · Q· · Okay.· And actually, for the decedents where     22· · · · A· · Yes, that is correct.
23· ·you had the root ends, you also had fairly complete        23· · · · Q· · Okay.· And so the next time that you did new
24· ·profiles, right?· Some loci were missing, but you had      24· ·testing in this case was in 2018; is that fair?
25· ·quite a few loci where you had DNA results, right?         25· · · · A· · Yes.

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·1· · · · A· · Yes.· Quite a bit of information was detected,   ·1· · · · Q· · Okay.· And so the next report was another
·2· ·and DNA profiles were developed for those three            ·2· ·biology report, right?
·3· ·individuals.                                               ·3· · · · A· · Yes, that is correct.
·4· · · · Q· · And can partial profiles be compared to an       ·4· · · · Q· · And so this is what we talked about before
·5· ·unknown sample?                                            ·5· ·with the amended report, right?
·6· · · · A· · Yes, they can.                                   ·6· · · · A· · Yes, that is correct.
·7· · · · Q· · And if you get a result from an unknown sample   ·7· · · · Q· · So there was a, originally there was a report,
·8· ·that is a partial profile, can that be compared?           ·8· ·a biology report issued on October 1, 2018, right?
·9· · · · A· · As long as it's interpretable results, yes,      ·9· · · · A· · I believe so, yes.
10· ·those can be compared.· At the same location on the DNA,   10· · · · Q· · And then the amended report was October 29,
11· ·those can be compared.                                     11· ·2018?
12· · · · Q· · Okay.· And what do you -- how many -- sorry,     12· · · · A· · That sounds correct.
13· ·strike that.· When you make an exclusion from a sample,    13· · · · Q· · Okay.· So I'm going to show you this report
14· ·with what degree of certainty is that exclusion?           14· ·and we can look at how you explained the differences,
15· · · · A· · An exclusion is that an individual -- so the     15· ·but essentially they were the same, right?· Except for
16· ·DNA profile obtained from the standard -- is not present   16· ·one correction?
17· ·in the unknown DNA profile.· So based on the information   17· · · · A· · Yes.· The -- the findings, the results and
18· ·I have, that is exactly that, an exclusion, that that      18· ·findings are the same.· There was basically a typo.
19· ·individual could not have contributed the DNA types        19· · · · Q· · Okay.· And so this we'll label Exhibit 8, and
20· ·present in the unknown DNA profile.                        20· ·then this is your October 29, 2018 report, right?
21· · · · Q· · Okay.· And once an exclusion is determined,      21· · · · · · · (EXHIBIT 8 MARKED FOR IDENTIFICATION)
22· ·then you know that that person did not contribute the      22· · · · A· · Yes, that is my amended report that superseded
23· ·DNA sample, right?                                         23· ·the prior report.
24· · · · A· · Correct.· They're excluded as being able to      24· · · · Q· · Okay.· And so down here we wave --
25· ·contribute that DNA type, yes.                             25· · · · · · MR. TIMBO:· Can I have the Bates number on that
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·1· · · ·one?                                                   ·1· · · ·on now if I show you something new?
·2· · · · · · MS. HAGY:· Sorry?                                 ·2· · · · · · COURT REPORTER:· This will be 9.
·3· · · · · · MR. TIMBO:· Can I have the Bates numbers on       ·3· · · · · · MS. HAGY:· Okay, thank you.· So this is
·4· · · ·that one?                                              ·4· · · ·Exhibit 9.· And Mr. Timbo, this is S-P-D-I-S-P 562,
·5· · · · · · MS. HAGY:· Yes.· So it's S-T-D-I-S-P, sorry,      ·5· · · ·561.
·6· · · ·549.                                                   ·6· ·BY MS. HAGY:
·7· · · · · · MR. TIMBO:· What's the first page of that         ·7· · · · Q· · And then, Ms. Yeagle, here this is your
·8· · · ·document?                                              ·8· ·picture and label, right?
·9· · · · · · MS. HAGY:· Yes, sorry.· 547.                      ·9· · · · · · · (EXHIBIT 9 MARKED FOR IDENTIFICATION)
10· · · · · · MR. TIMBO:· Got it.· Okay.                        10· · · · A· · Yes, that is correct.
11· ·BY MS. HAGY:                                               11· · · · Q· · And we have here on this tag your initials,
12· · · · Q· · Okay.· And so Ms. Yeagle, this is your           12· ·right?
13· ·signature here, right?                                     13· · · · A· · Yes, that is correct.
14· · · · A· · Yes, it is.                                      14· · · · Q· · And then on the bottom of this is also your
15· · · · Q· · And so this is your report, right?               15· ·initials, right?
16· · · · A· · Yes, it is.                                      16· · · · A· · Yes, that is correct.
17· · · · Q· · Okay.· And then if we go up, again, you were     17· · · · Q· · And so you showed here how you found the
18· ·testing a number of items from the victims and from the    18· ·underwear, right?· In a brown paper bag?
19· ·crime scene, right?                                        19· · · · A· · Yes, that is correct.
20· · · · A· · Yes, that is the -- that is the information I    20· · · · Q· · And then here, this is both sides of the bag,
21· ·had, yes.                                                  21· ·right?
22· · · · Q· · Okay.· And so item three was the underwear of    22· · · · A· · That is, I believe the inner brown paper bag.
23· ·victim, Connie Cooper, right?                              23· ·Were there two kind of --
24· · · · A· · Yes, that is correct.                            24· · · · Q· · Oh, I see.
25· · · · Q· · Okay.· And here, what did you find on the        25· · · · A· · Yes.· So there was an outer brown paper bag

                                                      Page 67                                                         Page 69
·1· ·underwear?                                                 ·1· ·that was packaged and sealed, and then inside this brown
·2· · · · A· · I identified semen on the underwear and          ·2· ·paper bag was present with more of that crumbling
·3· ·observed blood-like stains on the underwear.               ·3· ·evidence tape, and the underwear was then inside of
·4· · · · Q· · Okay.· And what does it mean when you say that   ·4· ·that.
·5· ·semen was identified?                                      ·5· · · · Q· · Okay.· And so then this down here where it
·6· · · · A· · In regards to this item of evidence, I was       ·6· ·says, "Exhibit 3 as submitted," that's kind of just what
·7· ·able to identify one spermatozoa, so one sperm cell on     ·7· ·you pulled out, right?
·8· ·one of the cuttings from the underwear.· And as            ·8· · · · A· · Yes, that's correct.
·9· ·spermatozoa are a component of seminal fluid or semen, I   ·9· · · · Q· · And then here in the bigger picture, you laid
10· ·reported that semen was identified in one area of the      10· ·it out so that it's easier to see it?
11· ·underwear and I preserved that area -- a cutting from      11· · · · A· · Yes, that's correct.
12· ·that area for DNA testing.                                 12· · · · Q· · And then here where you have a little pink
13· · · · Q· · Okay.· And to your knowledge, was DNA testing    13· ·square, it says, "Cut out as Exhibit 3A," right?
14· ·ever done on that area that you preserved?                 14· · · · A· · Yes, that is correct.
15· · · · A· · DNA testing?· No, not that I know of.            15· · · · Q· · And so if you look here, it says that you cut
16· · · · Q· · Okay.· And that was from, like, the middle       16· ·that out and labeled it as Exhibit 3A.· And if you go up
17· ·part, the crotch part of the underwear, right?             17· ·here where it says, "Area seven," and then this is where
18· · · · A· · Yes.· I believe it was the front just above      18· ·it says, "Positive one sperm," right?
19· ·what we call the, or just -- in the front of the crotch    19· · · · A· · Yes, that's correct.
20· ·area of the underwear, yes.                                20· · · · Q· · And the sperm stands for spermatozoa?
21· · · · Q· · Okay.· So we'll -- actually, I'm going to show   21· · · · A· · Correct, that I identified one spermatozoa.
22· ·you the picture from your worksheets here.· So I'm going   22· · · · Q· · Okay.· And that is a little hard to see, but
23· ·to come back to this.· I need to take this down for a      23· ·where you have the -- let me zoom in here.· The -- oops.
24· ·minute.· And then --                                       24· ·Where you have the pink square, is that -- that's the
25· · · · · · MS. HAGY:· -- sorry, Emilia, what number am I     25· ·seven next to it?
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·1· · · · A· · Yes, that's correct.                             ·1· ·believe, right, there had been prior testing.· In area
·2· · · · Q· · So that's where you got -- where you found the   ·2· ·seven, there was an apparent cut there.· I don't know if
·3· ·spermatozoa, right?                                        ·3· ·that was prior testing or if it was just a defect in the
·4· · · · A· · Yes, that is correct.                            ·4· ·underwear, but that is what I was able to do.· But I
·5· · · · Q· · Okay.· And you can't always put material on      ·5· ·didn't have, right, testing information and notes for
·6· ·the slide like that because if you do, and there's not a   ·6· ·the prior processing of the underwear.
·7· ·lot of DNA, it could cause you to lose some of the DNA,    ·7· · · · Q· · Okay.· And here, could you tell -- but what --
·8· ·right?                                                     ·8· ·did you say there was prior markings on the underwear?
·9· · · · A· · Correct.· I mean, in -- in that process it is    ·9· · · · A· · I just mean the tag.
10· ·-- it is used, it is on the slide.· There are -- there     10· · · · Q· · Oh.
11· ·are processes that can be used to remove that and          11· · · · A· · Attaching.
12· ·extract it later, but it has been stained, it has been     12· · · · Q· · Okay.· So this was the, when we're looking at
13· ·heat fixed, so it is there.· So right, it's -- it's --     13· ·this picture of the back of the underwear, the -- all of
14· ·it is a type of consumptive testing in that, right, that   14· ·these markings and also on the front, these are all your
15· ·one sperm cell is no longer on the underwear. That         15· ·markings where you have the dots and the -- these are
16· ·cutting and that material is now on that slide,            16· ·all markings that you made?
17· ·microscope slide.                                          17· · · · A· · I believe so, yes.
18· · · · Q· · Okay.· So if you don't have a lot of material,   18· · · · Q· · Okay.· And up here in this bigger picture, can
19· ·you can't necessarily do something like that, right?       19· ·you read what that says?· You might not be able to.
20· · · · A· · Correct.                                         20· ·Where --
21· · · · Q· · But here you had quite a few places that you     21· · · · A· · It does look like my note possibly for
22· ·could sample from for DNA, so you felt comfortable doing   22· ·previous, P-R-E-V, which would've been me noting most
23· ·forensic examination on this item, right?                  23· ·likely if there was -- if that was there before me.
24· · · · A· · Yes.· And it was a -- in the -- a relatively     24· · · · Q· · Okay.· So that one might have been there
25· ·large item of evidence and that it's a whole pair of       25· ·before you as well?

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·1· ·underwear versus one swab or something that had been       ·1· · · · A· · Yes.
·2· ·prior processed.· So a small cutting like an -- you        ·2· · · · Q· · And then here in the seven, it's kind of hard
·3· ·know, an inch of fabric or something.· In -- in this       ·3· ·to see, but there's a little marker there too, right?
·4· ·instance, right, I'm looking at the totality of the        ·4· ·Under the pink square?
·5· ·underwear and looking to determine what might be of        ·5· · · · A· · There is, yes.
·6· ·probative informative value from this underwear.· So in    ·6
·7· ·this case, right, I looked at them visually, I looked at   ·7· · · · Q· · Do you know what that says?
·8· ·them using an alternate light source, I utilized           ·8· · · · A· · I don't remember.
·9· ·different testing techniques to try to aid in where I      ·9· · · · Q· · Okay, no worries.· Okay.· Let me take that
10· ·could do those -- look, do that microscopic sperm          10· ·down.· And then and go back to your report.· I'm sorry,
11· ·search.· And the one area I detected a sperm cell was      11· ·to your October 29th report.· Okay.· And so Exhibit 7
12· ·from this area marked seven.                               12· ·was James Robinson's underwear, right?
13· · · · Q· · Okay.· And you didn't search the entire          13· · · · A· · Yes, that is correct.
14· ·underwear for sperm, just these small areas that you cut   14· · · · Q· · Okay.· And here you wrote that there were
15· ·out, right?                                                15· ·blood-like stains observed there, right?
16· · · · A· · Yes, that is correct.                            16· · · · A· · Yes, that is correct.
17· · · · Q· · And could you tell if any prior testing had      17· · · · Q· · Okay.· And go to -- and when you say that
18· ·been done on the underwear?· Were you able to tell that?   18· ·blood was indicated in one of the stain areas, were you
19· · · · A· · There were prior tags on the underwear, so       19· ·doing that Kastle-Myer testing again?
20· ·there was a people exhibit label, as you can see in this   20· · · · A· · Yes, I was.
21· ·picture.· I believe there was evidence tape that was       21· · · · Q· · And so you did the Kastle-Myer testing on 7A
22· ·attached to the underwear in the other picture kind of     22· ·and then you cut out different areas 7B and 7C to
23· ·showing --                                                 23· ·preserve for DNA testing, right?
24· · · · Q· · Oh, here.                                        24· · · · A· · Yes.· I preserved 7A, 7B and C -- 7C for DNA
25· · · · A· · Other markings.· So that, right, led me to       25· ·testing.
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·1· · · · Q· · Oh, all three of them?                           ·1· ·underwear right by that.
·2· · · · A· · Yes.                                             ·2· · · · Q· · Okay.· And so what does it say on the
·3· · · · Q· · Okay.· And when you do the blood testing and     ·3· ·waistband there?
·4· ·then you do the DNA testing, you don't necessarily know    ·4· · · · A· · Could you zoom in a little for me, please?
·5· ·where the -- that the DNA is, like, what item,             ·5· · · · Q· · Yeah, yeah.
·6· ·biological item or fluid that the DNA is coming from,      ·6· · · · A· · It's still, and even at the time it was
·7· ·right?                                                     ·7· ·difficult for me to read.· So it appears to be January,
·8· · · · A· · Correct.                                         ·8· ·1-18-77, I believe.· And the rest of it -- it looks like
·9· · · · Q· · Okay.· So Counsel, this is S-D-T-I-S-P, 567 to   ·9· ·a W, but I was thinking it's upside down and I couldn't
10· ·568.· And Ms. Yeagle, can you tell me what this document   10· ·tell if it was an M, so it's just a little difficult for
11· ·seems to be?                                               11· ·me to read.· There are also write -- there is also
12· · · · A· · It appears to be --                              12· ·writing on the -- that evidence tag as well, but it's
13· · · · · · MR. TIMBO:· What exhibit are we on?               13· ·really light and at this time it's hard for me to read.
14· · · · · · MS. HAGY:· Oh, 10, please.                        14· · · · Q· · Okay.· But by the cutout there's not really
15· · · · · · MR. TIMBO:· Thank you.                            15· ·any marker or anything right by the cutout the way that
16· · · · · · · (EXHIBIT 10 MARKED FOR IDENTIFICATION)          16· ·there are with your cutouts, right?
17· · · · A· · This appears to be a copy of my work notes for   17· · · · A· · Correct.· No, there's nothing.· And then I
18· ·item seven, the items from James Robinson.                 18· ·remember there was nothing to delineate a -- like a -- a
19· ·BY MS. HAGY:                                               19· ·Q stain or an A, B, or a C.· Nothing of that sort. Just
20· · · · Q· · Okay.· And here we have your initials down in    20· ·a rectangular cut, rectangle cut out of the underwear.
21· ·the bottom, right?                                         21· · · · Q· · Okay.· And then I think we can keep going for
22· · · · A· · Yes, that is correct.                            22· ·a little bit, but I just wanted to see if you guys
23· · · · Q· · Okay.· And then here we have what we just        23· ·wanted a lunch break at some point?· I probably have
24· ·discussed.· So you took -- we have the 7A here, right?     24· ·like another hour, hour-and-a-half.
25· ·And it looks to be like a kind of a big cutout from the    25· · · · A· · All right.· I am okay to -- to go through for

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·1· ·front of the underwear -- or no, the back of the           ·1· ·that.· I may need a break if then there's any additional
·2· ·underwear.· Sorry.                                         ·2· ·questions after that.
·3· · · · A· · Can I see a zoom out of this note, please?       ·3· · · · Q· · Okay.· Okay.· So Ms. Yeagle, this report is
·4· ·Okay, I just wanted to double-check.· Correct.· Stained    ·4· ·October 3, 2018, right?
·5· ·area that's delineated is the two.· I -- I cut out a       ·5· · · · A· · Yes, that's correct.
·6· ·portion for DNA testing and that became correct items      ·6· · · · Q· · Okay.· And actually, I'm just going to go back
·7· ·Exhibit 7A from that A portion of Q stain number two.      ·7· ·and I'm going to have this marked as Exhibit --
·8· · · · Q· · Okay.· And here where you did the Kastle-Myer,   ·8· · · · · · COURT REPORTER:· 11.
·9· ·you had -- in the sample one you had negative for the      ·9· · · · · · · (EXHIBIT 11 MARKED FOR IDENTIFICATION)
10· ·Kastle-Myer.· And then in two, which is this long stain    10· · · · · · MS. HAGY:· 11.· Thank you.
11· ·from kind of the middle of the back, you had one area A    11· ·BY MS. HAGY:
12· ·was positive and then B and C were negative, right?        12· · · · Q· · But I'm going to go back to Exhibit 10 for
13· · · · A· · Yes, that is correct.                            13· ·just a minute because I want to go to the part we
14· · · · Q· · Okay.· And then when we go up to this, what      14· ·discuss at the bottom.· So here where it says, "This
15· ·was this little square here up by the waistband?· Do you   15· ·report has been amended to indicate that Exhibits 10A
16· ·need me to zoom out?                                       16· ·through 10F were preserved from Exhibit 10, not Exhibits
17· · · · A· · That would be helpful.· I -- I believe that      17· ·10A through 1F as previously listed on the October 1,
18· ·was already cut out when I opened the item, so it had      18· ·2018 biology report;" is that right?
19· ·already been previously removed.                           19· · · · A· · Yes, that is correct.
20· · · · Q· · Okay.· And was there anything that could         20· · · · Q· · So the biology report was -- basically, it was
21· ·indicate that to you or was there any writing by it or     21· ·completed on October 1st, right?
22· ·anything?                                                  22· · · · A· · Yes, correct.
23· · · · A· · There was writing on the waistband and then      23· · · · Q· · Before the DNA report, right?
24· ·there's an evidence tag, evidence tape, I believe, that    24· · · · A· · Yes, that's correct.
25· ·was stapled, I believe stapled or adhered to the           25· · · · Q· · But then you just had to fix the one that said
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·1· ·1F instead of 10F, right?                                  ·1· ·procedures, and guidelines for how to interpret each one
·2· · · · A· · Yes, that is correct.                            ·2· ·of the tests, as in what indicates a positive or a
·3· · · · Q· · Okay, so I just want to clarify that because     ·3· ·negative test results.· So yes, those are delineated
·4· ·then we get Exhibit 11 and that is a DNA report related    ·4· ·within the protocols.
·5· ·to the October 29th report, right?                         ·5· · · · Q· · Okay.· Okay.· Okay.· So here we are back at
·6· · · · A· · Yes, that is correct.                            ·6· ·Exhibit -- the results for 7A, right?
·7· · · · Q· · Okay.· So here I'm going to go down to           ·7· · · · A· · Yes, that is correct.
·8· ·Exhibit 7.· Okay.· And so here, actually I'm going to go   ·8· · · · Q· · Okay.· And here you found one major DNA
·9· ·back up for a minute.· We're just going to kind of lay     ·9· ·profile, right?
10· ·it out because here, where you have the exhibits and the   10· · · · A· · Correct.· One major male DNA profile was
11· ·description, this is where you explain what each item      11· ·identified at 13 of the locations tested from which
12· ·was, correct?                                              12· ·James Robinson could not be excluded.
13· · · · A· · Correct.· This is from the DNA report showing    13· · · · Q· · Okay.· And here, sometimes you have, like, a
14· ·what the items were coming from the biology screening,     14· ·probability for a finding like that, right?
15· ·yes.                                                       15· · · · A· · Yeah.· Sometimes I -- I will associate a
16· · · · Q· · Yes.· So 7A is the blood indicated stain from    16· ·statistical frequency with how often you might expect a
17· ·the lower back panel, inside panel of the underwear from   17· ·profile to occur in the general population on probative
18· ·James Robinson, right?                                     18· ·profiles.· So in this case, the one major male profile
19· · · · A· · Yes, that is correct.                            19· ·was linked back to James Robinson, this was his
20· · · · Q· · Okay.· And then 7B was the portion of the        20· ·underwear.· So I did not provide any statistical
21· ·underwear around that previous, the apparent previous      21· ·frequency in regards to that association because he
22· ·cut that we had looked at, right?                          22· ·would be -- his DNA would be expected on his own item of
23· · · · A· · Yes, that is correct.                            23· ·clothing.
24· · · · Q· · And then 7C was blood-like streaks from the      24· · · · Q· · Okay, that makes sense.· And then -- so then
25· ·inside back of James Robinson's underwear, right?          25· ·you found a minor profile, right, at nine of the 24

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·1· · · · A· · That is correct.                                 ·1· ·loci, right?
·2· · · · Q· · Okay.· So when then we go down.· And --          ·2· · · · A· · Yes, that is correct.
·3· · · · · · MS. HAGY:· -- you know, John, I'm sorry, this     ·3· · · · Q· · And at this time when you did the testing in
·4· · · ·is Peoria Savory 12380.                                ·4· ·2018, you were working with testing that did 23 loci and
·5· · · · · · MR. TIMBO:· Sure, I have that one.                ·5· ·the --
·6· ·BY MS. HAGY:                                               ·6· · · · A· · Amelogenin.
·7· · · · Q· · Okay.· And then it goes down to 12388.· And      ·7· · · · Q· · Amelogenin, which is telling you that gender,
·8· ·then Ms. Yeagle, is this your signature here?              ·8· ·right?
·9· · · · A· · Yes, it is.                                      ·9· · · · A· · Yes.
10· · · · Q· · And so this was your report?                     10· · · · Q· · If it's --
11· · · · A· · Yes, it was.                                     11· · · · A· · That is correct.
12· · · · Q· · And again, just like all of the testing that     12· · · · Q· · And previously when you did the testing in
13· ·you did in this case, this was done pursuant to ISP        13· ·2014, you were using the testing that gave you 15 loci
14· ·standard operating procedures and DNA interpretation       14· ·because that was what was used at that time?
15· ·guidelines, right?                                         15· · · · A· · Correct.· IdentiFiler Plus was used at that
16· · · · A· · Yes, that is correct.                            16· ·time and that was 15 locations plus amelogenin.· So 16
17· · · · Q· · And ISP also had standard operating procedures   17· ·total locations on the DNA.
18· ·for forensic testing, right?                               18· · · · Q· · Okay.· And then here, where you have the minor
19· · · · A· · Yes, that is correct.                            19· ·profile at nine of the loci, that gives you enough to
20· · · · Q· · And those were all followed in all of your       20· ·run the profile through CODIS, right?
21· ·work, right?                                               21· · · · A· · It potentially could, depending on how
22· · · · A· · Yes, that is correct.                            22· ·complete it is and how much information there is.· So
23· · · · Q· · And do you have interpretation guidelines for    23· ·it's -- it's -- it's frequency by which it is expected
24· ·the biology and forensic testing?                          24· ·to occur.· So they just have guidelines for CODIS,
25· · · · A· · The biology testing, there are protocols,        25· ·right, as to how discerning a profile must be before
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·1· ·it's entered.· And then it needs to be, they just have     ·1· · · · Q· · Okay.· And you don't necessarily know what
·2· ·set rules for searching partial profiles in the CODIS      ·2· ·those -- what the biological fluids were for any of
·3· ·database.                                                  ·3· ·those three profiles, right?· It's just difficult to
·4· · · · Q· · Okay.· And -- but partial profiles, as we        ·4· ·know exactly what -- where the DNA came from, right?
·5· ·discussed, an exclusion can be made from a partial         ·5· · · · A· · Correct.· I cannot say how -- where the DNA
·6· ·profile, right?                                            ·6· ·came from, just the DNA profiles were there, detected,
·7· · · · A· · That is correct.                                 ·7· ·interpreted, and compared.
·8· · · · Q· · And even an inclusion can be made from a         ·8· · · · Q· · Okay.· And then in this case, you also
·9· ·partial profile, right?                                    ·9· ·excluded Connie Cooper, Noyalee Robinson, and Peter
10· · · · A· · Yes, that is correct.                            10· ·Douglas from all three of those profiles, right?
11· · · · Q· · And as long as you're following the standard     11· · · · A· · Yes, that is correct.
12· ·operating procedures and the interpretation guidelines,    12· · · · Q· · Okay.· And actually, here, even though you did
13· ·you can also interpret results from a mixed sample,        13· ·have the nine loci, but you determined that the minor
14· ·right?                                                     14· ·DNA profiles were not eligible for the DNA index, right?
15· · · · A· · Yes, that is correct.· Following the             15· · · · A· · Correct.· At that time, yes.
16· ·guideline --                                               16· · · · Q· · Okay.· And that is -- means CODIS, right?
17· · · · Q· · And here -- sorry, go ahead.                     17· · · · A· · Yes, that is correct.· For the combined DNA
18· · · · A· · Sorry.· I was going to say yes, following the    18· ·indexing system.
19· ·guidelines that we had set up at the time in regards to    19· · · · Q· · And then later, did you determine that one of
20· ·the number of contributors and levels of detection.        20· ·them was eligible?
21· ·Yes.                                                       21· · · · A· · I believe there was a search of a profile, and
22· · · · Q· · Okay.· And here, you even -- you found a third   22· ·I'm trying to -- it may have been court-ordered. I
23· ·DNA profile, right?                                        23· ·don't remember the path by which, but we did do a -- I
24· · · · A· · Correct.· I had a -- a minor DNA profile was     24· ·did do a CODIS search.
25· ·identified at nine of the locations, and a low level       25· · · · Q· · Okay.· So we'll get to that.· Within here,

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·1· ·third DNA profile was also identified at three             ·1· ·with that 7B, which was, I believe, the area up by the
·2· ·locations.                                                 ·2· ·waistband, right?
·3· · · · Q· · Okay.· And so Mr. Savory was excluded from all   ·3· · · · A· · Yes, that is correct.· 7B is the area around
·4· ·three of the profiles on James Robinson's underwear,       ·4· ·the cutout near the waistband.
·5· ·correct?                                                   ·5· · · · Q· · And what did you find there?
·6· · · · A· · Yes, that is correct.                            ·6· · · · A· · That was -- a human DNA profile was identified
·7· · · · Q· · And so he could not have been the minor          ·7· ·at just five locations on the DNA.· It was interpreted
·8· ·profile, the owner of the material at the minor profile,   ·8· ·as being contributed by at least one person, and so
·9· ·right?                                                     ·9· ·potentially incomplete.· And I was unable to make any
10· · · · A· · Correct.                                         10· ·comparisons to known standards in regards to that
11· · · · Q· · And he could not have been the contributor to    11· ·profile.
12· ·the DNA at -- that was the low level third profile,        12· · · · Q· · Okay.· And -- but sometimes you can compare
13· ·right?                                                     13· ·incomplete profile, right?· So what -- was it here that
14· · · · A· · Correct.· He was excluded as having              14· ·you weren't able to determine the number of
15· ·contributed to the mixture of DNA profiles.                15· ·contributors?
16· ·(Inaudible) --                                             16· · · · A· · Yes, that was the issue, and that it was low
17· · · · Q· · And in excluding -- sorry, go ahead.             17· ·level.· So there was at least one contributor present
18· · · · A· · I was just saying, right, he was excluded,       18· ·and then additional information present below my level
19· ·right, from all as being one of those three contributors   19· ·of absolute detection to be able to call it a true peak.
20· ·to that mixture, correct.                                  20· ·And at that point, then, I am unable, based on my
21· · · · Q· · Okay.· And is that -- what's the certainty of    21· ·protocols, to interpret that, because there could be two
22· ·that exclusion?                                            22· ·people present and that could cause problems with how
23· · · · A· · That is, he's excluded.· He -- the profile       23· ·they assorted above my detection threshold versus below.
24· ·type for his standard is not present in those mixture      24· ·And to keep from possibly making an erroneous inclusion
25· ·profiles, so he could not have contributed them.           25· ·where two people's DNA has come together and just looks
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·1· ·like one above the threshold, right, I am unable to make   ·1· · · · Q· · Okay.· And then here -- let me go down to --
·2· ·any comparisons because I can't identify that there were   ·2· ·sorry.· You -- so towards the bottom of your report, you
·3· ·two contributors present or just one.                      ·3· ·were talking about whether or not you could compare
·4· · · · Q· · Okay.· Thank you.· And so when we come down      ·4· ·these profiles to the light switch, right, to the light
·5· ·here, we have 7C, which was the blood streaks from the     ·5· ·switch profile?
·6· ·inside back of the underwear, right?                       ·6· · · · A· · That's correct.
·7· · · · A· · Right.· The streaks from the inside of the       ·7· · · · Q· · And were you able to do that?
·8· ·back of the underwear.· I don't believe they were          ·8· · · · · · MR. TIMBO:· Objection as to form because you're
·9· ·Kastle-Myer positive, but they were blood -- possible      ·9· · · ·not referring to which specific test from the light
10· ·blood-like in appearance.                                  10· · · ·switch.· Can you be more specific?
11· · · · Q· · Okay.· But it didn't -- it tested negative for   11· · · · · · MS. HAGY:· Sure.
12· ·the Kastle-Myer?                                           12· ·BY MS. HAGY:
13· · · · A· · Yes, that is correct.                            13· · · · Q· · Were you able to compare the results of the --
14· · · · Q· · So again, we don't know exactly what bodily      14· ·from 7A specifically to the DNA profile -- the MiniFiler
15· ·fluid this DNA profile came from, right?                   15· ·DNA profile that William Frank derived from 15A1, the
16· · · · A· · Yes, that is correct.                            16· ·light switch plate?
17· · · · Q· · And so you had a profile at eight of the loci,   17· · · · A· · There -- there were comparisons that -- that
18· ·right?                                                     18· ·could be done and there were comparisons that couldn't,
19· · · · A· · Yes, that's correct.                             19· ·so they needed to have the coinciding loci present to be
20· · · · Q· · And again, there were -- it was a mixture of     20· ·able to compare them.· So it's -- it's a much bigger
21· ·at least three people, right?                              21· ·statement than that.
22· · · · A· · Yes, that is correct.                            22· · · · Q· · Okay.· So which ones could you make?
23· · · · Q· · And for the two major DNA profiles, you were     23· · · · A· · Can I read through this?
24· ·able to compare those, right?                              24· · · · Q· · Yes.
25· · · · A· · Yes, I was.                                      25· · · · A· · What's -- what's in there, just so that for me

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·1· · · · Q· · And the third profile, what it said at the       ·1· ·it's clearer, and then we can talk about that.
·2· ·bottom here that it was unsuitable for comparison.· Did    ·2· · · · Q· · Okay.
·3· ·you just not have enough DNA for that one?                 ·3· · · · A· · That work for you?
·4· · · · A· · Right.· So the -- the minor contributors are     ·4· · · · Q· · Yes.
·5· ·potentially incomplete and unsuitable for comparison,      ·5· · · · A· · So -- so right, so there was a mixture of
·6· ·right, to known standards.· So that -- that's --           ·6· ·human DNA profiles and from Exhibit 15A1, the edge of
·7· ·exactly, there's just not enough information there about   ·7· ·the light switch cover, which was processed by DNA
·8· ·that additional contributor to be able to make a           ·8· ·research coordinator William Frank, and he reported.· An
·9· ·comparison.                                                ·9· ·open minor DNA profile was identified at three of the
10· · · · Q· · Okay.· But here, you had two major DNA           10· ·nine locations that he profiled on Exhibit 15A1, and
11· ·profiles at four of the 24 loci, and for that, James       11· ·thus, then, at those three locations compared to the
12· ·Robinson and the contributor of the minor DNA profile in   12· ·other -- to the exhibits that I was processing.· So the
13· ·Exhibit 7A couldn't be excluded, right?                    13· ·contributors of the low level -- so there were -- there
14· · · · A· · Yes, that is correct.                            14· ·were multiple profiles, right, that -- that I was
15· · · · Q· · And Johnnie Lee Savory, was he included or       15· ·looking at, and so they contributed to the low level
16· ·excluded?                                                  16· ·third DNA profile from Exhibit 7A that we just discussed
17· · · · A· · He was excluded as having contributed to those   17· ·and the minor DNA profile from Exhibit 12A, but we
18· ·major DNA profiles.                                        18· ·hadn't discussed that one, are -- cannot be excluded as
19· · · · Q· · So could he have been the contributor of those   19· ·having potentially contributed to the minor DNA profile
20· ·two profiles?                                              20· ·on that light switch, okay?· So you've got the third
21· · · · A· · Not those two major profiles, no.                21· ·from 7A and the minor DNA profile from 12A cannot be
22· · · · Q· · And similarly, Connie Cooper, Noyalee            22· ·excluded as having potentially contributed to what's on
23· ·Robinson, and William Peter Douglas were all also          23· ·the light switch.· So then, there were, right,
24· ·excluded from those two major profiles, right?             24· ·additional comparisons done.· So the contributors of the
25· · · · A· · Yes, that is correct.                            25· ·minor DNA profiles identified in Exhibit 7A and 13A, the
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·1· ·major DNA profile in 7C and -- and 9B, and then            ·1· ·Sorry, here.· Okay.· So there were two profiles on the
·2· ·additional items there couldn't be compared to the minor   ·2· ·flat sheet stain that was called 10A, right?
·3· ·profile because the loci detected were not the same.· So   ·3· · · · A· · Correct.· There was a female -- it was a
·4· ·part could be compared, some could be compared, some       ·4· ·mixture of two people.
·5· ·could not.· We -- I just had to have the same loci         ·5· · · · Q· · Okay.
·6· ·information at the same loci.· So when looking at item     ·6· · · · A· · No major DNA profile was identified.
·7· ·-- the DNA profile obtained by research coordinator        ·7· · · · Q· · And what did you -- what were your results
·8· ·William Frank in Exhibit 15A1, the contributors of the     ·8· ·when you compared that profile to the standards?
·9· ·low level third DNA profile from 7A could not be           ·9· · · · A· · So right, so a mixture of human DNA profiles
10· ·excluded as having contributed to that minor DNA           10· ·was identified in item 10A.· At eight locations on the
11· ·profile, so I -- I couldn't exclude them.· I could make    11· ·DNA was interpreted as a mixture of two people. A
12· ·the comparison but I couldn't exclude them. The            12· ·female major DNA profile was identified from which
13· ·contributor of the minor DNA profile in the mixed          13· ·Connie Cooper could not be excluded, so she was
14· ·fraction of 10H was excluded.· The contributors of the     14· ·included.· So to that female profile, she was included.
15· ·minor DNA profiles -- and then I went on to describe,      15· ·Noyalee Robinson, James Robinson, William Peter Douglas,
16· ·right, what couldn't be -- just couldn't be compared.      16· ·and Johnnie Lee Savory were excluded as having
17· · · · Q· · Okay.· And so for 7A and 7C, the major unknown   17· ·contributed to that major DNA profile.· So the second
18· ·profile, you just weren't able to compare those to the     18· ·profile, an additional DNA type was identified at one
19· ·light switch profile?                                      19· ·location on the DNA from which William Peter Douglas and
20· · · · A· · Correct.                                         20· ·Johnnie Lee Savory could not be excluded.· And I did a
21· · · · Q· · Okay.· I'm just going to grab a soda real        21· ·statistical frequency on this because, right, we were
22· ·quick.· Okay.· Sorry.· Okay.· So the fitted sheet was      22· ·looking -- I was looking at one location on the DNA.
23· ·12A, right?· So I go back up to our list.· The fitted      23· ·And so the statistical frequency by which that DNA type,
24· ·sheet was here, 10A, one of the blood-like stains from     24· ·that additional DNA type, would be expected in the
25· ·the flat sheet, right?                                     25· ·general population is -- is one out of two unrelated

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·1· · · · A· · Okay.· So your -- the flat sheet?                ·1· ·individuals.· So -- so the way it reads in the report,
·2· · · · Q· · Uh-huh.                                          ·2· ·the expected frequency of occurrence for this DNA type
·3· · · · A· · Yes.· 10A is from the flat sheet.                ·3· ·at that one location was calculated for the African
·4· · · · Q· · Okay.· And then 12A, that was from -- and        ·4· ·American, Caucasian, and Hispanic population groups and
·5· ·blood-indicated stain from a pillowcase on the floor,      ·5· ·was found to be no more common than approximately one in
·6· ·right?                                                     ·6· ·two unrelated individuals.
·7· · · · A· · Yes, that's correct.                             ·7· · · · Q· · And so that's a -- the probability for
·8· · · · Q· · Okay.· And were you ever asked to do any         ·8· ·basically every racial group, right?
·9· ·standards for YT Savory?                                   ·9· · · · A· · Every main racial group and that we -- that
10· · · · A· · I don't remember.                                10· ·was used in setting up our databases in the beginning of
11· · · · Q· · Okay.                                            11· ·DNA analysis.· Yes.
12· · · · A· · I know I processed all of the standards and      12· · · · Q· · And like, sometimes the probabilities are
13· ·did comparisons with all of them that I had.               13· ·different, right, for the different groups?
14· · · · Q· · Okay.· And he wasn't one of the ones that what   14· · · · A· · That is correct.· And in reporting that, I
15· ·was listed on the report or in the chart that we looked    15· ·report the most common frequency of those populations,
16· ·at, right?                                                 16· ·so -- so it -- I'm looking at African-American
17· · · · A· · Right.· And I -- I believe in regards to the     17· ·population, the Caucasian population as well as Hispanic
18· ·blue pants, that might have been the item that I was       18· ·population can be divided into southeast and
19· ·wanting a standard from him.· So I don't remember exact    19· ·southwestern Hispanic population groups.· And so the
20· ·conversations, but I believe there were conversations      20· ·most common of all of those is what I'm reporting, which
21· ·asking about and looking for his standards for             21· ·is approximately one in two.
22· ·comparison sake.                                           22· · · · Q· · And so that's very common, right?· Is that
23· · · · Q· · Okay.                                            23· ·fair to say?
24· · · · A· · But I don't recall processing any.               24· · · · A· · Yes, very common.· And that is one of the
25· · · · Q· · Okay.· Okay.· So if we go down to sample 10A.    25· ·reasons it's included in the report is to show the
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·1· ·weight of that non-exclusion are included.                 ·1· ·all of the profiles that you developed, right?
·2· · · · Q· · And so would you say that this inclusion         ·2· · · · A· · And I believe that was the flat sheet.
·3· ·should be given a lot of weight?                           ·3· · · · Q· · Oh, yes.
·4· · · · A· · It -- it is an inclusion, but it is -- the       ·4· · · · A· · So I believe it was 10A, which was the flat
·5· ·statistical weight says it's -- it's very common.· And     ·5· ·sheet.· So yes, that is correct.
·6· ·right, one in two unrelated individuals is also going to   ·6· · · · Q· · Okay.· And then for the bedspread, which was
·7· ·be included.                                               ·7· ·11A -- we'll go down here.· You had a mixture of DNA
·8· · · · Q· · So you could say almost half the population      ·8· ·profiles, and then you extracted a sperm fraction from
·9· ·could be included in this?                                 ·9· ·Exhibit 11A, right?
10· · · · A· · Possibly, yes.· In that statistical frequency,   10· · · · A· · Correct.· I did a differential extraction on
11· ·right, it is -- it is one in two, so it is not             11· ·the stain, 11A, so a non -- a non -- a non-sperm and a
12· ·discerning.                                                12· ·sperm fraction, correct.· As well as that third
13· · · · Q· · It doesn't give you a lot of information about   13· ·fraction, the mixed fraction.· So yes, I did the
14· ·who was likely to be the contributor, right?               14· ·differential extraction process and different
15· · · · A· · Correct.· It -- just like you said, there's a    15· ·information was obtained from each.
16· ·possibility that every time you come right to another      16· · · · Q· · Okay.· And when you do the sperm fraction
17· ·person, the first person you come to could be excluded;    17· ·here, you found loci at seven of the 24 loci, right?
18· ·the next person potentially wouldn't be, so it's just      18· · · · A· · Correct.· The mixture was identified in the
19· ·very common.                                               19· ·sperm fraction at seven of those 24 loci.
20· · · · Q· · So it's not particularly helpful for             20· · · · Q· · And you interpreted that that could be at
21· ·identifying a contributor, right?                          21· ·least three people?
22· · · · A· · No, there just isn't a lot of information        22· · · · A· · Yes, that's correct.
23· ·there.                                                     23· · · · Q· · And there was a major profile identified at
24· · · · Q· · And so is it fair to say that apart from this    24· ·four of the 24 loci, right?
25· ·very high probability, very common profile, that           25· · · · A· · Yes, that's correct.

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·1· ·Mr. Savory was excluded from all other identifiable        ·1· · · · Q· · And Mr. William Douglas and the contributor of
·2· ·profiles that you discerned?                               ·2· ·the major DNA profile on the non-sperm fraction of 9F,
·3· · · · A· · Yes, I believe so.                               ·3· ·which we'll get there, but they were both included in
·4· · · · Q· · Okay.· And you tested quite a few different      ·4· ·this profile, right?
·5· ·items from the crime scene, right?· Here we had -- let's   ·5· · · · A· · Yes, that's correct.
·6· ·go up.· One, two, three, four, five, six, seven, eight,    ·6· · · · Q· · And here, the frequency was about 1 in 2,000
·7· ·nine different items, right?· And you tested also the      ·7· ·unrelated individuals?
·8· ·light switch and the vaginal swab, and Mr. Savory was      ·8· · · · A· · Yes, that is correct.
·9· ·not included -- besides for the one common profile, he     ·9· · · · Q· · So it -- how -- do you consider that to be
10· ·wasn't included in any of the other profiles that you      10· ·fairly common?
11· ·found, right?                                              11· · · · A· · It is still common, but it is more discerning
12· · · · A· · Correct.· That is what I remember.               12· ·than one in two.
13· · · · Q· · Okay.· And this included the victim's            13· · · · Q· · Okay.
14· ·clothing, right?                                           14· · · · A· · But it is --
15· · · · A· · Correct.· It -- it everything I was able to      15· · · · Q· · And again -- oh, sorry.
16· ·profile --                                                 16· · · · A· · I'm sorry.· It is still, right, 1 in 2,000
17· · · · Q· · Okay.                                            17· ·unrelated individuals.
18· · · · A· · -- from those items of evidence where we had     18· · · · Q· · And again, Mr. Savory was excluded from that
19· ·human DNA detected and able to identify DNA profiles,      19· ·profile, right?
20· ·yes.                                                       20· · · · A· · Yes, that is correct.
21· · · · Q· · And some of those items were the bedding from    21· · · · Q· · Okay.· And then -- and 9F was the stain from
22· ·the scene, right?· From the scene of the crime?            22· ·the fitted sheet, right?· We can go back.
23· · · · A· · Yes, that's correct.                             23· · · · A· · I don't believe nine was the fitted sheet. I
24· · · · Q· · And he was -- besides the 50 -- the one out of   24· ·think it may have been -- oh, it was.· Okay.
25· ·two profile from the fitted sheet, he was excluded from    25· · · · Q· · That's okay.· I wrote myself a cheat.· It's
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·1· ·hard when you get --                                       ·1· ·three people whose profiles were consistent with that
·2· · · · A· · That's quite a few items, yeah.                  ·2· ·profile?
·3· · · · Q· · Yeah.· And you get farther down in the report,   ·3· · · · A· · There were -- the search -- the computer
·4· ·I'm always scrolling back up.· Yes, there were a lot,      ·4· ·search detected three possible associations, so to three
·5· ·and I think I don't actually know the difference between   ·5· ·individuals in the state of Illinois DNA indexing system
·6· ·a fitted and a flat sheet.· So the fitted is one that      ·6· ·database.
·7· ·has the elastic, right?                                    ·7· · · · Q· · Okay.· And did you do anything else with this
·8· · · · A· · Yes, that is correct.                            ·8· ·after you issued this report?
·9· · · · Q· · And then the flat is just that one without the   ·9· · · · A· · No, not to my recollection.
10· ·elastic?                                                   10· · · · Q· · Okay.· And similarly, here, the third level
11· · · · A· · Yes, that is correct.                            11· ·DNA profile, you didn't do anything to run through
12· · · · · · MS. HAGY:· Okay.· So we've now gone for another   12· ·CODIS, right?
13· · · ·hour.· Should we take another, maybe a ten-minute      13· · · · A· · No.· Three -- that was identified at only
14· · · ·break?· And then I don't have too much left.           14· ·three locations of the 24 and would not be discerning
15· · · · · · THE WITNESS:· I am -- I am good with that.        15· ·enough to run through even the state database to look
16· · · · · · MS. HAGY:· Okay.· So we'll come back at 1:00.     16· ·for associations.
17· · · · · · THE WITNESS:· Thank you.                          17· · · · Q· · Okay.· And when we talked earlier, with your
18· · · · · · COURT REPORTER:· All righty, the time is          18· ·October 3rd report, you didn't do anything additional
19· · · ·12:49 p.m.· We're going off record.                    19· ·with those profiles comparing them to the light switch
20· · · · · · · (OFF THE RECORD)                                20· ·than what we discussed today, right?
21· · · · · · COURT REPORTER:· We're back on the record.· The   21· · · · A· · No, that was, what was in that report was the
22· · · ·time is 1:09 p.m.                                      22· ·-- the end of the associations and comparisons that I
23· ·BY MS. HAGY:                                               23· ·conducted.
24· · · · Q· · Okay.· So now I'm going to show you your last    24· · · · Q· · Okay.· Okay.· And besides what we discussed
25· ·report in this case.· Okay.· And so Ms. Yeagle, this is    25· ·today and the reports that we discussed today, was there

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·1· ·dated November 29, 2018, right?                            ·1· ·any other testing that you did in this case?
·2· · · · A· · Yes, that is correct.                            ·2· · · · A· · Not other than what was in the reports we've
·3· · · · · · MS. HAGY:· And Emilia, are we on -- is this       ·3· ·discussed and the notes associated with those reports,
·4· · · ·Exhibit 12?                                            ·4· ·yeah.
·5· · · · · · COURT REPORTER:· Yes.                             ·5· · · · · · MS. HAGY:· Okay.· So I am done with my initial
·6· · · · · · MS. HAGY:· Okay.                                  ·6· · · ·questioning.
·7· ·BY MS. HAGY:                                               ·7· · · · · · · · · CROSS EXAMINATION
·8· · · · Q· · And so this is Peoria Savory 12704 and 12705.    ·8· ·BY MR. TIMBO:
·9· ·So this is where you ran the minor DNA profile from        ·9· · · · Q· · All right, Ms. Yeagle, good afternoon.
10· ·Exhibit 7A.· You ran it into the Illinois -- what is the   10· · · · A· · Hello.
11· ·Illinois CODIS database, right?                            11· · · · Q· · Can you hear me okay?
12· · · · · · · (EXHIBIT 12 MARKED FOR IDENTIFICATION)          12· · · · A· · Yes, I can.
13· · · · A· · Correct.· The Illinois -- we call it SDIS, so    13· · · · Q· · Okay.· Let's start with, then, working
14· ·the State DNA Indexing System from Illinois.               14· ·backwards a little from your November 29, 2018 report.
15· · · · Q· · And like you referenced earlier, this was by     15· ·Do you actually have copies of the reports in front of
16· ·the order of the judge, right?                             16· ·you?
17· · · · A· · Yes, that was correct.· Judge Gilfillan          17· · · · A· · No, I do not.
18· ·ordered this to be searched and the result of that         18· · · · Q· · Okay.· That'll make it a little bit longer. I
19· ·search to be reported.                                     19· ·was hoping that you had a set in front of you that I can
20· · · · Q· · Okay.· And here, the profile had been at nine    20· ·just reference.
21· ·of the loci, right?                                        21· · · · A· · I can access -- I do have copies here that I
22· · · · A· · Correct.· The minor profile was identified at    22· ·could access.· I just didn't have them out.· I wasn't
23· ·nine of the 24 loci, and it was those -- that's what was   23· ·sure if that was okay.
24· ·searched was that nine-locus profile.                      24· · · · Q· · Sure.· Yeah.· If you can or if your counsel
25· · · · Q· · Okay.· And so you -- in the search, there were   25· ·could get those for you when I ask you a couple
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·1· ·questions and -- I think it'll be a lot easier that way.   ·1· · · · A· · Yes.
·2· · · · A· · Can I have the other folder as well, just to     ·2· · · · Q· · If you go to page 2 --
·3· ·be (Inaudible)?· Thank you.· And which report were you     ·3· · · · A· · Yes.
·4· ·referencing first?                                         ·4· · · · Q· · And again, under the results, I'm looking at
·5· · · · Q· · Sure.· Let's start then with the                 ·5· ·the second full paragraph, which starts, "A mixture of
·6· ·November 29, 2018 report.                                  ·6· ·human DNA."· You see that?
·7· · · · A· · Okay.· I do not -- I do not have a copy of       ·7· · · · A· · Yes.
·8· ·that one with me, but I do recall a report.                ·8· · · · Q· · Is my understanding with respect to Exhibit
·9· · · · Q· · Okay.· All right.· Do you know whether or not    ·9· ·15B that Johnnie Savory could not be excluded as a
10· ·there is a DNA profile sheet associated with that          10· ·possible source for that?
11· ·particular report?                                         11· · · · · · MS. HAGY:· Objection.· Form, foundation.
12· · · · A· · There is.· That is the totality of that          12· · · · Q· · All right.· So let me ask -- let me ask you a
13· ·report, the profile from the nine -- the interpretation    13· ·question a different way.· Ms. Yeagle, when you said
14· ·that was used to enter those -- those nine loci that is    14· ·earlier that Johnnie Savory's unknown standard was
15· ·included in -- in the packet of notes that are             15· ·attempted to be matched against all of the evidence and
16· ·associated with that report.· So the exact alleles, the    16· ·all of the exhibits that you tested, correct?
17· ·exact search specification and the exact allele at each    17· · · · A· · All of the comparable profiles.· So there were
18· ·location on the DNA that was searched is in that notes     18· ·profiles --
19· ·packet.                                                    19· · · · Q· · Yeah, comparable.
20· · · · Q· · Yeah.· I see.· Okay.· So as of -- as you sit     20· · · · A· · Right.· So interpretable, comparable profiles.
21· ·there now, you can't identify exactly -- when you're       21· ·So there were partial profiles and incomplete profiles
22· ·saying the search detected possible associations, what     22· ·that were unsuitable for comparison.· So those were not
23· ·would that mean, you know, in layman's terms?              23· ·compared.
24· · · · A· · That means that when those nine loci were        24· · · · Q· · Okay.· So I guess that's what I'm just trying
25· ·searched in the database, so the information from that     25· ·to understand, then.· So for Exhibit 15B, which would be

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·1· ·minor profile was searched in the computer database,       ·1· ·the center part of the light switch cover, correct?
·2· ·Illinois's computer database, that those three             ·2· · · · A· · That is correct.
·3· ·individuals could not be excluded as having contributed    ·3· · · · Q· · There was an insufficient amount of DNA to be
·4· ·the DNA profile.· So they're consistent at those nine      ·4· ·able to test against any of the known standards?
·5· ·locations on the DNA.· So they can't be excluded as        ·5· · · · A· · Correct.· The mixed DNA profile was
·6· ·having contributed.· So they're basically a computer       ·6· ·potentially incomplete and unsuitable for comparison to
·7· ·match.                                                     ·7· ·known standards.
·8· · · · Q· · Sure.· Okay.· And then is there any way that     ·8· · · · Q· · And those known standards would also include
·9· ·you're able to identify the percentage of frequency for    ·9· ·Johnnie Savory, correct?
10· ·those nine loci in the general population as you had in    10· · · · · · MS. HAGY:· Objection.· Form.· Go ahead.
11· ·other instances throughout your reports today?             11· · · · · · MR. TIMBO:· You can answer, ma'am.
12· · · · A· · That statistical frequency can be calculated     12· · · · A· · That is correct, that I was not able to
13· ·but is only -- I would only calculate, have calculated     13· ·compare to any standards, including Mr. Savory's
14· ·that, if I had a standard from one of those three          14· ·standard.
15· ·individuals to compare to the unknown profile.· So the     15· · · · Q· · Okay.· Thank you.· Going to your October --
16· ·nine --                                                    16· ·well, no, let's -- I did have a couple questions here.
17· · · · Q· · And you weren't provided that?                   17· ·Can you tell I love Zoom deps?
18· · · · A· · We were not.· To my knowledge, we were never     18· · · · A· · I am -- I had to find a computer that had a
19· ·provided with standards from those three individuals.      19· ·video capability, so --
20· · · · Q· · I understand.                                    20· · · · Q· · Going to your October 3, 2018 report, which I
21· · · · A· · I'm -- I'm not able --                           21· ·just misplaced --· do you have that there in front of
22· · · · Q· · Thank you.                                       22· ·you?
23· · · · A· · Okay.                                            23· · · · A· · Just one moment.· I'm looking.· October 3,
24· · · · Q· · All right.· So let me go to the March 20, 2014   24· ·2018?· Yes.
25· ·report.                                                    25· · · · Q· · Yes.· Turning to page 7 --
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·1· · · · A· · Yes, I have page 7.                              ·1· ·and my processing of multiple items of evidence.· Yes.
·2· · · · Q· · The last paragraph on that page.                 ·2· · · · Q· · In your review of Mr. Gonsowski's March 17,
·3· · · · A· · Yes, I see that.                                 ·3· ·1977 report, is it your understanding that he identifies
·4· · · · Q· · Okay.· So I just want to understand, what does   ·4· ·seminal fluid was present?
·5· ·that paragraph mean?· That you yourself found sperm on     ·5· · · · · · MS. HAGY:· Objection.· Form.· Foundation.
·6· ·exhibits not only 3A but 9F and 10G?                       ·6· · · · A· · May I ask in which item of evidence?
·7· · · · · · MS. HAGY:· Objection.· Form.                      ·7· · · · Q· · In item 3A.
·8· · · · A· · Are you ready?· So -- so I just want to make     ·8· · · · A· · I would need to refer back to the report. I
·9· ·sure I'm looking at the correct portion.· So you're        ·9· ·remember in regards to the vaginal swabs, but I don't
10· ·referring to the entry in the report DNA was extracted     10· ·remember specifically, in regards to the underwear, what
11· ·from the sperm and mixed fractions of Exhibits 3A, 9F,     11· ·his findings were.· I could look to refresh my
12· ·10G, and the sperm fractions of Exhibits 9G and 10H, but   12· ·recollection, but I don't remember exactly.
13· ·not profiled?                                              13· · · · Q· · Okay.· Well, maybe I can ask you that in this
14· · · · Q· · Right.· That's that area.· (Inaudible) --        14· ·way, then.· Would it be inconsistent, or would it be an
15· · · · A· · That does not -- does not mean that there was    15· ·incorrect statement for Mr. Gonsowski to testify that he
16· ·sperm identified on those items.· That is just the         16· ·was only able to find seminal fluid in the underwear?
17· ·description for that fraction of the DNA differential      17· · · · · · MS. HAGY:· Objection.· Form, foundation.
18· ·extraction process.· So in the DNA extraction process      18· · · · A· · If his -- if his testing and his results were
19· ·and looking at items that could potentially have seminal   19· ·that he solely indicated seminal material or seminal
20· ·fluid or sperm cells present, utilize a differential       20· ·material and did not identify sperm cells, that would be
21· ·extraction protocol, and those are the names of the        21· ·in regards to his testing in the areas he tested. So am
22· ·fractions.· So the F1 are the non-sperm fraction, the F2   22· ·I -- am I answering your question fully?
23· ·are the sperm fraction, and then the F3-4, that third      23· · · · Q· · I think so.· I guess --
24· ·fraction, which is considered a mixed fraction.· That      24· · · · A· · Trying to make sure I understand.
25· ·does not mean that there were sperm cells identified       25· · · · Q· · All right.· So then can you maybe give me a

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·1· ·there, just that's the name of the fraction of the DNA     ·1· ·little, just, understanding of the difference between a
·2· ·extraction itself.                                         ·2· ·sperm cell and seminal fluid?
·3· · · · Q· · Okay.· Because earlier in the deposition, we     ·3· · · · · · MS. HAGY:· John, I also want to say, I think
·4· ·were talking about the one sperm cell that you actually    ·4· · · ·you've misrepresented that document as well.
·5· ·did find on Exhibit 3A, correct?                           ·5· · · · · · MR. TIMBO:· Okay.· Well, again, I'm going to
·6· · · · A· · That is correct.· Exhibit 3A, the underwear      ·6· · · ·clear that up here, then.
·7· ·from -- I believe that's the item number.· The underwear   ·7· · · · · · MS. HAGY:· Okay.
·8· ·from Connie Cooper had one sperm cell identified on        ·8· ·BY MR. TIMBO:
·9· ·that, and I did extract the area surrounding that          ·9· · · · Q· · Or I'm trying to.· Can you identify for me,
10· ·cutting.· Yes.· On the other items, no, I do not believe   10· ·then, what the difference is between a sperm cell and
11· ·that I identified any sperm.                               11· ·seminal fluid?· Let's start with that.
12· · · · Q· · Okay.· So from your recollection of your work    12· · · · A· · So a sperm cell, or spermatozoa, are exactly
13· ·in this case, you yourself only identified one sperm       13· ·that.· A sperm cell, the -- it's present.· It's the
14· ·cell on all of the exhibits that were given to you?        14· ·genetic material.· But a sperm cell, right, is present
15· · · · · · MS. HAGY:· Objection.· Form, foundation.          15· ·and transported in seminal fluid or semen, and is a
16· · · · A· · I believe so, yes.                               16· ·portion of seminal material, but it's just one portion
17· · · · Q· · Okay.· You talked earlier about having to        17· ·of the seminal material.
18· ·review or having reviewed Robert Gonsowski's report with   18· · · · Q· · Okay.
19· ·respect to the blue pants that you tested.· Do you         19· · · · A· · So I can identify --
20· ·remember that testimony earlier today?                     20· · · · Q· · So if Mr. --
21· · · · A· · Yes.                                             21· · · · A· · I was going to say we can identify --
22· · · · Q· · Did you also review Mr. Gonsowski's reports      22· · · · Q· · Go ahead.
23· ·from 1977 concerning what he found in Exhibit 3A?          23· · · · A· · I can identify one sperm cell, and that
24· · · · A· · I did review Robert Gonsowski's March 17, 1977   24· ·identifies semen, because for one sperm cell to be
25· ·report and used that information in my -- for my testing   25· ·present, there's semen there.· And then you could
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·1· ·identify or indicate or detect other components of         ·1· ·So Mr. Gonsowski's findings are based on what he tested.
·2· ·seminal fluid and just be, right, indicating or            ·2· ·My findings are based on what I tested.
·3· ·identifying that seminal material itself, not              ·3· · · · Q· · Okay.· Fair enough.· Thank you.· You said that
·4· ·necessarily sperm cells.                                   ·4· ·you had worked on a couple other cases that had evidence
·5· · · · Q· · Okay.· So you cut out a little bit due to        ·5· ·that had existed for a long period of time similar to
·6· ·Zoom, but what I understand is that if somebody            ·6· ·the Savory case; is that true?
·7· ·identifies the presence of semen, that doesn't             ·7· · · · · · MS. HAGY:· Objection.· Form.· Go ahead.
·8· ·necessarily mean that there has to be a sperm cell         ·8· · · · A· · My apologies.· I have worked some older cases
·9· ·present.                                                   ·9· ·and cases that are of this type going back to older
10· · · · · · MS. HAGY:· Objection.· Form.· Foundation. I       10· ·evidence as well as in training.· We utilize old samples
11· · · ·don't think you're actually looking at the report.     11· ·that have been kept around in research and development
12· · · · · · MR. TIMBO:· Okay.· Can we go on a break, then?    12· ·and in the training protocol.
13· · · ·I'm going to -- I'm going to pull it up.· I got to     13· · · · Q· · Is -- in your training and education, is there
14· · · ·understand exactly then.· Let's take a -- let's take   14· ·a life -- is there an age in which sperm no longer can
15· · · ·a four-minute break.· I'm not going to leave.· I'm     15· ·exist on a particular, you know, item?
16· · · ·just putting -- Ann, I'm going to put myself on        16· · · · · · MS. HAGY:· Objection.· Form.· And I don't know
17· · · ·'stop video' because I think my Internet connection    17· · · ·if I cut John off, but I didn't really understand
18· · · ·here in the Zoom is horrible when I have both on.      18· · · ·that question or I didn't --
19· · · ·I'll let you know when I'm back, and then I'm going    19· ·BY MR. TIMBO:
20· · · ·to turn it off for additional questioning.             20· · · · Q· · Like I said, I hate Zoom.· Maybe the question
21· · · · · · THE WITNESS:· Thank you so much.                  21· ·is: What is the life expectancy of a one sperm cell? You
22· · · · · · COURT REPORTER:· Going off the record.            22· ·know, is there a range that you're taught?
23· · · · · · MR. TIMBO:· Nobody go nowhere.· I'm going off     23· · · · A· · In regards to an item of evidence where
24· · · ·the record.                                            24· ·seminal material or a sperm cell is deposited onto an
25· · · · · · COURT REPORTER:· Okay.· The time is 1:29 p.m.     25· ·item of evidence, per se cloth or something of that

                                                     Page 111                                                        Page 113
·1· · · · · · · (OFF THE RECORD)                                ·1· ·nature, there is not necessarily a life span there.· If
·2· · · · · · COURT REPORTER:· We're back on the record.· The   ·2· ·the spermatozoa remains on that item and is detected or
·3· · · ·time is 1:31 p.m.                                      ·3· ·tested, it could still be identified and still utilized
·4· ·BY MR. TIMBO:                                              ·4· ·to identify as sperm if all of the landmarks are still
·5· · · · Q· · Okay.· So Ms. Yeagle, yeah, had me refresh my    ·5· ·present morphology-wise to identify that sperm cell.
·6· ·recollection that Mr. Gonsowski's results actually says    ·6· ·There are differences in -- based on the media or how
·7· ·he did not indicate the presence of seminal material in    ·7· ·that seminal material was deposited or the matrix it's
·8· ·his March 17, 1977 report.· So from what I understand      ·8· ·on.
·9· ·then, Ms. Yeagle, is it possible that, depending upon      ·9· · · · Q· · Okay.· For the sperm cell that you found on
10· ·the location of an item tested, either seminal fluid or    10· ·Exhibit 3A in this case, are you able to identify its
11· ·a sperm may or may not be found?                           11· ·origin, meaning when it was deposited there?· Are you
12· · · · · · MS. HAGY:· Objection.                             12· ·able to give it a date?
13· · · · Q· · Such as the underwear in Exhibit 3.              13· · · · · · MS. HAGY:· Objection.· Form.
14· · · · A· · You're cutting out a little bit still.· Could    14· · · · A· · No, I am not.
15· ·you repeat the question for me?                            15· · · · Q· · So it's possible that particular sperm cell
16· · · · Q· · Sure.· I guess -- before we took our break       16· ·could have been there prior to 1977?
17· ·here, I just wanted to understand that just because a      17· · · · · · MS. HAGY:· Objection.· Form.
18· ·particular item may be tested at one point in time and     18· · · · A· · I am unable to say when the sperm cell or the
19· ·either no semen is found or semen is found without         19· ·semen was deposited on the item, other than it was there
20· ·sperm, is that a possibility?                              20· ·when I tested it.
21· · · · · · MS. HAGY:· Objection.· Form.                      21· · · · Q· · Fair enough.· Thank you.· I'm just going
22· · · · A· · So my testing, in regards to the underwear, I    22· ·through my notes still.· Give me a second here.
23· ·detected a sperm cell.· And so my findings are that I      23· ·Ms. Yeagle, you were asked questions about trying to
24· ·identified semen in the underwear because of finding       24· ·determine whether the cutout on the blue pants was still
25· ·that sperm cell.· The testing is different per person.     25· ·in existence.· Do you remember that questioning?
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·1· · · · A· · Yes, I do.                                       ·1· ·mean by its life span?
·2· · · · Q· · And can you identify for me then what steps      ·2· · · · Q· · Sure.· Meaning that, is there a point, is
·3· ·you took to try to determine whether that cutout still     ·3· ·there an age of dried blood that the Kastle-Myer test is
·4· ·existed in any of the evidence?                            ·4· ·no longer valid for?
·5· · · · A· · I looked in the packaging that I had with the    ·5· · · · · · MS. HAGY:· Objection.· Form.
·6· ·blue pants.· I requested from Peoria Police Department     ·6· · · · A· · Not to my recollection.· I have been able to
·7· ·if there was any additional evidence in their care and     ·7· ·test old samples and I've had it obtain a Kastle-Myer
·8· ·custody that would have that cutting or portions from      ·8· ·positive result in regards to training samples.· And it
·9· ·multiple items of evidence.· And I looked through our      ·9· ·is a sensitive test.· But I do not know a -- a term of
10· ·custody records at the laboratory and the reports and      10· ·that.
11· ·notes to attempt to locate the additional items that I     11· · · · · · MR. TIMBO:· Thank you.· I just have a couple
12· ·did not have access to.                                    12· · · ·more here.· Looking through my notes once more.· No,
13· · · · Q· · Okay.· Were you able to find any notation from   13· · · ·I asked that question already.· Ms. Yeagle, I have
14· ·1977 or 1981 from Robert Gonsowski specific to that        14· · · ·no further questions.· Thank you.
15· ·cutout on the blue pants?                                  15· · · · · · THE WITNESS:· Thank you.
16· · · · · · MS. HAGY:· Objection.· Form.· Foundation.         16· · · · · · MS. HAGY:· I will just have a couple more
17· · · · A· · Not that I remember.                             17· · · ·questions, but I was hoping we could take, like, a
18· · · · Q· · Okay.· And the same question with respect to     18· · · ·five-minute break before that.· But then I'll have
19· ·the two slides containing possible hairs taken from the    19· · · ·very few questions once we come back.· But maybe we
20· ·two victims in this case.· Do you recall seeing any        20· · · ·could come back at 1:50?
21· ·specific notes from the ISP lab back in 1977 identifying   21· · · · · · THE WITNESS:· I'm okay with that.
22· ·what could have happened to those two slides?              22· · · · · · MS. HAGY:· Okay.· Thank you.
23· · · · · · MS. HAGY:· Objection.· Form, foundation.          23· · · · · · COURT REPORTER:· Okay.· Going off record.· The
24· · · · A· · Again, I asked the Peoria Police Department if   24· · · ·time is 1:43 p.m.
25· ·they had them and looked through the items he -- our       25· · · · · · · (OFF THE RECORD)

                                                     Page 115                                                        Page 117
·1· ·items of evidence as well, and asked questions of          ·1· · · · · · COURT REPORTER:· We're back on the record.· The
·2· ·statewide DNA -- I believe he's called -- William Frank.   ·2· · · ·time is 1:55 p.m.
·3· ·I'm trying to remember the title that he was at the        ·3· · · · · · · · · REDIRECT EXAMINATION
·4· ·time.· But talked with him about protocols and             ·4· ·BY MS. HAGY:
·5· ·procedures at the time in trying to determine what might   ·5· · · · Q· · So Ms. Yeagle, for 15B, the sample that you
·6· ·have been done with those.· I know I was not able to       ·6· ·did autosomal testing from -- for the light switch, you
·7· ·find them, and I didn't find any information as to what    ·7· ·weren't able to compare that to any profiles, right?
·8· ·their disposition was or where they went to.               ·8· · · · A· · Correct.
·9· · · · Q· · So you -- so meaning that you couldn't find      ·9· · · · Q· · And so then you had YSTR testing done to the
10· ·out whether or not those items were, in fact, sent back    10· ·other sample from the light switch plate, right?
11· ·to the Peoria Police Department or consumed in its         11· · · · A· · Was that MiniFiler testing that was done?
12· ·testing?                                                   12· · · · Q· · Yes, it was.· Oh, I'm sorry.· You're right.
13· · · · · · MS. HAGY:· Objection.· Form.· Foundation.         13· ·It was MiniFiler testing.
14· · · · A· · Correct.· I don't recall.                        14· · · · A· · Yes.· The other sample had additional testing
15· · · · Q· · Okay.· Again, I'm just going through my notes.   15· ·done to look at those, that low level -- the low level
16· ·Does the Illinois State Police have a set protocol for     16· ·sample.· Correct.
17· ·how long the Kastle-Myer test is good for in terms of      17· · · · Q· · And that testing was done by Mr. William
18· ·identifying blood?                                         18· ·Frank, right?
19· · · · · · MS. HAGY:· Objection.· Form.                      19· · · · A· · Yes, that's correct.
20· · · · Q· · Does that make any sense?· Or maybe I can ask    20· · · · Q· · Okay.· And when you were doing your testing
21· ·it in a different way.· I'll withdraw that question.       21· ·here, you reviewed Mr. Gonsowski's 1977 report, right?
22· ·Does the Kastle-Myer test for the identification of        22· · · · A· · Yes, that is correct.
23· ·blood have a life span to it?                              23· · · · Q· · But you didn't come to any opinions about that
24· · · · · · MS. HAGY:· Objection.· Form, foundation.          24· ·report, right?
25· · · · A· · Do you mean -- can you clarify as to what you    25· · · · A· · Correct.· I solely reviewed his report and
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·1· ·used that information to assist in my decision-making      ·1· ·transcript reading today?
·2· ·process.                                                   ·2· · · · THE WITNESS:· I'm not sure what that means.
·3· · · · Q· · Okay.· But you don't have any assessment of      ·3· · · · MR. HOGUE:· Can we have a moment to discuss?
·4· ·the work that he did or how he did it or what his          ·4· · · · COURT REPORTER:· Yeah.· Do you want to go off
·5· ·conclusions were?· You just read it, but you have no       ·5· ·the record or --
·6· ·opinions about his work, right?                            ·6· · · · MR. HOGUE:· Yes.
·7· · · · A· · Correct.                                         ·7· · · · THE WITNESS:· Yes, please.
·8· · · · Q· · And you had never had the worksheets that        ·8· · · · COURT REPORTER:· Okay.· Going off the record.
·9· ·accompanied his report, right?                             ·9· ·The time is 2:00 p.m.
10· · · · A· · Correct.· Just the report.                       10· · · · · (OFF THE RECORD)
11· · · · Q· · And so since you didn't have the worksheets,     11· · · · COURT REPORTER:· We're back on.· The time is
12· ·you didn't know some of the information that underlied     12· ·2:01 p.m.
13· ·his report, correct, the way that we looked at your        13· · · · THE WITNESS:· I would like to review.
14· ·worksheets here?                                           14· · · · COURT REPORTER:· Okay.· And then before we go,
15· · · · A· · Correct.· Solely the -- solely the findings      15· ·I'll just get orders of the transcript.· Ms. Hagy,
16· ·and results that were present in the report.               16· ·did you need one right now?
17· · · · · · MS. HAGY:· Okay.· So that's all I have.           17· · · · MS. HAGY:· Not yet.· Thank you.
18· · · · · · · · · RECROSS EXAMINATION                         18· · · · COURT REPORTER:· Okay.· For you, Mr. Timbo?
19· ·BY MR. TIMBO:                                              19· · · · MR. TIMBO:· I will hold off right now.· We'll
20· · · · Q· · Okay.· I did have just a couple then from        20· ·let you know.
21· ·that.· So Ms. Yeagle, with respect then to that            21· · · · COURT REPORTER:· Okay.· And then for you,
22· ·Exhibit 3, the underwear of Connie Cooper, you don't       22· ·Mr. Hogue, did you need a copy of the transcript?
23· ·know where Mr. Gonsowski had performed his chemical test   23· · · · MR. HOGUE:· Yes.· I'll go ahead and place an
24· ·to come up with his conclusion in 1977 that he did not     24· ·order, please.
25· ·-- it did not indicate the presence of seminal material?   25· · · · COURT REPORTER:· Okay.· Do you want electronic

                                                     Page 119                                                        Page 121
·1· · · · A· · Correct.· I didn't have his notes to know        ·1· ·or --
·2· ·exactly right the areas tested.· I just had the item of    ·2· · · · MR. HOGUE:· Electronic, please.
·3· ·underwear itself and the markings present.                 ·3· · · · COURT REPORTER:· Electronic.· Okay.· Did you
·4· · · · Q· · Understood.· Okay.· Can you then just explain    ·4· ·need the video at this point?
·5· ·to me then how -- what test do you use to identify where   ·5· · · · MR. HOGUE:· I just want the transcript, please.
·6· ·you wanted to cut out from the underwear?                  ·6· · · · COURT REPORTER:· Okay.· All righty.· Then that
·7· · · · · · MS. HAGY:· Objection.· Form.                      ·7· ·concludes the depo.· We are off the record at
·8· · · · A· · So I utilize first a visual examination.· Then   ·8· ·2:02 p.m.
·9· ·I utilize an alternate light source to look at the item    ·9· · · · · (DEPOSITION CONCLUDED AT 2:02 P.M. (CT))
10· ·of evidence, in this case, the underwear.· Determine any   10
11· ·areas of fluorescence, and that guides me in my areas to   11
12· ·test, so the markings I placed on the underwear.· And      12
13· ·from the alternate life source and the fluorescence,       13
14· ·testing with chemical tests to determine and indicate      14
15· ·any seminal fluid.· And then the area where the one        15
16· ·sperm cell was identified, I cut out the area around       16
17· ·that one, around that location.                            17
18· · · · Q· · Do you know historically what the chemical       18
19· ·testing was that would identify seminal fluid in 1977?     19
20· · · · A· · No, I don't.                                     20
21· · · · Q· · All right.· Then I have no further questions.    21
22· ·Thank you.                                                 22
23· · · · A· · Thank you.                                       23
24· · · · · · COURT REPORTER:· Okay.· Nothing further?          24
25· · · ·Ms. Yeagle, did you want to read or waive the          25
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·1· · · · · · · · · CERTIFICATE OF REPORTER
·2
·3· ·I do hereby certify that the witness in the foregoing
·4· ·transcript was taken on the date, and at the time and
·5· ·place set out on the Title page hereof by me after
·6· ·first being duly sworn to testify the truth, the whole
·7· ·truth, and nothing but the truth; and that the said
·8· ·matter was recorded digitally by me and then reduced to
·9· ·typewritten form under my direction, and constitutes a
10· ·true record of the transcript as taken, all to the best
11· ·of my skills and ability. I certify that I am not a
12· ·relative or employee of either counsel, and that I am
13· ·in no way interested financially, directly or
14· ·indirectly, in this action.
15
16
17
18
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20
21
22· ·EMILIA LOPEZ,
23· ·COURT REPORTER / NOTARY
24· ·COMMISSION EXPIRES ON: 03/16/2026
25· ·SUBMITTED ON: 02/15/2023
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                                       ILLINOIS STATE POLICE
                                       Division of Forensic Services
                                     Morton Forensic Science Laboratory
                                          1810 South Main Street                                                   1
                                        Morton, Illinois 61550-2983
                                  (309) 284-6500 (Voice)* 1-(800) 255-3323 (TDD)
Pat Quinn                                                                                       Hiram Grau
Governor                                       January 17, 2014                                    Director
                                           LABORATORY REPORT

 CRJME SCENE UNIT
 PEORIA PD
 600 SOUTH WEST ADAMS STREET
 PEORIA, IL 61602
                                                                  Laboratory Case #M77-000 197
                                                                  Agency Case # 77-1588

 OFFENSE         Murder
 SUSPECT         Johnnie Lee Savory
 VICTIMS         Connie Cooper/James Robinson

 The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
 Bowers on November 7, 2013:

 EXHIBIT            DESCRIPTION                                  FINDINGS
   IA               Vaginal swabs reported to be from            Not tested at this time. Preserved as Exhibit lAl.
                    Connie Cooper

    15               Light switch cover from bathroom            Blood indicated on two areas of cover. Portions
                                                                 preserved as Exhibits 15A and 15B.

    21               Fingernai l scraping reported to be from    Miscellaneous debris observed on wooden stick.
                     right index finger of Connie Cooper         Portion of stick preserved as Exhibit 2 lA.

    22               Fingernail scraping reported to be from     Miscellaneous debris observed on wooden stick.
                     right ring finger of Connie Cooper          Portion of stick preserved as Exhibit 22A.


 The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
 Bowers on November 8, 2013:

 EX IDBIT            DESCRIPTION                                 FINDINGS
   24                Blood tube reported to be from Connie       Swabbed blood like crusts from top and around
                     Cooper                                      lower edge of stopper of tube. Swabbing
                                                                 preserved as Exhibit 24A.

    26               Blood tube reported to be from James        Swabbed blood like crusts from top and around
                     Robinson                                    lower edge of stopper of tube. Swabbing
                                                                 preserved as Exhibit 26A.




           CONFIDENTIAL -
           PURSUANT TO PROTECTIVE ORDER
           ENTERED IN 17-CV-0204                                               PEORIA_SAVORY 1923
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The fo llowing evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
Bowers on November 7, 20 13:

EXHIBIT           DESCRIPTION                                FINDINGS
  27              Head hair standard reported to be from     Apparent hairs observed through package. Not
                  Connie Cooper                              examined at this time.

   28             Pubic hair standard reported to be from No blood indicated on visible staining on outside
                  Connie Cooper                           and inside bottom seam edge of package.
                                                          Swabbing of brown stain from inside seam edge
                                                          preserved as Exhibit 28A. Apparent hairs
                                                          observed. Portion of apparent hair ends
                                                          preserved as Exhibit 28B.
                                                          May be used as a DNA standard.

   29             Head hair standard reported to be from     Apparent hairs observed. Portion of apparent
                  James Robinson                             hair ends preserved as Exhibit 29A. May be used
                                                             as a DNA standard.
                                                             Apparent fiber observed.

   30             Pubic hair standard reported to be from    Apparent hairs observed through package. No
                  James Robinson                             further exam at this time.

   31             Package reported to contain hair from      No apparent hairs observed on inside of package.
                  Connie Cooper's right hand                 No blood indicated on stain on outside of
                                                             package. One apparent hair observed on outside
                                                             of package. No further exam at this time.

   35             Anal swabs reported to be from Connie Not tested at this time. Swabs and liquid contents
                  Cooper                                preserved as Exhibit 35A.

   36             Vaginal swabs reported to be from          Not tested at this time. Swabs and liquid contents
                  Connie Cooper                              preserved as Exhibit 36A.

  44              Black Normark folding knife reported       Small blood-like stains observed on blade and
                  to be from Johnnie Lee Savory              inside folding portion of knife. Swabbings
                                                             conducted of both areas and preserved as Exhibit
                                                             44A and 44B respectively. No testing conducted
                                                             at this time to preserve sample.

  49              Head hair standard reported to be from     Not exam in ed.
                  Johnnie Lee Savory

  50              Head hair standard reported to be from     Not examined.
                  Johnnie Lee Savory




        CONFIDENTIAL -
        PURSUANT TO PROTECTIVE ORDER
        ENTERED IN 17-CV-0204                                              PEORIA_SAVORY 1924
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EXHIBIT         DESCRIPTION                               FINDINGS
  51            Head hair standard reported to be from    Not examined.
                Johnnie Lee Savory

  52            Head hair standard reported to be from    Not examined.
                Johnnie Lee Savory

  53            Head hair standard reported to be from    Not examined.
                Johnnie Lee Savory

  54            Pubic hair standard reported to be from   Not examined.
                Johnnie Lee Savory

  59            Blue pants                                No blood indicated on areas tested at this time.
                                                          Swabbing from inside waist band of pants
                                                          conducted and preserved as Exhibit 59A.
                                                          Area cut around apparent burn hole and
                                                          preserved as Exhibit 59B.
                                                          Portion of blood-Iike stain from inside right front
                                                          pocket preserved as Exhibit 59C.
                                                          Portion of stained area from inside back of pants
                                                          near tag preserved as Exhibit 59D.
                                                          Portion of material cut out below belt loop next
                                                          to right front pocket (possible prior testing area)
                                                          preserved as Exhibit 59E.
                                                          Apparent hairs, fibers and miscellaneous debris
                                                          collected.

  69            Package reported to contain hair from     No apparent hairs observed on inside of package.
                James Robinson's left hand

  84            Blood tube reported to be from Johnnie Not examined.
                Lee Savory

  85            Blood tube reported to be from Johnnie Not examined.
                Lee Savory

  88            Mustache hair standard reported to be     Not examined.
                from William Douglas

  89            Head hair standard reported to be from    Not examined.
                William Douglas

  90            Head hair standard reported to be from    Not examined.
                William Douglas




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       PURSUANT TO PROTECTIVE ORDER
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EXHIBIT            DESCRIPTION                                FINDINGS
   91              Head hair standard reported to be from     Not examined.
                   W illiam Douglas

   92              Head hair standard reported to be from     Not examined.
                   William Douglas

   93              Head hair standard reported to be from     Apparent hairs observed. Portion of apparent
                   William Douglas                            hair ends preserved as Exhibit 93A. May be used
                                                              as a DNA standard.

   94              Pubic hair standard reported to be from    Not examined.
                   William Douglas

   95              Head hair standard reported to be from     Not examined.
                   Noyalee Robinson

   96              Head hair standard reported to be from     Apparent hairs observed. Portion of apparent
                   Noyalee Robinson                           hair ends preserved as Exhibit 96A. May be used
                                                              as a DNA standard.

   97              Head hair standard reported to be from     Not examined.
                   Noyalee Robinson

   98              Head hair standard reported to be from      Apparent hairs observed. Portion of apparent
                   Noyalee Robinson                            hair ends preserved and combined with Exhibit
                                                               96A. May be used as a DNA standard.

   99              Head hair standard reported to be from     Not examined.
                   Noyalee Robinson

   100             Pubic hair standard reported to be from     Apparent hairs observed through package. Not
                   Noyalee Robinson                            examined at this time.

   110             Buccal standard from Johnnie Lee SavoryPreserved.


REQUESTS:
Exhibits I Al , 21A, 22A, 35A, 36A, 44A, 44B, 59A, 59B, 59D and 59E will need to be consumed in DNA
analysis due to limited sample size.

Please note that some items have not been examined at this time. If, at a later date, it is determined that the
value of this evidence can significantly aid the case, please advise.




        CONFIDENTIAL -
        PURSUANT TO PROTECTIVE ORDER
        ENTERED IN 17-CV-0204                                                PEORIA_SAVORY 1926
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REQUESTS: (continued)
For results of previous biological examinations, refer to the laboratory reports by Forensic Scientists
Robert Gonsowski and Judith Kienzler.

Microscopy evidence (apparent hairs, fiber, debris) was observed and collected in this case.

EVIDENCE DISPOSITION:
Exhibits I Al , 15A, 15B, 21A, 22A, 24A, 26A, 28A, 28B, 29A, 35A, 36A, 44A, 44B, 59A, 59B, 59C,
59D, 59E, 93A, 96A and 110 have been transferred to the DNA section of the Morton Forensic Science
Laboratory for further analysis and may be the subject of a separate report.

The evidence will be returned to your agency at a later date.

lf you have any questions regarding this report, please feel free to contact me.

Any analysis conducted is accredited under the laboratory's ISO/IEC 17025 accreditation issued by
ANSI-ASQ National Accreditation Board/FQS. Refer to certificate #AT-1700 and associated Scope of
Accreditation.

                                                                Respectfully submitted,



                                                                Ann Maria Yeagle
                                                                Forensic Scientist

cc: PEORIA CO SA
    Joshua A. Tepfer-Center on Wrongful Convictions of Youth




          CONFIDENTIAL -
          PURSUANT TO PROTECTIVE ORDER
          ENTERED IN 17-CV-0204                                             PEORIA_SAVORY 1927
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                                              ILLINOIS STATE POLICE
                                            Division of Forensic Services                                                2
                                            Forensic Sciences Command
                                         Morton Forensic Science Laboratory

Exhibit I Item                  1A            Date Examined          12/17/2013 Case#                        M77-197

Description of Package and Markings:
Small BPB sld clear tape "SB 10-22-13 AMY"
            on BPB "Swab from Connie Cooper Labeled 1A"
contains:
plastic tube w/ blue lid contains glass vial with white et seal "RFG"
unwound seal tape, opened glass vial, contains 2 swabs
            both swabs covered in It brown stain and part of stick
            -1/2 of each swab tip appeared to have been previously removed.
            both remaining swab tips into 1 SET
            SET into zl pl into man env sld BET 12-17-13 AMY as 1A1.


            no testing at this time to preserve sample. (Previous report - semen indicated, no sperm id'd)


            As submitted




            Swabs




Turned over to DNA:                         Repackaging:                           Seal Date:                Analyst:
            1A1                             orig bpb sld BET                       12/17/2013
                                                                                                                         AMY--Pt
                                                                                                 Revision Date (01/13)



                                                                                          SDT-BOI 000945
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                                                ILLINOIS STATE POLICE
                                              Division of Forensic Services
                                              Forensic Sciences Command
                                           Morton Forensic Science Laboratory

Exhibit / Item                    15             Date Examined          12/16/2013 Case#                       M77-197

Description of Package and Markings:
 man env sld clear tape " ... #982 10-22-13... "
 "Light switch cover from bathroom ex 17" on env
Envelope opened to observe
             env sealed with brown tape "RFG" also ''WTJ", circuit clerk stamp on env, env recv'd sliced open
             on env "Light switch cover from bathroom 15 1-18-77 . ,. "         people's exhibit label #17
             contains a light switch plate cover and 2 screws
             cover ~41/2" X ~ 2 3/4" "RFG 1/25ITT" top left as oriented
             on plate 2 people's exhibit labels on top of each other, on top #17A, below #15A
             Back side, vis dirty/ grimy.
             Cover is light beige, very dirty vis. Has 2 screw holes and switch opening.
             On front surface 2 large areas of It to med RBS, 1 smaller area near initials "RFG"
             Qifficult.to_visualize_any_un_stained_area.blc_otdirt.and_stains
             Small It RBS by RFG markings at top not tested A TT


                     ..,-··-
                                                                                                   back side no testing



    Front
   before
  testing/
 swabbing




Turned over to ONA:                            Repackaging:                          Seal Date:                Analyst:
                                                                                                   continued on next pg     AMY1Jt,
                                                                                                   Revision Date (01 /13)



                                                                                             SDT-BOI 000946
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                                                 ILLINOIS STATE POLICE
                                             Division of Forensic Services
                                             Forensic Sciences Command
                                         Morton Forensic Science Laboratory

Exhibit/ Item                15 cont.         Date Examined          12/16/2013 Case#                          M77-197

Description of Package and Markings:


Q1 - stain upper on front and smooth side. Lt to med RBS ~1.3cm X -2.5cm removed ~1/2 of stain - smooth side of stain
           moist fine tip swab removed ~0.6cm X ~2.5cm of stain on smooth side
           swab air dried. Remaining stain intact on cover
           Q1 = 15A 1 swabbing into 1 SET into zl pl into man env sld BET 12-17-13 AMY


Q2 - stain towards middle of plate, on and around switch hole. Stain It to med RBS, thin stain.
           ~1.4cm X ~1.8cm from middle of stain swabbed off
           entire stain ~2cm X ~4cm, more than half of stain remains on cover.
           moist fine tipped swab - air dried.
           Q2 = 15B 1 swabbing into 1 SET into zl pl into man env sld BET 12-17-13 AMY
           After swabbings                                                                        .KM'------------
                                                                                                  Q1 = pos
                                                                                                  Q2 = pos
                                                                                                  blank= neg
                                                                                                  known blood = pos




           "" did not swab for touch DNA.


Turned over to DNA:                         Repackaging:                           Seal Date:                  Analyst:
15A, 158                                    orig man env sld BET                   12/17/2013
                                                                                                                          AM~

                                                                                                  Revision Date (01/13)



                                                                                          SDT-BOI 000947
.   . .. . ..
          '
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                                                                                                          3
                                         ILLINOIS STATE POLICE
                                         Division of Forensic Services
                                       Morton Forensic Science Laboratory
                                            1810 South Main Street
                                          Morton, Illinois 61550-2983
                                    (309) 284-6500 (Voice)• 1-(800) 255-3323 (TDD)
    Pat Quinn                                                                             Hiram Grau
    Governor                                   March 20, 2014                               Director
                                            LABO RATORY REPORT
     CRIME SCENE UNIT
     PEORIA PD
     600 SOUTH WEST ADAMS STREET
     PEORIA IL 61602
                                                                   Laboratory Case #M77-000197
                                                                   Agency Case #77-1588

     OFFENSE:      Murder
     SUSPECT:      Johnnie Lee Savory
     VICTIMS:      Connie Cooper/James Robinson

     The following evidence was submitted to the Morton Forensic Science_L~tb..oratory_b~Officer_S_cott
     Bowers on November 7, 2013:

     EXHIBIT           DESCRIPTION
       lAl             Vaginal swabs from Connie Cooper
        ]AJA           Extracted DNA from vaginal swabs
        15A            Swabbing from stain on edge of light switch cover (blood indicated)
        15Al           Extracted DNA from edge of light switch cover
        158            Swabbing from stain near center of light switch cover (blood indicated)
        21A            Fingernail scraping from Connie Cooper
        21Al           Extracted DNA from fingernail scraping
        22A            Fingernail scraping from Connie Cooper
        22Al           Extracted DNA from fingernail scraping

     The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
     Bowers on November 8, 2013:

     EXHIBIT           DESCRIPTION
       26A             Swabbing from top and sides of lavender blood tube stopper from James Robinson

     The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
     Bowers on November 7, 2013:

     EXHIBIT           DESCRIPTION
        288            Apparent root ends from pubic hair standard of Connie Cooper
        2881           Extracted DNA from pubic hair standard of Connie Cooper
        29A            Apparent root ends from head hair standard of James Robinson
        29Al           Extracted DNA from hair standard of James Robinson
        44A            Swabbing from sharp edge of knife blade



                                                                                     SDT-BOI 000480
                                                                                                              J
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Laboratory Case #M77-000J 97                        -2-                                      March 20, 2014


EXHIBIT            DESCRIPTION
   44Al            Extracted DNA from swabbing from sharp edge of knife blade
   44B             Swabbing from inside of folding handle of knife
   44B1            Extracted DNA from swabbing from inside folding handle of knife
   59A             Swabbing from inside waistband of blue pants
   59AI            Extracted DNA from swabbing of inside waistband
   59B             Portion of blue pants from around apparent bum hole on pants leg
   59B1            Extracted DNA from portion of pants leg around apparent bum hole
   59C             Portion of blood-like stain from inside right front pocket
   59Cl            Extracted DNA from portion of stain inside right front pocket
   59D             Portion of pants from inside back by tag
   59Dl            Extracted DNA from stain inside back of pants by tag
   59E             Portion of pants from apparent prior testing area below belt loop
   59El            Extracted DNA from area on pants below belt loop
   93A             Apparent root ends from head hair standard of William "Peter11 Douglas
   93Al            Extracted DNA from hair standard of William "Peter" Douglas
   96A             Apparent root ends from head hair standard ofNoyalee Robinson
   96A-1           Extracted-DNA-from-hairstandard-ofNoyalee-Rubinson-
   110             Buccal swab standard from Johnnie Lee Savory
   JJOA            Extracted DNA from buccal standard of Johnnie Lee Savory


RESULTS
DNA from Exhibits 15B, 26A, 28B, 93A, 96A and 110 was amplified using the Polymerase Chain
Reaction (PCR) and profiled at the loci listed on the attached table.

A mixture of human DNA profiles was identified in Exhibit 15B at the D8Sl 179, D3S1358, D19S433,
vWA and Amelogenin loci that was interpreted as a mixture of at least two people. This mixed profile is
potentially incomplete and unsuitable for comparison to known standards. It is not suitable for entry into
the DNA Index.

A mixture of human DNA profiles was identified in Exhibit 26A that has been interpreted as a mixture of
at least three people. This mixed profile is not suitable for use as a DNA standard.

DNA profiles were identified in Exhibit 110; in Exhibit 28B at the D8Sl 179, D21S11, D3S1358, TH0l,
DI3S317, D16S539, Dl9S433, vWA, TPOX, Dl8S51, D5S818, FGA and Amelogenin loci; in Exhibit
93A at the D8S1179, D21S11, D3S1358, TH0l, D13S317, DJ6S539, D19S433, vWA, TPOX, D5S818,
FGA and Amelogenin loci; and in Exhibit 96A at the D8S1179, D21S11 1 D7S820, CSFlPO, D3S1358,
TH0l, D13S317, D16S539, Dl9S433, vWA, TPOX, D18851, D5S818, FGA and Amelogenin loci. These
profiles were not used for comparisons at this time.

DNA was extracted from Exhibits lAl, ISA, 21A, 22A, 29A, 44A, 44B, 59A, 59B, 59C, 59D and 59E,
but not profiled. Quantitative PCR indicates these samples should be directed for Y-STR and Minifiler
analysis.




                                                                             SDT-BOI 000481
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Laboratory Case #M77-000197                           -3-                                      March 20, 2014


RESULTS (continued)
Exhibits lAlA, 15Al, 21Al, 22Al, 28B1, 29Al, 44Al, 4481, 59Al, 5981, 59CI, 59D1, 59El, 93AI,
96A 1 and 11 0A will be forwarded to the Research and Development Laboratory for further analysis and
will be the subject of a separate report.

See the attached table for a summary of observed alleles.

Additional exhibits were received in this case, but were not analyzed.

REQUESTS
For results of previous biological examinations, refer to my laboratory report dated January 17, 2014 and
to the laboratory reports by Forensic Scientists Robert Gonsowski and Judith Kienzler.

EVIDENCE DISPOSITION
Please note that Exhibits 1A 1, 15A, 15B, 21 A, 22A, 26A, 288, 29A, 44A, 44B, 59A, 598, 59C, 59D,
59E, 93A and 96A were consumed in analysis. Sample remains in Exhibits 15, 28, 29, 59, 93 and 96 for
further testing if needed.

The evidence will be available for return at a later date.

If you have any questions regarding this report, please feel free to contact me.

Any analysis conducted is accredited under the laboratory1s 1SO/IEC 17025 accreditation issued by
ANSI-ASQ National Accreditation 8oard/FQS. Refer to certificate #AT-1700 and associated Scope of
Accreditation.

                                                                  Respectfully submitted,

                                                                   t2ML&/cltl!1 {Pfz_9!(__,
                                                                  Ann Maria Yeagle
                                                                  Forensic Scientist
                                                                                            O lj
Attachment (s)

cc: Joshua A. Tepfer-Center on Wrongful Convictions of Youth /
    PEORIA CO SA ✓




                                                                                SDT-BOI 000482
                                                              1:23-cv-01184-CRL-JEH # 318-9                             Filed: 04/22/24              Page 46 of 199
                                                                                   Summary of DNA ID+ Analytical Results
                                                                                               M77-000197                            -fl,                              ..
                                                                                          Exhibit Attachment                        :'71   I
                                                                                                                                                                       ,
                        Sub 15B                  Sub26A                  Sub 28B                Sub 93A               Sub 96A         l        Exb 110
                        Swabbing from slain
                        near center of light
                        switch cover (blood
                                                Swabbing from top
                                                and sides oflavendcr
                                                blood tube stopper
                                                                        ~ppan:nt root ends
                                                                        ..rom head hair
                                                                        standard of Connie
                                                                                                ~ pparcnt root ends
                                                                                                lrrom head hair
                                                                                                standard of William
                                                                                                                      from head hair
                                                                                                                      standard ofNoyal
                                                                                                                                       L
                                                                                                                      f\ppan:nt root end        Buccal swab standard
                                                                                                                                               lrrom Johnnie Lee
                                                                                                                                               Savory
                         ndicnted)               rom James Robinson     toopcr                  ~Peter" Douglas       Robinson

 D8S1179                13,14         13,14,15,16    13,15                                      12,16                 14,15                    13,14
 D21S11                 ND            29,30,3 I      29,30                                      t28,32.2              29,30                    !28,32.2
 D7S820                 ND            10             ND                                         ND                    6,10                     I 0, 11
 CSFIPO                 ND            12             ND                                         ND                    10                       8,12
 D3S1358                14,16,18      14,15,16,17,18 16                                         15,17                 16,18                    16,17
 TH0l                   ND            5,7,8,9        7,9                                        8,9.3                 6,9                      7,8
 D13S317                ND            9,12,13        13                                         13                    12,13                    12
D16S539                 ND            10,11, 12      9, 11                                      9                     9,11                     11
D2S1338                 ND            16,17          ND                                         ND                    ND                       23
D19S433                 11,13,14.2,15 11,13,14.2,15 13,15                                       12.2,13               14.2,15                  12,12.2
:vWA                    17            17,18,19       14,15                                      16,17                 14,17                    15,19
TPOX                    ND            8,9            8,9                                        8                     8,9                      8
D18S51                  ND            13,15          14                                         ND                    15,20                    14,22
Amelogenin              IX,Y                    X,Y                      X                      X,Y                   X                        X,Y
D5S818                  ND                      11,13                   11,13                   11,13                 13                       8,13
FGA                     ND                      21,22,23                21                      19,22                 121,24                   25,27                        I
NT = Not Tested ND = Not Detected
This is a summary of the observed alleles only. Interpretations are made: according to established guidelines.
                                                                                                                                       I
 SDT-BOI 000483
                         1:23-cv-01184-CRL-JEH # 318-9                               Filed: 04/22/24              Page 47 of 199
     . l.,
                                                       ILLINOIS STATE POLICE
                                                          Division of Forensic Services
                                                          Forensic Sciences Command

                                                                DNA Cover Sheet
                       Technical Review                                                                              Case#           M-=, 7- I q-=,-
               By ____~-6"'-....:...·. r - --                                                                        Analyst_.:..;A:MJ~11-/_ _ __

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             Date ---=-.....;;;~  ~I -
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                                                                                                          Laura Gahn, Ph.D., D-ABC
                                                                                                                  Director of Operations
                                                                                                                     Laboratory Director

                                                                                                                  13988 Dtplomat Drive
                                                                                                                                                ~Cellmark
                                                                                                                                                ~ FORENSICS
                                                                                                                                Suite 100       -----~~1;;..;,;;i,;i,;,j~
                                                                                                                        Dallas, TX 7S234
                                                                                                                   Direct: 214-271•8406
                                                                                                                      Fax: 214-271-8322
                                                                                                              Laura.Gahn@labcorp.com




                                                  Pipettes
                        Size         Extraction     Amp          Phenol              Post
                          2                       372145                           358525
                          10           342998     307263                           349368
                         20            355991     349369
                         100           343002     349371                           307267
                         200           343005                                      349375
                        1000           349376                    343008            343007



                                3130
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                                                  2 ul neat/ 198 ul water
                                       1:1000 =   2ul1:100/18ulwater          or
                                                  2 ul 1:10 / 198 ul water
                                           Exceptions_will be !!_O!,!!d;....
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Total# Pages
                          124 ·~
                                                                                                                     SDT-BOI 000484
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  Ex to R&D I
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                                                                                                                       total male

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                     1A1 F1
                        F2
                                              Resol vol remaining

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                                                                                                                                    Attorney Josh Tepfer
                                                                                                                                    before analysis if can't do

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   ---r--
           1-21 ORB 3 F2       50
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                                       1:23-cv-01184-CRL-JEH # 318-9                                        Filed: 04/22/24                Page 49 of 199
( t           I I




                                                                                            EVH Appendix 8

                                                              Receipt of Analysis Observed During Laboratory Visit
                                                                         1
                          The following analysis was observed when _ ____.r__a
                                                                             _ v_,..,_~_ 6__,_7..ec..;....
                                                                                                     t /_n , _ .___________
                                                                                                    (name of the expert)

                          visited the __\'-\....,\..:::C'""'"(_t.:..=-'-
                                                                  l: \ 1..:...__ _Laboratory on             1-21-14            in order to review materials relating
                                           (location of lab)                                                   (date)
                                                                                                            I- 22-11.f
                         to                 1- -
                                     \"\ '":+      \C\}
                                            (case name and number)


                                     Anal sis Observed                          Time                                Anal st

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                             10.



                                          L a u C"- 6a I, 11 '
                                                     (name of expert)
                                                                                                do hereby acknowledge that the above listed


                        analysis were observed and results obtained whe n I visited the                                /1t7t ~
                                                                                                                              (location of lab)

                        Laboratory on /-2-f, ft.-f                  W /-2 "">-1J
                                        (date)                                                                ~



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                                                     The ma!erials contained ,n 1h1s documenl ore pro!ected under federal law and may not be disseminated
                                                     or reproduced w1thou1 the express written permission of !he Illinois Slate Police

                                                                                                                                             SDT-BOI 000486
                     1:23-cv-01184-CRL-JEH # 318-9                    Filed: 04/22/24         Page 50 of 199
T" f'   t l


                                             ILLINOIS STATE POLICE                                    CASE#          M77-179
                                          DIVISION OF FORENSIC SERVICES
                                        FORENSIC SCIENCES COMMAND                                     INITIALS       AMY~
                                    MORTON FORENSIC SCIENCE LABORATORY
                                                                                                                         (7-f:IA
                                                                                                      DATE           01-vr-2014


                                                CONVERSATION RECORD

         Date/Time                Individual/Agency                      Notes                                Initials

         1-15-14
         Call from Josh Tepfer

         Moving forward with DNA analysis, expert from Cellmark will be observing DNA testing.
         Still on schedule for January 21 for start - yes.
         Will only be watching consumptive testing of questioned stains to decrease time expert needs to be present, ok.
         Please be aware that additional amplifications in Y-STRs or mini STRs would be done at a different time and place, to be
         arranged later if needed, this is just for Autosomal ID+ processing. Ok.
         Jennifer Smith is not available.
         Laura Gahn from Orchid Cellmark will be doing observation.

         Ok, will process IAI, vaginal swabs, 21A and 22A fingernail scrapings, 44A and 448 from knife and 59A, 8, D and E from
         pants..At..this..time.deferring...wet,.putrid-vaginal-and-anal-swabs. These-can-be-done later-:-Most-likely-will·not-yield-any -
         information. I will process I SA and B from light switch cover and 59C from pants on my own since ample sample remains for
         retesting. Standards will be processed on my own after this testing.

         We will need CV from Laura Gahn, and she will need to contact me to schedule observation and time to meet at lab to begin~~

        I - I 5-14 call from Laura Gahn,
        She sent Tepfer her CV. Offered her DNA profile, I said not needed at this time.
        She asked for SOPs. Please have Tepfer request.
        Meeting at lab 1-21-14 at 8:30am to begin differential testing of !Al. Day 2 will extract non-diffs and quant. Day 3 hopefully
        amping and running, She hopes to be available Friday morning if needed before flying out.
        Gave her my cellphone number for off hours contact~




                                                                                                                                       1/99
                                                                                                SDT-BOI 000487
                   1:23-cv-01184-CRL-JEH # 318-9           Filed: 04/22/24    Page 51 of 199      Page 1 of2
   I   >


                Fwd: Next week
              , Joshua A Tepfer
                to:
                ann_yeagle@isp.state.il. us
                01/15/2014 03:31 PM
                Hide Details
                From: Joshua A Tepfer <j-tepfer@ law.northwestem.edu>
                To: "ann_yeagle@isp.state.il.us" <ann_yeagle@isp.state.il.us>,

2 Attachments

       ~
2013 Gahn.pdf ATTOOOOl.htm              •             _             rr -
Ann _        4 CV in b \·\'\cler (l;t~•cts) 1n D\~1\- ~ c.e ~
                                             (\2 Pjpt
Please go ahead and contact Laura if this is sufficient. She is aware of the plan as you laid it out to me.

Thanks,
Josh

Sent from my iPhone

Begin forwarded message:

           From: "Gahn, Laura" <Laura.Gahn@LabCorp.com>
           Date: January 15, 2014 at 2:29:25 PM MST
           To: Joshua A Tepfer <j-tepfer(a)law.northwestern.edu>
           Subject: RE: Next week

           Josh,

           Attached is my CV. Please confirm your permission to speak with Ann Yeagle regarding
           this case. My contact information is listed below. Additionally, while travelling I can be
           reached through my Blackberry via email laura.gahn@.labcorp.com or phone number 214-
           548-7776.


           Laura Gahn, Ph.D., D-ABC
           Director of Operations
           Laboratory Director
           Cellmark Forensics
           13988 Diplomat Drive, Suite I 00
           Dallas, TX 75234
           214.271.8406
           800. 752.2774 toll free
           laura.gahnfa.Uabcorp.com


           ..---Original Message-----



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                  1:23-cv-01184-CRL-JEH # 318-9          Filed: 04/22/24    Page 52 of 199       Page 2 of2
  I I



        From: Gahn, Laura
        Sent: Wednesday, January 15, 2014 8:37 AM
        To: 'Joshua A Tepfer'
        Subject: RE: Next week

        Joshua,

        Here is the form to be completed. It is not necessary to have the exact dates figured out in
        order to complete the form; however if there is a maximum number of days you want to
        "authorize" feel free to do so on the form or via email.

        Laura Gahn, Ph.D., D-ABC
        Director of Operations
        Laboratory Director
        Cellmark Forensics
        13988 Diplomat Drive, Suite I 00
        Dallas, TX 75234
        214.271.8406
        800. 752.2774 toll free
        laura.gahn@labcor:p.com
                                                                                       - - - -- -
        -----Original Message-----
        From: Joshua A Tepfer [mailto:j-tepfer@law.northwestem.edu]
        Sent: Tuesday, January 14, 2014 9:13 PM
        To: Gahn, Laura; Lankford, Deanna; Smith, Jennifer
        Subject: Next week

        I know we have gone back and forth and I apologize, but we have reconsidered our desire to
        have our own agent at the johnnie lee savory testing at the Morton crime lab. Specifically
        we now desire to have you present for any consumption testing.

        Laura or Deanna - would you happen to still have availability next week? Testing is
        scheduled to commence Tuesday.

        My apologies for writing this on my phone but I'm traveling and my laptop isn't functioning
        well.

        Josh

        Sent from my iPhone
        -This e-mail and any attachments may contain CONFIDENTIAL information, including
        PROTECTED HEALTH INFORMATION. If you are not the intended recipient, any use or
        disclosure of this information is STRICTLY PROHIBITED; you are requested to delete this
        e-mail and any attachments, notify the sender immediately, and notify the LabCorp Privacy
        Officer at privacyofficer(@,labcorp.com or call {877) 23-HIPAA / {877) 234-4722.




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                             RE: SOPs to Laura Gahn
                             Joshua A Tepfer
                             to:
                             Ann_Yeagle@isp.state.il.us
                             01/17/2014 08:22 AM
                             Hide Details
                             From: Joshua A Tepfer <j-tepfer@law.northwestem.edu>
                             To: "Ann_Yeagle@isp.state.il.us11 <Ann_Yeagle@isp.state.il.us>t

                             History: This message has been replied to.
          Great, thanks. I believe Laura's ticket is booked and things should be pretty much all set.

          It is Noyalee (no "N").

          Best,
          Josh

          From: Ann_Yeagle@isp.state.ll.us (mailto:Ann Yeagle@isp.state.il.us]
          Sent: Friday, January 17, 2014 7:39 AM
          To: Joshua A Tepfer
          Subject: Re: SOPs to Laura Gahn

          Thank you, I have a copy of our procedure's manual on disk for her.
          Also, one question as I am proofing my biology report, Is it Noyalee Robinson or Noyaleen Robinson. I preserved
          a portion of her hair standard for use as a DNA standard and need to properly report her name.
          Thank you for your help,

          Ann Yeagle
          Forensic Scientist Ill
          Illinois State Police, Morton Crime Lab
          309-284-6500
          fax: 309-284-6504
          yeaglea@isp.state.il.us




          From.   Joshua A Tepfer <Hepfer@law.northwestem.edu>
          To    "ann yeagle@isp.state.il.us" <ann yeagle@isp,sta1e.il us>,
          Date          01/1612014 08:20 AM
          Subject.        SOPs to Laura Gahn




          Ann -

          Laura Gahn told me that you have requested that I authorized you providing her with your SOPS, which I believe stands for
          Standard Operating Procedures. If I have that correct, yes, you may send them directly to her.

          Thanks,
          Josh

          Joshua A. Tepfer



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           1:23-cv-01184-CRL-JEH # 318-9               Filed: 04/22/24   Page 54 of 199




               Fw: Post Conviction testing case M77-197
               Ann Yeagle to: William Frank                                        01/16/2014 12:04 PM

resending thanks.

Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state.il.us
-    Forwarded by Ann Yeagle/llStPolice on 01/16/201412:04 PM-

From:           Ann Yeagle/llStPolice
To:             William Frank/llStPolice@IIStPollce,
Date:           01/15/2014 05:32 PM
Subject:        Post Conviction testing case M77-197

Hi Bill,
Laura Gahn from Orchid Cellmark is coming in next week to watch me do some consumptive testing on
this case. I hope to quant my samples Wednesday the 23rd. Will you be around if I have any questions
about-possibly-doing-minis-on-some of my-samples-versus-amping-in-autosomal-or-doing-both or
considering Y-STRs? I have fingernail scrapings from the female victim and vaginal swabs (semen
indicated) as well as some small blood stains that I will be extracting.

Thanks in advance,

Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state.il.us




                                                                           SDT-BOI 000491
          1:23-cv-01184-CRL-JEH # 318-9                Filed: 04/22/24      Page 55 of 199




               attached is the forensic biology report
     _j        Ann Yeagle to: j-tepfer, gbrady                                        01/17/2014 03:30 PM
               Cc: Cari Sandberg




Bio report 1-17-14 AMY.pdf
Please forward this report to Judge Kouri and any other individuals needing copies.
Also, please note that the Body swabs from Connie Cooper are discussed in this report.

Next week, January 21, 2014 Laura Gahn from Cetlmark will be in to observe my consumptive testing in
this case.

Samples to be tested and consumed next week include:
1A 1 - vaginal swabs from Connie Cooper
21A and 22A- fingernail scrapings from Connie Cooper
44A and 448 - swabbings from knife
59A, - swabbing from waist band of pants
59B - cutting from apparent burn hole in pants leg
590 - portion of stain from inside back of pants
59E - cutting from below belt loop previously tested

Exhibits 35A and 36A wilt be deferred at this time. (Putrid vaginal and anal swabs)

If you have any questions please let me know,
Thank you,
Ann Yeagle
Forensic Scientist 111
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state.il.us




                                                                              SDT-BOI 000492
                 1:23-cv-01184-CRL-JEH # 318-9                  Filed: 04/22/24       Page 56 of 199       Page I of I


             RE: attached is the forensic biology report
             Joshua A Tepfer
             to:
             Jerry Brady, 'Ann_Yeagle@isp.state.il.us'
             01/20/2014 11 :28 AM
             Cc:
             "Cari_Sandberg@isp.state.il.us"
             Hide Details
             From: Joshua A Tepfer <j-tepfer@law.northwestem.edu>
             To: Jerry Brady <gbrady@peoriacounty.org>, "'Ann_ Yeagle@isp.state.il.us"'
             <Ann_ Yeagle@isp.state.il.us>,
             Cc: "Cari_Sandberg@isp.state. iI.us" <Cari_Sandberg@isp.state. iI. us>
             History: This message has been replied to.
I can do it. I'll copy you on the letter I send him.

Thanks,
Josh

From: Jerry Brady [gbrady@peoriacounty.org]
Sent: Monday, January 20, 2014 11:22 AM
To: 'Ann_Yeagle@isp.state.il.us'; Joshua A Tepfer
Cc: can_Sandberg@lsp.state.ll.us
Subject: RE: attached Is the forensic biology report

Josh, Do you intend to forward to Judge Kouri or do you wish for me to forward?

From: Ann_Yeagle@lsp.state.ll.us (mailto:Ann Yeagle@lsp.state.il.us]
Sent: Friday, January 17, 2014 3:31 PM
To: j-tepfer@law.northwestern.edu; Jerry Brady
Cc: can_Sandberg@isp.state.ll.us
Subject: attached Is the forensic biology report

Please forward this report to Judge Kouri and any other individuals needing copies.
Also, please note that the Body swabs from Connie Cooper are discussed in this report.

Next week, January 21, 2014 Laura Gahn from Cellmark will be in to observe my consumptive testing in this case.

Samples to be tested and consumed next week include:
1A 1 - vaginal swabs from Connie Cooper
21A and 22A- fingernail scrapings from Connie Cooper
44A and 448 - swabbings from knife
59A, - swabbing from waist band of pants
598 - cutting from apparent bum hole in pants leg
59D - portion of stain from inside back of pants
59E - cutting from below belt loop previously tested

Exhibits 35A and 36A will be deferred at this time. (Putrid vaginal and anal swabs)

If you have any questions please let me know,
Thank you,
Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaqlea@isp.state.il.us

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                   M77-197 question ASAP
                   Ann Yeagle to: William Frank                                    01/22/2014 02:10 PM


    In
Rt 1-22-14.xls

all are in 50 ul

Should I dry down and requant?

Should anything be amped. I think not in ID+. This is a 40 year old case.
Help please call me thanks,

Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state.il.us




                                                                             SDT-BOI 000494
             1:23-cv-01184-CRL-JEH # 318-9                       Filed: 04/22/24          Page 58 of 199


                                      ILLINOIS STATE POLICE                                      CASE#           M77-197
                                   DIVISION OF FORENSIC SERVICES
                                FORENSIC SCIENCES COMMAND                                        INITIALS        AMY'Pv
                            MORTON FORENSIC SCIENCE LABORATORY
                                                                                                 DATE


                                        CONVERSATION RECORD

Dateffime                 Individual/Agency                        Notes                                  Initials

M77-197 1-22-14
Called William Frank to discuss quant data from this case and how he would recommend proceeding and to discuss future
testing possibilities. Laura Gahn from Cellmark also present for conversation.
Sent Bill quant data in an email so he could see it first hand.

Discussed samples and that I did a Maxwell extraction due tot he nature of the samples. Maxwell samples eluted in 50ul, this
is the volume we normally see the best DNA recovery. I also did a differential extraction also resol'd in 50ul. I quanted in
duplicate 2ul per well. Std curve worked.

Seeing inhibition and also some low level results.
These are all questioned samples.

  e wenttnroughalt ofthesamples one oy one, d1scussmg prior '1)1ology resuhsand prooahve value ofevrdence and wliat
would be the best analysis path. It will be a long shot, but bill is willing to try the analysis as the Judge has ordered it tested.
Will need to verify Consumption is ok with all of the items going to Bill for Y's and or mini's. Bill agreed that he would do
both Ys and Minifiler testing there. He would like to wait for Y23 as it will have a better chance of yielding something than
the current kit.

Exhibits 21A and 22A are fingernail scrapings from the victim Connie Cooper. She had broken fingernails. I examined the
orange sticks and their was apparent debris obs'd, but I didn't see any blood like staining. No prior testing was done.
Both have slight elevation oflPC, so could be inhibition. Sample also most likely degraded due to age and nature of sample.
Would it be better to try in Y's? Hadn't discussed Ys with attorney or judge yet, really wanting mini results. They are really
looking for information that might point to assailant and possible CODIS entry. We also discussed that Ys could be very
informative and compare to William Peter Douglas and Johnnie Lee Savory. Bill recommends to clean up sample then amp in
Ys. Will have to discuss with Attorney. Could try minis but Ys have a better chance.

Exhibits 44A and 44B are swabbings from pocket knife. Pocket knife was recovered from Suspect: Johnnie Lee Savory (in
his back pack I believe). Proposed to be murder weapon. I never got a good answer if the stab holes were consistent with the
knife (small). Prior testing Robert Gonsowski indicated blood on the knife. I observed a very small blood like stain on blade
(Exhibit 44A) and swabbed inside the handle (reddish brown stains, very small Exhibit 44B). Both passed on to Bill.
Exhibit 44A, better chance, visible blood like stain. Slightly elevated IPC, 30.14. Clean up sample and amp all in Minifiler.
Defer 44B at this time, more likely stain on blade was blood. Exhibit 448 may have just been dirty.

Exhibit 59A swabbing from inside waistband of pants to determine wearers DNA. Police claimed pants belonged to Johnnie
Lee Savory and were worn when he stabbed and killed both victims. Johnnie Lee states the pants were his fathers, YT Savory.
So, very important to determine whose DNA on waistband. Quant • non- reproducible human reading. Apprehensive about
mixtures and Minis do not do well with mixtures. Hoping the problem with quant is fragment size. Will send for Minis.

Prior testing of pants, "Chemical and serological testing of this item indicated the presence of Group A, human blood."
Exhibit 598 Apparent Bum hole area
Exhibit 59C Blood like stain from right front pocket (Current KM was negative, but visually consistent under stereo scope)
Exhibit 59D Portion of stained area from inside back of pants
Exhibit 59E Cutting from area believed to be tested by Gonsowski
All 4 of these areas have elevated IPC readings and ND on quant.
Discussed clean up then amp in minis. Send for Minifiler analysis. Look at Exhibits and see if anything else can be done.




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                                                                                                                      P. 2t2. <
Exhibit ISA and I5B- 2 blood indicated stains from light switch cover
IPCs in both are fairly elevated.
15A human reading only 0.00Sng/ ul, no male detected. - preserve for minifiler
15B Non reproducible human reading, but male reading is reproducible. Male is ~0.4ng total DNA in 46ul.
                                                                                                                                 1t
Amp ISB in ID+. Will consume - ok. Dry down and amp, try it. Won't be cleaning it up before amp, ok.

IAI Vaginal swabs from Victim - Connie Cooper
Extracted and quanted Fl, F2 and F3
Elevated IPCs in Fl, F2 and F3 are in normal range. No male detected. Human DNA detected in all 3 fractions, Could be due
to degradation.
Original biology screening indicated seminal fluid on the swabs, but no sperm were identified.
Extracted both swabs.
At first look Bill would not recommend Y testing. But, probative value was discussed, could give information to case if male
DNA is found. Compare to standards in case.
For doing Ys would need to wait a while for Y23 to come on board. The Y23 system has 2 more rapidly mutating loci and is a
more sensitive kit, it could give better information for the smaller fragment range. It has more of a chance to get more loci
since it targets a smaller range, but doesn't have great diversity at 2 of those 4 loci. It could be a few months before he would
be able to do this, waiting on the commodities.
But, Bill would be willing to do both the Y testing and Minifiler testing on this case.
Laura wants to see all fractions tried in Ys and Minifiler.

I will dry down and amp Exhibit 15B, consuming all of the extracted DNA.

LauraJs_goingJo_che.ck_with ..herJab_abot!J their clean up_l!l~!h.Q.q~. She thinks they use the Zymo columns and get a fairly
good recovery after clean up. We will also look at Data in the morning to see results from 15B.


1-22-14
PM
Talked with Laura Gahn before she left for Day.
Cellmark uses Zymo columns from Epigenetics for clean up and have seen74-100% recovery.
She is ok with Bill doing or her lab doing, but that would be up to Judge and attorneys.
She is thinking clean up and minis, I amp for each. Vaginal swabs looking at Ys and minis.

These would all be consumptive tests. Really needing autosomal information.

No touch DNA on light switch cover at this time. No processing of putrid vaginal and rectal swabs from Connie Cooper.
No touch DNA on the knife at this time. Possible analysis if victims DNA is found on knife blade.
Will run on CE tomorrow.

1-23-14
Spoke with Laura Gahn
She had spoken with Josh Tepfer - vaginal swabs could give information to case, William Peter Douglas was Stepfather of
Connie Cooper. Question exists ifhe was sexually assaulting her? He was a potential suspect discussed early on in the
investigation of this murder.

Before William Frank moves on with analysis, he will need permission to do this consumptive testing and clear direction on if
Ys are requested or not.

1-23-14 PM
Showed EPGs to Laura Gahn when she returned to the lab.
I 5B is a partial profile, mixture, low level Too low for comparisons to known standards, potentially incomplete at the loci I
have information at, will send 15A on for minifiler testing.

Wait for official word from Josh Tepfer, but want to move forward with Bill doing the testing. Please extract standards and

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            1:23-cv-01184-CRL-JEH # 318-9                    Filed: 04/22/24         Page 60 of 199


                                    ILLINOIS STATE POLICE                                   CASE#          M77-l97
                                 DIVISION OF FORENSIC SERVICES
                              FORENSIC SCIENCES COMMAND                                      INITIALS      AMY ;I~
                          MORTON FORENSIC SCIENCE LABORATORY
                                                                                            DATE


                                      CONVERSATION RECORD

Dateffime                Individual/Agency                      Notes                               Initials

M77-197
Call from Josh Tepfer
1-29-14 ~11:30am
called to check on progress and if I could issue a summary of some kind with recommendations about proceeding with
analysis. We discussed all of the findings so far.
Discussed 15B that I amped and that I don't think it is interpretable, too low and probably inconclusive, but I am waiting to
hear back from Bill Frank about the samples '"d future procmi"~




                                                                                       SDT-BOI 000497
                        1:23-cv-01184-CRL-JEH # 318-9               Filed: 04/22/24        Page 61 of 199




                            Re: more questions about M77-197 before proceeding
                            Ann Yeagle to: William Frank                                             01/30/2014 12:04 PM

           Thanks, I will call Laura and then go ahead with extracting more of the stain from the pants pocket as you
           have described below. This will end up being a multi tube extraction, most likely 6 to 10 tubes into 1.
           Should I combine all into 1 tube through microcon before quant or would you recommend keeping them
           separate? I normally would combine and quant as one, but I wanted to double check. Also, I will do this
           extraction by itself, should I still do 4 blanks or could I decrease this to 2 or 3 final blank tubes for this
           extraction.

           Also, I should know tomorrow or early next week if I have a good profile for William "Peter" Douglas, I am
           currently extracting his hair standard. Would you recommend any modifications to the extraction
           procedure with these hairs? I have done 2 overnights per the procedure. I have not yet done the PCI/CI
           clean up this morning.

           Thank you so much for the guidance.

           Ann Yeagle
           Forensic Scientist Ill
           Illinois State Police, Morton Crime Lab
           309-284-6500
-----1fF...dX:-3Q9:284~65Q.t-- - - - - - - - - -
                             1


           yeaglea@iSp.State.il.US

                 William Frank         Comments/discussion noted below in blue font. ...           01/30/2014 10 49:40 AM

           From:             William Frank/llStPolice
           To:               Ann Yeagle/llStPolice@IIStPolice,
           Date:             01/30/2014 10:49 AM
           Subject:          Re: more questions about M77-197 before proceeding

           Comments/discussion noted below in blue font.         wef


           Bill,
           Sorry this is a long email. but I just wanted to get your opinion/ approval for doing further
           testing on the items in M77-l 97, since you would probably be doing the mini's and possibly the
           Ys if they decide to move forward with Y testing. This is the case I sent you the quant data for
           and we discussed on the phone with Laura Gahn from Orchid Cellmark. This post conviction
           testing was court ordered. I used the prior biology screening results as a guide to move forward
           with collection of DNA evidence.

          Laura would like to see further analysis done on all of the samples either in Ys or mini ' s.
          Whether this be by ISP, or by her lab, of course that is a big added expense and would need be
          re-addressed by court order since the original court order states the work will be done by ISP.
          (This point will need to be confirmed prior to ISP moving forward with the samples as
          consumption will be necessary in most instances.) I just wanted to give you back ground on the
          items and verify that you would be willing to try these items for them before I agree to move
          forward or discuss further with the attorneys or judge. I have a feeling there will be a lot of
          discussions before moving forward with more amps.




                                                                                            SDT-BOI 000498
                      1:23-cv-01184-CRL-JEH # 318-9              Filed: 04/22/24     Page 62 of 199




            I am extracting the hair standards this week to see if I can get profiles for all of the individuals
            potentially involved and have those extracts available for typing in the additional systems if
            needed. (We will need to confirm that all relevant/probative standards are available before
            proceeding with mini-STR/Y-STR analysis. The samples will at least need to have been
            quantified by qPCR to demonstrate that we can obtain profilc/ haplotypc results.)

            All samples were quanted 2ul in duplicate out of the 50ul resol volume)
            ISA and 158 and JAi fractions were the only samples that had a positive quant result. and you
            have those results already.

            Potential Y analysis
            IAl Vaginal swabs from victim Connie Cooper
            21 A and 22A - Fingernail scrapings from victim Connie Cooper

         Request for further typing in mini's
         15A blood indicated swab from light switch cover from bathroom
         44A and B swabbings from knife
         59A - waistband swabbing
_ _ _ ___,9B~tained.area..around-burn.hole-on leg
         59C - portion of inside right front pocket (visually blood like)
         59D - portion of stained area from inside back of pants
         59E - cutting from below belt loop and above rt front pocket

             Importance of items and history
             IAI - Vaginal swabs from female victim - Connie Cooper
            originally Semen indicated. No spem1 Id'd. Differential extraction on 2 swabs. Fl, F2 and F3
            Quant data shows increased IPC value for the F 1, but F2 and F3 appear ok to me.
            No male DNA was identified. (Quanted 2ul in duplicate of a 50ul resol volume).
            This could be very inforn1ative if they are willing to do Ys if any male DNA is present and can
            be amp'd. I know you had mentioned possibly waiting for Y23.
            Defendant says his DNA should not be on her. Also an initial suspect in the case was William
            Douglas, I think he was her step father. It is proposed that he may have been sexually assaulting
            her, this was a prior defense theory. (Will this standard be available as well?)- yes -ua
            Laura Gahn had requested we do mini's on this exhibit if Ys are not done.
            I believe Ys could be more informative. (Given the MTFR value I would expect from this
            sample Y-STR analysis is probably the best choice given the resolution we see with the
            miniFiler assay)
            21A and 22A - Fingernail scrapings from victim Connie Cooper
            She did have defensive wounds and was believed to have fought back. At autopsy they scraped
            under two of her fingernails and kept separate. These were not examined back in 1977, but I was
            able to look at them under the stereoscope, l did see apparent debris, but I did not do any testing
            to preserve sample.
            Defendant states there would be no reason for his DNA to be under her fingernails.
            Ys could be informative if any male is present and just to degraded to be showing up on quant.
            I am wondering if Y23 would be a better option for this as well? (Also dependent on the MTFR
            value. We did obtain resolution from a fingernail scraping samples using mini-STRs on another

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•   i   ..
         extremely old case - but in general these samples are best suited for Y-STRs with mini-STRs
         being a better fit for more degraded single source samples)

         Moving on to mini's
          15A - swabbing from light switch cover in bathroom. It is believed that the assailant would have
         cleaned up after in this bathroom and possibly cut them self in the stabbing.
         I ran 158 in ID+. I was able to get information at 4 loci and Amelogenin. But, it looks like at
         least two people and its all below Stochastic Threshold. So, I don't think I am going to be able to
         make any comparisons to known standards.
         Would you try mini's on 15A to see ifit is a better stain, possibly single source or at least
         interpretable? Hoping to find assailants DNA.

        44A and B
        stained areas from the folding knife recovered from the suspect, possible murder weapon.
        Suspect claims knife was his fathers and that his father had used the knife to remove stiches from
        his own hand, so source of blood is important. Original biology screening said blood indicated
        on knife, but insufficient for further testing. I saw blood like staining on the edge of the blade
        and on the inside of the knife. Both areas were swabbed separately. I am wondering if they could
        be-combined-for-amp,-I-have-plenty-of..elean~blank-available:--(1 -would-keep-the-samples· separat- - - - -
        as pooling them may also create a mixture) Would you be willing to try mini's on these? It
        would be very informative to see if the blood is consistent with the father of the suspect or
        anyone else in the case. It could link the knife to the crime, or possibly back up the defense
        theory. So, is it victim blood on the knife? (yes we could try a mini-STR amp)

        59 Pants thought to have been worn by suspect at time of assault.
        Defense theory is that the pants belonged to the suspects father and that the blood on the pants
        was from his father(cut on hand with stitches). Prosecution proposed that pants were worn when
        crime was committed and blood is from victim Connie Cooper. (Blood was reported as Type A)
        59A is from waistband, swabbed for wearers DNA
        - unsure where blood testing was originally conducted.
        598 stain from front of pants with apparent bum hole
        59C stain from inside rt front pocket. Plenty of stain remains. I am wondering if I should go back

        large stain on the inside of the jeans pocket. What do you think? (I would go back and extract a
        larger portion; keeping the cutting size at approximately 5mn/ per tube, using the SDSIP'aseK ~0
                                                                                                           iJ
        and extract a larger portion of this stain o/n organic and see if I get better results. There is a very


        extraction procedure and extracting the samples overnight. In the morning prior to purification
        add a second volume of P'aseK to each tube and incubate for approx 4 hours prior to purification.
        After a PCI purification proceed to a CI purification step prior to isolating the sample using a
        microcon filter.) This stain was visually the best blood like stain, but I couldn't get it to come up
        positive with KM. Just not sure if it is worth trying. But, I am leaning towards trying it. (I would
        proceed with the sample. At this point the peroxidase activity in the stain may be completely
        degraded wh ile DNA in the sample may be at least partially intact.)The only problem is that I
        started the hairs for DNA standards extracting last night, so I would be re-extracting the Q stain
        after I have started extracting the standards. What do you think? (I would proceed with the
        extrarction; first following all clean technique procedure to make your work area ready for
        extraction of the unknowns. As you have a defense expert involved in this case I would call



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Laura, explain that you have started the standards and what steps you are planning prior to
extracting the unknowns. Having a second analyst at MFSL extract the unkowns would be
another possibility .)

59D stain from inside back of pants
59E portion of fabric under area that appears to have been previously tested. I did not see any
visual stain. But, was hoping there was residual stain I couldn't see.
So, basically would you be willing to try these in Minis and/ or Ys?

Also, do you agree I should go back and try re-extracting the large stain from the pants pocket
59C? I really think it is worth a shot and plenty of stain remains, I could try extracting half the
stained area, I had previously extracted ~0.8cm X ~0.5cm piece and it looked heavily coated in
stain. I could go back and do 2 or three times that amount and still leave ½ of stain for retesting
if needed. (Yes and follow the extraction protocol as described above for 59C.)

Also additional stain remains on Exhibit 15, but it is approximately half of the stain, so I don't
necessarily think it will improve results to go back and consume the sample, using same amount
again, (also might mean having the expert come back to watch the consumptive extraction).
(Hold-on-this.sample.until-we..see.how..the.second-extraction.performs-for-the--other-two-samples.)

Thanks for your help with this Bill, I just wanted to make sure what I can tell the attorneys and
how best to move forward. I know this all is a long shot, but I would really like to try and get
some more inforn1ation from this evidence. The attorneys and judge do understand the
limitations, but are very interested in exhausting all options to try and get answers. Thanks so
much for the help.



William Frank
DNA Research Coordinator/Technical Leader
Illinois State Police
Research & Development Laboratory
2060 Hill Meadows Drive
Springfield, IL 62702

phone: 217-785-8186
fax:    217-557-3989

   LIVESTRONG



  Ann Yeagle            Bill, Sorry this is a long email. but ! just wanted L         01/29/2014 10:35:21 AM




                                                                                 SDT-BOI 000501
             1:23-cv-01184-CRL-JEH # 318-9                    Filed: 04/22/24         Page 65 of 199
.   .
                                      ILLINOIS STATE POLICE                                   CASE#            M77-197
                                   DIVISION OF FORENSIC SERVICES
                                FORENSIC SCIENCES COMMAND                                     INITIALS
                                                                                                               AMY~
                            MORTON FORENSIC SCIENCE LA BORATORY
                                                                                              DATE


                                         CONVERSATION RECORD

Dateffime                  Individual/Agency                     Notes                                  Initials

1-30-2014
[ called to speak with Laura Gahn from Cellmark
We discussed the idea of extracting more stain from the pocket of the pants.
The blood like stain in the pocket is large. l can go back and extract more of it. l will do an overnight extraction with an
additional ProK addition and incubation, then PCI followed by Cl clean up.
This procedure was recommended by SWTL William Frank.
I have already started the extraction of the apparent hair roots from the hair standards from people in the case. Are you ok
with me doing this Question stain extraction even though I have started working with the apparent hairs?
Yes, she is ok with my going back and doing this processing.
Different time and place for extractions, they are separate.

Still plenty, more than half of stain remains in pocket to be re extracted by someone else if needed.

She agrees it's a good idea to try it.

She also advised in future I can contact Jennifer Smith or her for case questions. She just stepped in for Jennifer for the
obmvation. Bui, is always more lhan willing lo lalk aboul !he ease and help in any way,




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                                                                                        SDT-BOI 000502
                        1:23-cv-01184-CRL-JEH # 318-9                  Filed: 04/22/24       Page 66 of 199
•   ..   •   'I




                             Re: more questions about M77-197 before proceeding ~
                             Ann Yeagle to: William Frank                                               02/04/201411 :13 AM


             Hi Bill, sorry about the confusion, I don't think I was clear enough with my question.
             We have a little confusion here about blanks and what is considered an extraction set.

             When setting up an extraction, it is not often that we only extract 1 sample, but it does happen. The
             procedures manual is a little unclear when it comes to this situation. do we just need 1 Rb for this Q
             extraction?

             Scenario
             Exhibit
             M14-13 #1 (in 1 extraction tube) only item being extracted. Do we only need 1 blank tube or must we do 4
             RBs?

             under the same type of scenario
             M14-13 #2 only item being extracted (in 5 extraction tubes to be brought into 1) do we need just 1 final
             blank or 4 final blanks

             Extraction work sheet set up example:
             M14-13 #2 5 tubes into 1 (20ul final volume)

             RB-1 5 tubes into 1 (20ul final volume) so only 1 RB for the extraction
             or
             RB-1 5 tubes into 1 (20ul final volume)
             RB-2 5 tubes into 1 (20ul final volume)
             RB-3 5 tubes into 1 (20ul final volume)
             RB-4 5 tubes into 1 (20ul final volume) end up with 4 RBs from the extraction.

             I hope this clarifies this question, i understand the Q and RB must be treated the same with the same
             stringency, but I was trying to find out if 1 Exhibit is considered an "extraction set"? Or would 1 Exhibit with
             multiple tubes be considered an extraction set? Or is an extraction set more than 1 exhibit?
             Thanks for the clarification. I was hoping in this case since I am going back to extract just one exhibit to
             decrease the number of total tube manipulations. Since it will be Exhibit 59C, 10 tubes extracted and into
             1 tube in 20ul. For my RBs can I do just an RB1, this would be RB 1 (10 tubes into 1 in 20ul)? this way I
             would remove 30 extra tubes worth of manipulations for unneccesary blanks.

             Thanks for the clarification.

             •• Side note, I was able to get good quants for 3 of the 4 hair standards I extracted on this case. And the
             fourth was very low, maybe enough for minis. But, 1do have 1 more sample I can try as a standard for this
             male victim before relying on minis for the profile.
             I plan to try an amp of -2ng for 288, 93A and 96A and see my results then decide if I need to do any
             additional amps. The samples do not look inhibited at this stage.




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~ M77-197 288                      Duo HumEn     Unk     29,32     29.43          2.068       1.922
            Victim Connie                                29.56     29.64
~                                   DuolPC       Unk
  BS               C.              Duo Mele      Unk     Undet

-J!L M77-197 288
  BS                               DuoHumEn
                                    DuolPC
                                                 Unk
                                                 Unk
                                                         29.53
                                                         29.72
                                                                   29.43
                                                                   29.64
                                                                                  1.777       1.922

  BS                               Duo Mele      Unk     Undet
JL M77-197 29A                     DuoHumEn      Unk     38.23    37.92           0,004       0.005

- 87
  B7
           Victim James R.          DuolPC
                                   Duo Mele
                                   DuoHumEn
                                                 Unk
                                                 Unk
                                                 Unk
                                                         29.64
                                                         37.93
                                                         37.60
                                                                  29.69
                                                                  37.61
                                                                  37.92
                                                                                  0.007
                                                                                  0.006
                                                                                              0.009
                                                                                              0.005
                                                                                                                In - 16ul

                                                                                                                -0.075 ng human
~
                                                                                                                -0.143 ng male
~ M77-197 29A                       DuolPC       Unk     29.73    29.69
    BB                             Duo Mele      Unk     37.30    37.61           0.011       0.009
~             M77-197 93A          DuoHumEn      Unk     31.09    31.09           0.588       0.588
            possible Suspect                                      29.56
-   89
    BS
            \l\lllliam Dougals
                                    DuolPC
                                   Duo Mele
                                                 Unk
                                                 Unk
                                                         29.60
                                                         30.49    30.42           1.196       1259
_§1Q_                              Duo Hum111    Unk     31.09    31.09           0.588       0.588
            M77-197 93A             DuolPC       Unk     29.52    29,56
~
 810                                Duo Mele     Unk     30.34    30.42           1.321       1.259

---
 811
Jfil_
      tv'l77=197·9oA-
         mother of
           victims
                                 - ouo·Huma,-
                                    DuolPC
                                                - un~
                                                 Unk
                                                        -91:32- --91--:16
                                                         29.51    29.42
                                                                                  0~497-      0.564·

 811                                Duo Mele     Unk     Undet
...fill_                           Du0Hum111      Unk    30.99    31.16           0.632       0.564
            M77-197 96A                           Unk    29.34    29.42
-812
 812
                                    DuolPC
                                    Duo Mele      Unk    Undet
~ M77-197 SRB-1                    Du0Hum111      Unk    Undet
~                                   DuolPC        Unk    29.80    29.82
      HAIR
    C1                              Duo Mele      Unk    Undet
....£L M77-197 SRB-1               Du0Hum111      Unk    Undet

-   C2
    C2
                  HAIR              DuolPC
                                    Duo Mele
                                                  Unk
                                                  Unk
                                                         29.B3
                                                         Undet
                                                                  29.82


Thanks for all of your help,

Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeag1ea@isp.state.il.us

     William Frank                  If you are focusing 10 - 500 ul aliquots of extract...       01/30/2014 04:18:01 PM

From:                   William Frank/llStPolice
To:                     Ann Yeagle/llStPolice@IIStPollce,
Date:                   01/30/2014 04:18 PM
Subject:                Re: more questions about M77-197 before proceeding

If you are focusing 10 - 500 ul aliquots of extraction reagents into a single unknown you will need to treat
the reagent blank which tracks that sample in the same. way. The reasoning for this is that if you have




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                                                   SDT-BOI 000505
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                 RE: Savory [j
                 Ann Yeagle to: Joshua A Tepfer                                           02/10/2014 09:43 AM

The fingernail scrapings were the other samples that were best suited for Y-STR testing, other than the
non putrid vaginal swabs.

William believes it would be best to do both of these samples in Y-STRs first and see what information is
obtained if you all will agree to that. Minis are much better suited to single source samples. And in all three
of these samples we expect the majority of the DNA to be female and the Y testing will eliminate the
female from the possible mixture of DNA.

I need to finish my analysis and get the standard profiles before anything can be sent to William Frank.

He will also need verification when the samples are sent to him that it is ok for him to do this consumptive
testing.

Otherwise, once I am done the samples will be ready for his testing.

Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284::6500-
fax: 309-284-6504
yeaglea@isp.state.il.us

      Joshua A Tepfer      Okay. Thanks. Hope you are feeling better. So, j ...         02/10/2014 09:33:50 AM
From:            Joshua A Tepfer <j-tepfer@law.northwestern.edu>
To:              "Ann_Yeagle@lsp.state.il.us" <Ann_Yeagle@isp.state.ll.us>,
Cc:              Steven A Drizin <s-drizin@law.northwestem.edu>, Laura H Nirider
                 <l-nirider@law.northwestern.edu>
Date:            02/10/2014 09:33 AM
Subject:         RE: Savory


Okay. Thanks. Hope you are feeling better.

So, just to make sure I understand completely, the only final answer you need on the question of Y-STR
v. minifiler is on the "non-putrid" vaginal swab? Is that correct?

I believe you told me last time we spoke that you believed you could take a portion of the vaginal swab
and try for minifiler, and leave enough intact that it would not affect your ability to do Y-STR on the
remaining portion. Is that correct?

Is there any other decision we need to make in the interim before William Frank is able to get started?

Josh

From: Ann_Yeagle@lsp.state.il.us [maflto:Ann_Yeagle@fsp.state.il.us]
Sent: Monday, February 10, 2014 9:27 AM
To: Joshua A Tepfer
Subject: Re: Savory




                                                                                   SDT-BOI 000506
               1:23-cv-01184-CRL-JEH # 318-9                            Filed: 04/22/24   Page 70 of 199




Hi Josh,
I have had a few delays on my part. I have been sick and then I was off most of last week with sick kids
and weather issues, sorry.
Today I am extracting the stain from the pants pocket, using a different protocol that will hopefully help
DNA recovery. I spoke to Laura about this and she agreed with the plan.

I did obtain DNA from the hair standards of Connie Cooper, William Douglas and Noyalee Robinson I will
amplify them and see how full of a profile I can obtain. The hair standard from James Robinson did not
yield sufficient DNA for me to amplify from the hairs. So, I will need to extract the swab from his blood tube
to see if I can get a usable profile from it.

I should have information for you by the end of this week.

William Frank is also willing to try the Y analysis and/ or mini STR testing of the samples based on your
decision and the judges orders as well as how these standards work. I need to have standard profiles for
him before he can move forward with his testing. But, he has agreed to do the testing.

Please feel free to call or email if you need additional information or clarification. 1apologize for the delay.
This has been a tough winter.
But, I should have good information for you by Friday.
Ann Yeage
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state. ii. us




From:        Joshua A Tepfer <j-tepfer@law.northwestem.edu>
To:        "ann yeagle@isp.state.ll.us" <ann yeaqle@isp.state.ll.us>,
Date:       02/10/2014 08:54 AM
Subject:       Savory




Hi Ann-

Just checking In to see where we are at.

Thanks,
Josh


Joshua A. Tepfer
Clinlcal Assistant Professor
Center on Wrongful Convictions of Youth
Northwestern University School of Law




                                                                                           SDT-BOI 000507
                    1:23-cv-01184-CRL-JEH # 318-9                 Filed: 04/22/24       Page 71 of 199         Page 1 of 3
..
                 RE: Savory
                 Joshua A Tepfer
                 to:
                 Ann_Yeagle@isp.state.il.us
                 02/10/2014 04:12 PM
                 Cc:
                 Steven A Drizin, Laura H Nirider
                 Hide Details
                 From: Joshua A Tepfer <j-tepfer@law.northwestem.edu>
                 To: "Ann_ Yeagle@isp.state.il.us" <Ann_Yeagle@isp.state.il.us>,
                 Cc: Steven A Drizin <s-drizin@law.northwestem.edu>, Laura H Nirider <1-
                 nirider@law.northwestem.edu>
                 History: This message has been replied to.
     Okay, let's circle back when you complete all the standards and it is in Mr. Frank's hands. But as long as some
     sample can be left for minifiler for both the non-putrid vaginal and the fingernail scrapings, I think we are fine
     with doing the Y-STR first If that is not the case, I may need to talk to my client to give the final go-ahead for Y-
     STR testing.

     The Judge set a status conference for the 18th, so I will try and update him on that day. So maybe we can talk
     Monday the 17th so I know exactly where we are at for all of this going into the hearing on the 18th .

     Thanks,
     Josh

     From: Ann_Yeagle@isp.state.il.us [mailto:Ann Yeaqle@isp.state.il.us]
     Sent: Monday, February 10, 2014 9:43 AM
     To: Joshua A Tepfer
     Subject: RE: Savory

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     Ann Yeagle
     Forensic Scientist Ill
     Illinois State Police, Morton Crime Lab
     309-284-6500
     fax: 309-284-6504
     veaglea@isp.state.ii. us



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From:   Joshua A Tepfer <j-tepfer@law.northweslem.edu>
To    "Ann Yeagle@lsp state.ii us" <Ann Yeagte@lsp.state.ll.us>,
Cc        Steven A Drizin <s-drizin@law.northweslem.edu>, Laura H Nlrider <l-nlrider@law.northweslem.edu>
Date       02/1012014 09:33 AM
Subject       RE: Savory




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Josh

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Sent: Monday, February 10, 2014 9:27 AM
To: Joshua A Tepfer
Subject: Re: Savory

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But, I should have good information for you by Friday.
Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state.il.us



f r0111     Joshua A Tepfer <i-tepfer@law.northwestem.edu>
To        ·ann yeagle@lsp.state.il.us• <ann yeagle@isp.state.il.us>,




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   ..
Date       02/1012014 08:54 AM
Subject:     Savory




HI Ann-


Just checking in to see where we are at.


Thanks,
Josh


Joshua A. Tepfer
Clinical Assistant Professor
Center on Wrongful Convictions of Youth
Northwestern University School of Law
37S E. Chicago Ave., 8th Floor
Chicago, IL 60611
Telephone: (312) S03-6298
Fax: (312) 503-8977
www.cwcy.org

(JC]~




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            Savory
            Joshua A Tepfer
            to:
            ann_yeagle@isp.state.il.us
            02/17/2014 10:45 AM
            Hide Details
            From: Joshua A Tepfer <j-tepfer@law.northwestem.edu>
            To: "ann_yeagle@isp.state.il.us" <ann_yeagle@isp.state.il. us>,

Hi Ann --

I left you a message at your office. I'm going to avoid trying your cell phone until this afternoon.

I'm at home today due to weather. If you have the chance to give me an update, please call me at 773-575-
4424.

Thanks,
Josh




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                 RE: Savory [j
                Ann Yeagle to: Joshua A Tepfer                                            02/18/2014 09:30 AM

Thank you, I will get my work completed and get this report to you as soon as possible. I will pass this
court date information on to William Frank at the Research and Development Laboratory in Springfield.
If you have any further questions, please let me know.

Ann Yeagle
Forensic Scientist JII
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state.il.us

      Joshua A Tepfer      Hi Ann - I just got off the phone with the Judge....         02/18/2014 09:26:39 AM
From:            Joshua A Tepfer <j-tepfer@law.northwestem.edu>
To:              "Ann_Yeagle@lsp.state.il.us" <Ann_Yeagle@isp.state.ll.us>,
Date:            02/18/2014 09:26 AM
Subject:         RE: Savory

           ------------------------------ - ----
Hi Ann-

I just got off the phone with the Judge. Upon my representation that you believed it was the next
appropriate step, no one objected to transferring the evidence to Springfield after you completed your
testing. The Judge set the next court date/status for 3/17/14. Please feel free to pass that along to Mr.
Frank.

I will look for your subsequent report.

Thank you,
Josh

From: Ann_Yeagle@isp.state.ll.us [mailto:Ann_Yeagle@lsp.state.il.us]
Sent: Monday, February 10, 2014 4:21 PM
To: Joshua A Tepfer
Subject: RE: Savory

That sounds good. I should be in the office on the 17th, if I am out, please feel free to call me on my Cell
Phone 309-642-9610 and I can give you a full update.
Thank you for your patience.

Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaqlea@isp.state.il.us




                                                                                   SDT-BOI 000512
              1:23-cv-01184-CRL-JEH # 318-9                        Filed: 04/22/24         Page 76 of 199




From:       Joshua A Tepfer <j-tepfer@law.northwestem.edu>
To~       "Ann Yeagle@isp.state.il.us" <Ann Yeagle@isp.state.il.us>,
Cc:       Steven A Drizin <s-drizln@law.northwestem.edu>, Laura H Nlrlder <l-nirider@law.northwestern.edu>
Date:       02/10/2014 04:12 PM
Subject       RE: Savory




Okay, let's circle back when you complete all the standards and it is in Mr. Frank's hands. But as long as some
sample can be left for minifiler for both the non-putrid vaginal and the fingernail scrapings, I think we are fine with
doing the Y•STR first. If that is not the case, I may need to talk to my client to give the final go-ahead for Y-STR
testing.


The Judge set a status conference for the 18"', so I will try and update him on that day. So maybe we can talk
Monday the 17~ so I know exactly where we are at for all of this going into the hearing on the 18"'.

Thanks,
Josh

From: Ann Yeagle@isp.state.ll.us [mailto:Ann Yeaqle@isp.state.il.us]
Sent: Monday, February 10, 2014 9:43 AM
To: Joshua A Tepfer
Subject: RE: Savory

The fingernail scrapings were the other samples that were best suited for Y-STR testing, other than the
non putrid vaginal swabs.

William believes it would be best to do both of these samples in Y-STRs first and see what information is
obtained if you all will agree to that. Minis are much better suited to single source samples. And in ail three
of these samples we expect the majority of the DNA to be female and the Y testing will eliminate the
female from the possible mixture of DNA.

I need to finish my analysis and get the standard profiles before anything can be sent to William Frank.

He will also need verification when the samples are sent to him that it is ok for him to do this consumptive
testing.

Otherwise, once I am done the samples will be ready for his testing.

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fax: 309-284-6504
yeaglea@isp. state.ii.us




                                                                                             SDT-BOI 000513
                1:23-cv-01184-CRL-JEH # 318-9                       Filed: 04/22/24         Page 77 of 199



From:        Joshua A Tepfer <i-tepfer@law.northwestern.edu>
To:        "Ann Yeagle@lsp.state.il.us" <Ann Yeagle@lsp.state.il.us>,
Cc:        Steven A Drizin <s-drizln@law.northwestem.edu>, Laura H Nirider <l-nirider@law.northwestem.edu>
Date:        02/10/2014 09:33 AM
Subject:       RE: Savory




Okay. Thanks. Hope you are feeling better.

So, just to make sure I understand completely, the only final answer you need on the question of Y-STR v. minifiler
Is on the "non-putrid" vaginal swab? Is that correct?

I believe you told me last time we spoke that you believed you could take a portion of the vaginal swab and try for
minlfiler, and leave enough Intact that it would not affect your ability to do Y-STR on the remaining portion. Is that
correct?

Is there an other decisio..n..w.e.needJo_makeJnJheJnterim.befoi:e..William.f:rank.is..ablato_get..started,_,.__ _ _ _ _ _ _ __

Josh

From: Ann Yeaqle@iso.state.il.us [mailto:Ann Yeagle@lso.state.il.us]
Sent: Monday, February 10, 2014 9:27 AM
To: Joshua A Tepfer
Subject: Re: Savory

Hi Josh,
I have had a few delays on my part. I have been sick and then I was off most of last week with sick kids
and weather issues, sorry.
Today I am extracting the stain from the pants pocket, using a different protocol that will hopefully help
DNA recovery. I spoke to Laura about this and she agreed with the plan.

I did obtain DNA from the hair standards of Connie Cooper, William Douglas and Noyalee Robinson I will
amplify them and see how full of a profile I can obtain. The hair standard from James Robinson did not
yield sufficient DNA for me to amplify from the hairs. So, I will need to extract the swab from his blood tube
to see if I can get a usable profile from it.

I should have information for you by the end of this week.

William Frank is also willing to try the Y analysis and/ or mini STR testing of the samples based on your
decision and the judges orders as well as how these standards work. I need to have standard profiles for
him before he can move forward with his testing. But, he has agreed to do the testing.

Please feel free to call or email if you need additional information or clarification. I apologize for the delay.
This has been a tough winter.
But, I should have good information for you by Friday.
Ann Yeagle
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500




                                                                                              SDT-BOI 000514
                1:23-cv-01184-CRL-JEH # 318-9                           Filed: 04/22/24   Page 78 of 199



fax: 309-284-6504
yeaglea@isp.state.il. us



From:         Joshua A Tepfer <j-tepfer@law.northwestem.edu>
To:        "ann yeagle@isp.state.il.us" <ann yeagle@isp.state.il.us>,
Date:        02/10/2014 08:54 AM
Subject:       Savory




Hi Ann-

Just checking in to see where we are at.

Thanks,
Josh

Joshua A. Tepfer
Clinical Assistant Professor
Center on Wrongful Convictions of Youth
Northwestern University School of Law
375 E. Chicago Ave., 8th Floor
Chicago, IL 60611
Telephone: (312) 503-6298
Fax: (312) 503-8977
www.cwcy.org
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                                                                                           SDT-BOI 000515
                                 1:23-cv-01184-CRL-JEH # 318-9                     Filed: 04/22/24   Page 79 of 199
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                              RE: Savory
                              Joshua A Tepfer
                              to:
                              Ann_Yeagle@isp.state.il.us
                              02/18/2014 01:53 PM
                              Cc:
                              "Cari_Sandberg@isp.state.il.us 11
                              Hide Details
                              From: Joshua A Tepfer <j-tepfer@law.northwestem.edu>
                              To: "Ann_Yeagle@isp.state.il.us" <Ann_Yeagle@isp.state.il.us>,
                              Cc: "Cari_Sandberg@isp.state.il.us" <Cari_Sandberg@isp.state.il.us>
        I'm so sorry to hear of this sudden loss. It was thoughtful of you to alert me. Please take care.

        Warm Regards,
        Josh

        From: Ann_Yeagle@lsp.state.fl.us [mailto:Ann Yeagle@isp.state.il.us]
        Sent: Tuesday, February 18, 2014 1:37 PM
        To: Joshua A Tepfer
        Cc: Cari_Sandberg@isp.state.il.us
        Subject: RE: Savory

        Good afternoon,
        I just had an unexpected death in the family and need to leave work today. I am sorry this will delay me getting
        things tied up as quickly as we discussed earlier. I hope to be back in the office later this week, but it could be
        next week. so, it may be an extra week to get my portion completed and then mailed to William Frank.

        If you have any questions or need further updates, my supervisor Cari Sandberg will be in the office all week.

        Ann Yeagle
        Forensic Scientist Ill
        Illinois State Police, Morton Crime Lab
        309-284-6500
        fax: 309-284-6504
        yeaglea@isp. state.ii.us




        From            Joshua A Tepfer <j-lepfer@law.northwestem.edu>
        To·           "Ann Yeagle@isp.state.il.us• <Ann Yeagle@isp.state.il.us>,
        Date            02/18/2014 09:26 AM
        Subject.          RE: Savory




        Hi Ann-


        I just got off the phone with the Judge. Upon my representation that you believed it was the next appropriate step, no one
        objected to transferring the evidence to Springfield after you completed your testing. The Judge set the next court
        date/status for 3/17/14. Please feel free to pass that along to Mr. Frank.

        I will look for your subsequent report.
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                         1:23-cv-01184-CRL-JEH # 318-9                     Filed: 04/22/24   Page 80 of 199    p~
         ..
                     RE: Savory
                     Joshua A Tepfer
                     to:
                     Ann_ Yeagle@isp.state.il.us
                     03/03/2014 02:11 PM
                     Cc:
                     "Cari_Sandberg@isp.state.il.us"
                     Hide Details
                     From: Joshua A Tepfer <j-tepfer@law.northwestem.edu>
                     To: "Ann_Yeagle@isp.state.il.us" <Ann_Yeagle@isp.state.il.us>,
                     Cc: 11 Cari_Sandberg@isp.state.il.us11 <Cari_Sandberg@isp.state.il.us>
                     History: This message has been replied to.
    Hello -

    Ann, again, I express my condolences and I wish you and your family the best.

    In the hopes I am not being insensitive, I did, however, want to inquire on the Savory matter to check in to see if
    there is an additional report and/or if the evidence has been transferred to Mr. Frank. Just to let you know, the
    judge asked to move up the next court hearing to 3/14/14.

-   :rhank-you,          - -- ---- -
    Josh

    From: Ann_Yeagle@isp.state.il.us [mailto:Ann Yeagle@isp.state.il.us]
    Sent: Tuesday, February 18, 2014 1:37 PM
    To: Joshua A Tepfer
    Cc: cari_Sandberg@isp.state.il.us
    Subject: RE: Savory

    Good afternoon,
    I just had an unexpected death in the family and need to leave work today. I am sorry this will delay me getting
    things tied up as quickly as we discussed earlier. I hope to be back in the office later this week, but it could be
    next week. so, it may be an extra week to get my portion completed and then mailed to William Frank.

    If you have any questions or need further updates, my supervisor Cari Sandberg will be in the office all week.

    Ann Yeagle
    Forensic Scientist Ill
    Illinois State Police, Morton Crime Lab
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    fax: 309-284-6504
    yeaglea@isp.state.il.us




    From ·      Joshua A Tepfer <Hepfer@law.northwestem edu>
    To        "Ann Yeagle@isp.state.il.us" <Ann Yeagle@lsp.state.il.us>,
    Dale        02/1 B/2014 09:26 AM
    Subject       RE: Savory




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                                                                                                          33 1:~
                                                                                              SDT-BOI 000517
    file://C:\Documents and Settings\yeaglea\Local Settings\Temp\notes87944B\~web6004.htm 3/13/2014
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                1:23-cv-01184-CRL-JEH # 318-9                   Filed: 04/22/24           Page 81 of 199
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        I;.~.
        ~
                      Re: M77-197 quick question before I amp standards ~
                      Ann Yeagle to: William Frank                                                 03/06/2014 02:53 PM

    Thanks so much for your help with this and the information.

    Ann Yeagle
    Forensic Scientist Ill
    Illinois State Police, Morton Crime Lab
    309-284-6500
    fax: 309-284-6504
    yeaglea@isp.state.il.us

         William Frank          Ann, the quant results for 26A look reproducible...               03/06/2014 02:41:34 PM

    From:              William Frank/llStPolice
    To:                Ann Yeagle/llStPolice@IIStPolice,
    Date:              03/06/2014 02:41 PM
    Subject:           Re: M77-197 quick question before I amp standards

    Ann, the quant results for 26A look reproducible for both the Duo H and Yvalues. I expect you will see
    some impact of degradation in the sample and could therefore increase the amount of DNA amplified over
    whatyou-would·normally-sele~From-yourlaboratories-sensitivity-data-l-would·select-approximately·50%
    more than you might normally amplify. I expect this will be pretty close to the 1.5 ng amplification you had
    described.      wef

    William Frank
    DNA Research Coordinator/Technical Leader
    Illinois State Police
    Research & Development Laboratory
    2060 Hill Meadows Drive
    Springfield, IL 62702

    phone: 217-785-8186
    fax:    217-557-3989

          LIVESTRONG


         Ann Yeagle              I apologize I meant to attach this file. I ran a qP...           03/05/2014 04:05:57 PM
                 Ann Yeagle/llStPollce
                 03/05/2014 04:05 PM                    To William Frank/llStPolice@IIStPolice,
                                                         cc
                                                   Subject Re: M77-197 quick question before I amp standardsCl




    [attachment "M77-197 stds.xls" deleted by William Frank/llStPolice]
    I apologize I meant to attach this file.
    I ran a qPCR plate on 2/3/14 and on 3/5/14, I also included my proposed amp sheet.
    If you need anything else, please let me know.

    Ann Yeagle




                                                                                           SDT-BOI 000518
           1:23-cv-01184-CRL-JEH # 318-9                    Filed: 04/22/24           Page 82 of 199
.
Forensic Scientist Ill
Illinois State Police, Morton Crime Lab
309-284-6500
fax: 309-284-6504
yeaglea@isp.state.i I.us

    William Frank          Please forward qPCR data for the samples.          we...          03/05/2014 04:01:38 PM

From:            WIiiiam Frank/llStPolice
To:              Ann Yeagle/llStPolice@IIStPollce,
Date:            03/05/2014 04:01 PM
Subject:         Re: M77-197 quick question before I amp standards

Please forward qPCR data for the samples.        wef

William Frank
DNA Research Coordinator/Technical Leader
Illinois State Police
Research & Development Laboratory
2060 Hill Meadows Drive
Springfield, IL 62702

phone: 217-785-8186
fax:    217=55T-3989-

    LIVESTRONG



    Ann Yeagle              Hi Bill, This is my post conviction case that will b...          03/05/2014 03:17:48 PM
             Ann Yeagle/llStPollce
             03/05/2014 03:17 PM                   To William Frank/llStPolice@IIStPolice,
                                                   cc
                                              Subject M77-197 quick question before I amp standards




Hi Bill,
This is my post conviction case that will be coming your way. I was able to get human DNA from the hair
standards and blood tubes of the parties involved from 1977.

I am thinking about doing 2 amps of most of them, but one of the victims, I was only able to get about
2.7ng of DNA and I want to make a good shot at this amp in IDplus. What would you recommend. It is
Exhibit 26A, which is a swabbing of blood crusts on the tube stopper from the blood standard from victim
James Robinson.

I was thinking about amping 25ul which would be ~1 .Sng or doing 30ul which would be ~1.8ng. I know it
will be degraded as it is over 35 years old, but I wasn't sure if it would be safe to go that high. I figure I
have one shot at an ID+ profile and then need to leave you sufficient for minis and or Ys.

I have included my quant information and my proposed amp.
Could you please give me your opinion, I would like to amp tomorrow morning 3-6-14 if possible. I am
trying to finish up this case and get it to you as they have decided to move forward with Mini's and Ys as
appropriate.




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..

Thanks for your input, I really appreciate it.

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fax: 309-284-6504
yeaglea@isp.state.il.us




                                                                    SDT-BOI 000520
                1:23-cv-01184-CRL-JEH # 318-9                    Filed: 04/22/24    Page 84 of 199
'•   ..
                  To:       William Frank/llStPolice,
                  Cc:
                  Bee:
                  Subject: M77-197 request to use quant information

     Good afternoon Bill,
     on 2-14-14 I ran a quant on this case. I quanted an extraction of a possible blood stain from the pants
     pocket in this case. Exhibit 59C 2 nd extraction. I had gone back and extracted a larger portion of this
     stain and followed a modified procedure as recommended by you. I did an overnight extraction, then an
     additional ProK addition and 4 hour incubation, then PCI, then Cl clean up. And then I combined 20
     cuttings into 1 volume.

     When I did the quant, I ran neat and the human curve was in, but the male curve was not.
     I reran dilutions of the sample and at 1: 10 and 1:100 it was not inhibited, but was ND.

     I realized I did not re-quant the neat or the reagent blanks for this extraction. May I have permission to use
     this quant data for my RBs or do I need to go back and requant. (Extracted 1 sample and did 2 blanks with
     it, all were 20 tubes into 1)


               ~
                                    q LLo..n.-\- cl.0-:r-G\. •
     M77-197 2-14-14 lnfo.pdf <!-
                                                            =,
     Thanks.

     Ann Yeagle
     Forensic Scientist Ill
     Illinois State Police, Morton Crime Lab
     309-284-6500
     fax: 309-284-6504
     yeaglea@isp.state.il.us




                                                                                      SDT-BOI 000521
                1:23-cv-01184-CRL-JEH # 318-9                   Filed: 04/22/24           Page 85 of 199
'.


                  To:         William Frank/llStPolice,
                  Cc:
                  Bee:
                  Subject: Re: M77-197 request to use quant Information

     Thank you so much, that was my hope to conserve the blank.

     I am finishing my report and getting the evidence all packaged to send on to you for Mini's and Y-STR
     testing. I will make sure I send the conversation logs, testing requests and court order information.

     The judge has set the next date for a hearing on May 29th

     The attorney in charge of this post conviction testing is Josh Tepfer from the Center for wrongful
     convictions of minors.
     He sent me this message this morning "We had the court hearing this morning. I updated everyone,
     including to expect your final report by early next week and for the evidence to be shipped to Mr. Frank
     thereafter. We set a date several months out (May 29) for the next court date In hopes that all would
     be completed by that date. If you wouldn't mind passing that along to Mr. Frank, and perhaps seeing if
     he anticipated whether he could complete his work by that date and letting me know, I would
     appreciate it."

     rlfave- prevrous1y-1erMI Tepfeflfn-ow ttfat you woulcflle walling to use Y23 on tfi1s case ancrtliat we were
     in a holding pattern because of this and that this testing can take time. He is anxious to get the Minifiler
     analysis moving forward as well. They are definitely more interested in Minifiler analysis trying to find a
     profile that might be CODIS eligible. I let him know I would ask you to see when you might be able to get
     to this case. I will send his contact Information to you with the case copies and evidence next week. It
     looks like I will be sending you 9 samples with blanks for Minifiler and possibly 5 samples for both Minis
     and Ys, even though I have impressed to them that Ys could be much more informative for the Vaginal
     Swabs (semen indicated) and Fingernail scrapings from victim. Many of these samples were inhibited and
     we had discussed that you might be doing a clean up step before amping (this had been discussed with
     Laura Gahn when she was in from Cellmark to observe my testing). I just wanted to give you a heads up
     of what is coming your way.

     Thanks so much for your help with all of this case.

     Ann Yeagle
     Forensic Scientist Ill
     Illinois State Police, Morton Crime Lab
     309-284-6500
     fax: 309-284-6504
     yeaglea@isp.state.il.us

        William Frank             As long as the RB was quantified with the first ru...         03/14/2014 08:51 :41 AM

     From:              William Frank/llStPolice
     To:                Ann Yeagle/llStPolice@IIStPolice,
     Date:              03/14/2014 08:51 AM
     Subject:           Re: M77-197 request to use quant Information

     As long as the RB was quantified with the first run I would still use the blank. I would not recommend
     going back and using additional volume to quant the blank another time. wef

     William Frank
     DNA Research Coordinator/Technical Leader
     Illinois State Police




                                                                                           SDT-BOI 000522
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                                              ILLINOIS STATE POLICE
                                            Division of Forensic Services
                                            Forensic Sciences Command
                                         Morton Forensic Science Laboratory

Exhibit/ Item                   1A            Date Examined          12/17/2013 Case#                        M77-197

Description of Package and Markings:
Small BPB sld clear tape "SB 10-22-13 AMY"
            on BPB "Swab from Connie Cooper Labeled 1A"
contains:
plastic tube w/ blue lid contains glass vial with white et seal "RFG"
unwound seal tape, opened glass vial, contains 2 swabs
            both swabs covered in It brown stain and part of stick
            ~1/2 of each swab tip appeared to have been previously removed.
            both remaining swab tips into 1 SET
            SET into zl pl into man env sld BET 12-17-13 AMY as 1A1.


            no testing at this time to preserve sample. (Previous report - semen indicated, no sperm id'd)


            As submitted




            Swabs




Turned ov~r to D""A:                        Repackaging:                           Seal Date:                Analyst:
          1A1                               orig bpb sld BET                       12/17/2013
                                                                                                                         AMY~

                                                                                                 Revision Date (01/13)



                                                                                          SDT-BOI 000523
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                                         ILLINOIS STATE POLICE
                                       Division of Forensic Services                         Case     M77-197
                                       Forensic Sciences Command
                                                                                             Date      1/21/2014
                                  DIFFERENTIALS EXTRACTION WORKSHEET
 Revision Date (01/13)

        Extraction Order
    Case#       Ex#      # tubes     Fractions, resol vol
   M77-197      1A1           1     F1: 50 ul F2: 50 ul F3: 50ul
 1-21 RB-1 -+ RB-4            1     F1: 50 ul F2: 50 ul




                                                                             Extraction observed by Laura Gahn




 Exhibit        1A1

 Packaging      Manilla env sld BET "Portion of vaginal swabs from Connie Cooper. (prev. tested)
Contents        zl pl bag containing 1 SET
                contains 2 swabs
Extract         1 tube




[ For Y/ Mlnlfiler ana; sls
    1A1A       Extracted DNA from the Exhibit 1A1 labeled 1A1A. Extracted DNA dried and packaged in
               plastic bag. 1-21 RBs F1 and F2 dried and packaged in a plastic bag.
               Plastic bag~ sealed in new manila envelope on ~-20-14.
                                                                           - - - - - - - - - ----



Repackaging:                                                RBs packaged with:                 Seal Date:      _   z_0-1~
DNA substrate in me tube into pl bag in Ex 1A1              F1, F2: RB-1, RB-2, RB-3, RB-4-+ 1A1A         "3
Extracted DNA into pl bag in Ex 1A1A                                                                Analyst:   1J'
                                                                                                                    6
                                                                                       SDT-BOI 000524
               1:23-cv-01184-CRL-JEH # 318-9                     Filed: 04/22/24         Page 88 of 199
  ..
                                              ILLINOIS STATE POLICE
                                            Division of Forensic Services
                                            Forensic Sciences Command
                                         Morton Forensic Science Lal>oratory

 Exhibit / Item               21,22           Date Examined         12/17/2013 Case#                            M77-197

Description of Package and Markings:
  man env sld clear tape "... #98210-22-13... "
  "Fingernail clippings from Connie Cooper" on env
Envelope opened to observe 2 small envelopes
           21 - small man env sld brown tape "WTJ" as appears and cellmark purple ET "JY 021113"
           22 - small man env sld brown tape ''WTJ" as appears and cellmark purple ET "JY 021113"
21- one small env "21 fingernail scraping ..• Rt.." opp side " ...#21 RFG M-77-197 1-19-77... "
          contains a broken orange stick. ~3.1 cm in length.
           exam w/ stereo microscope - misc debris obs'd on stick
           cut off pointed end ~1.5cm into 1 SET
                      SET into zl pl into man env sld BET 12-17-13 AMY as 21A.




22 - on small env "22 fingernail scraping ... " opp side " ... #22 RFG M-77-1971-19-77... " "op'd 02-11-13JY"
          contains a broken orange stick. ~3.9 cm in length.
          exam w/ stereo microscope - misc debris obs'd on stick
           cut off pointed end ~1.5cm into 1 SET
                       SET into zJ pl into man env sld BET 12-17-13 AMY as 22A.




Turned ov~r to DNA:                         Repac;kaglng:                          Seal Date:                   Analyst:
          21A, 22A                          orig man env sld BET                   12/17/2013
                                                                                                                           AMY~

                                                                                                  Revision Date (01/13)



                                                                                           SDT-BOI 000525 42.
                      1:23-cv-01184-CRL-JEH # 318-9                     Filed: 04/22/24   Page 89 of 199
'•
                                                     ILLINOIS STATE POLICE
                                                   Division of Forensic Services
                                                   Forensic Sciences Command
                                                Morton Forensic Science Laboratory

      Exhibit/ Item                   44                Date Examined     12/11/2013 Case#                   M77-197

      Description of Package and Markings:
       man env sld clear tape "...#982 10-22-13... "
       "Black Normark Folding Knife ex. 32A" on env
     Envelope opened to observe
     Folding knife - "People's Exhibit #32A" Red label on handle
                  INITIALS AND DATE SCRIBED ON HANDLE BY STICKER "... 2/1m"
               "Normark" brand on handle blade "EKA Sweden Stainless"
               knife -18cm long unfolded blade ~7.5cm
     Exam with stereo microscope
                  observed very small RBS on blade of knife, sharp edge(<~ 112mm by ~3mm)
               not tested b/c so small to preserve
     12-12-13 continue exam
     44A-1 swabbing into 1 SET into zl into man env sld BET 12-17-13 AMY
                  fine tip swab moistened w/ ddi water - blade edge of knife
                  swabbed both sides of sharp edge at stain
                  air dried and preserved as Exhibit 44A


     Vis small amount of reddish stain inside area blade folds into
                  not tested b/c so small to preserve


     448- 1 swabbing into 1 SET into zf into man env sld BET 12-17-13 AMY
                  fine tip swab moistened w/ ddi water - inside area of folding knife
                  air dried and preserved as Exhibit 448




     KM controls
     known blood = pos
     blank =neg
     Turned over to ONA:                          Repackaging:                      Seal Date:              Analyst:
     44A, 44B                                     orig man env sld BET              12/12/2013                           AMY

                                                                                                 Revision Date (01/13)     tit
                                                                                                                           00
                                                                                            SDT-BOI 000526
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                             1:23-cv-01184-CRL-JEH # 318-9                      Filed: 04/22/24        Page 90 of 199
      '   .                                                  ILLINOIS STATE POLICE
                                                           Division of Forensic Services
                                                           Forensic Sciences Command
                                                        Morton Forensic Science Laboratory

               Exhibit / Item                  59             Date Examined          12/9/2013    Case#                       M77-197

               Description of Package and Markings:
                 BPB sld clear box tape "SB #982 10-22-13"
                 on BPB "Paper sack with blue pants Ex #34"
              BPB opened to obs: open BPB inside "#59... from sheet in main room... btue pants ... "
                      Red people's exhibit label "#34"
                         White and Red Evidence tape seal at top fold of bag "... 1-26-TT" appears intact
                         brown tape seal at bottom "RFG" appear to be initials on tape in black
                         Bag appears ripped open - observe blue work style pants            No size label observed in pants.
                         Removed pants from bag to examine.             Tag inside back "Koratron ... Machine wa~able... permanent press"
     Blue Pants - Navy blue work pants, visually dirty                                            Also "People's Exhibit #34A" label inside back
               button missing at waist. Pants are zipped. Zipper is metal and corroded. Unzipped pants - zipper works.
               swabbed inside of waistband with 1 moist swab. Avoided areas with markings.
_________A_ls_o_s_w_a_b_b_ed_ s_
                               m_a_ll_a_
                                       re_a_a_r_
                                               ou_n_d_t_h_
                                                         re_a_d_wh
                                                                _ e_re_ bu_tt_o_n_w_o_u_ld_ ha_v_e_b_e_e_n_a_tt_a_ch_e_d_. _ _ _ _ _~S=wabair dd~.__ _ __
                         Markings on Inside waist difficult to read initials
                         ~3/4" of waistband width swabbed- area swabbed - dotted outline.
                                                                                                                  inside front view




              Two tapings made to remove and preserve apparent hairs, fibers and debris.
              Front and back pockets empty, button intact left rear pocket, front right small coin pocket empty
              Debris observed in front pocket, into paper packet. Packet and tapings into man env and into Ex 59 pkg.
              Left front leg appears to have a small bum hole - exam w/ stereo microscope - melted fibers vis around edge
              Swabbing from waist area - 1 swab
              into 1 SET into zl pl into man env sld BET 12-11-13 AMY as Ex 59A



                                                                                                               continue on next page

              Turned over to DNA:                          Repackaging:                          Seal Date:                   Analyst:
              59A                                          n/a                                   nla                          AMY      fLl
                                                                                                                                      /Va '53
                                                                                                               Revision Date (01/13)



                                                                                                         SDT-BOI 000527
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                                    Morton Forensic Science Laboratory

 Exhibit/ Item               59             Date Examined     12/10/2013 Case#                    M77-197

 Description of Package and Markings:
 continued exam
 Visual exam of pants - dirty and worn.
 Right front pocket inside -




Q1 - vis med rbs on pocket outside of wt material
KM 01 swab of stain = neg X2, cutting neg X2 on each side .
                       =
Q2 same pocket swab neg, cutting neg  =
inside Q1 - swab X 2 = neg, 2 cuttings inside seam= neg
Q3 around inside appt burn hole on front left leg KM= neg
04 yellowish stain around edge of tag swab = neg, cutting = neg
Q5 yellow- brown stain above tag swab = neg, cutting = neg




KM controls
known blood = pos
blank =neg
                                                                                      continued on next page
Turned over to DNA:                       Repackaging:                   Seal Date:               Analyst:
n/a                                       n/a                           n/a
                                                                                                              AM~

                                                                                      Revision Date (01/13)     s:f\

                                                                                SDT-BOI 000528
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                                            Division of Forensic Services
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                                         Morton Forensic Science Laboratory

 Exhibit/ Item                  59            Date Examined          12/11/2013 Case#                           M77-197

 Description of Package and Markings:
 continued exam on 12-11-13
 Examine pants with stereo microscope - inside right front pocket stain vis blood like              12/11/2013
 KM                                                                                                KM controls
 QB - stain inside back of pants below tag. Cutting = neg                                          known blood = pos
 Q7(outside of appt burn hole) same stain as 03, cutting and swab of 07 = neg                      blank =neg
 08 - vis dirt from left front leg - swab = neg
 Q9 = neg
 010 at zipper fly - swab = neg


Preserve stains/ areas of pants for DNA analysis


03/7 - apparent bum hole -0.4cm in diameter.
cutting from around apparenC6urnhole -o-:acm X -O~Bcm - hole in center
into 1 SET into zl pl into man env sld BET 12-11-13 AMY as Ex 59B


01 - cutting from right front pocket. Portion of seam and pocket into 1 SET, additional portion from pocket into glyc fold .
Cut out area -0.9cm X -1 cm from seam into SET, Cut out -2.3cm X - 1.7cm from 01 RBS stain
From Q1 stain cut out -0.5cm X -0.Bcm into same SET, remaining stain in glyc fold.
SET into zl pl. glyc fold and zl pl into man env sld BET 12-11-13 AMY as Ex 59C
More than 1/2 of stain remains intact on pants


05 - It yellowish/ It brownish cutting from vis stain above washing tag
-1.4cm X -0.9cm cut out of stained area- diffuse appearance
into 1 SET into zl pl into man env sld BET 12-11-13 AMY as Ex 59D




Pants wrapped in white paper and back into Ex 59 sld BET 12-11-13




                                                                                                  continued on next page
Turned over to DNA:                        Repackaging:                            Seal Date:                    Analyst:
598, 59C, 59D                              orig BPB Sid BET                         12/11/2013                   AMY.,~

                                                                                                  Revision Date (01 /13) c3:)



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                                                                                             SDT-BOI 000529
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 Exhibit / Item                       59               Date Examined         12/12/2013 Case #                         M77-197

 Description of Package and Markings:
exam continued


12-12-13 reopened pants
looked at area around rt front pocket again with stereo microscope
observed small cut out area -0.5cm X ~0.6cm
will cut out under layer of blue fabric remaining.
Vis dirty areas surrounding but no blood like stains observed.
011 - swabbing from area around rt pocket outside KM = neg                 KM controls 12-12-13
                                                                           known blood = pos
                                                                           blank =neg
Cut out inside layer from prior appt testing cut out area. -0.Scm X -0.6cm was ~re~iousty r~mqved. ~
Cut out-0.4cm X~0.Scm and into 1 SET.                                     __       1:•~~•t3 ::~ - 't ,1·.   j -


SET into zl pl into man env sld BET 12-12-13 AMY as Ex 59E




Ex 59A, 59B, 59D and 59E will need to be consumed in DNA




Turned over to DNA:                                  Repackaging:                         Seal Date:                   Analyst:
                                                     reseted in orig bpb sld BET          12-12-13 AMY                             AMY.


                                                                                                            Revl~on Date (01/13)   ~
                                                                                             SDT-BOI 000530
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 Exhibit/ Item                     15            Date Examined          12/16/2013 Case#                       M77-197

Description of Package and Markings:
  man env sld clear tape "...#982 10-22-13... "
  "Light switch cover from bathroom ex 17" on env
Envelope opened to observe
             env sealed with brown tape "RFG" also ''WTJ", circuit clerk stamp on env, env recv'd sliced open
             on env "Light switch cover from bathroom 15 1-18-77 ... "          people's exhibit label #17
             contains a light switch plate cover and 2 screws
             cover ~4 1/2" X ~ 2 3/4" "RFG 1/25/77" top left as oriented
             on plate 2 people's exhibit labels on top of each other, on top #17A, below#15A
             Back side, vis dirty/ grimy.
             Cover is light beige, very dirty vis. Has 2 screw holes and switch opening.
             On front surface 2 large areas of It to med RBS, 1 smaller area near initials "RFG"
             Difficult to visualize an un stained area b/c of dirt and stains
             Small It RBS by RFG markings at top not tested A TT
             r-    -                 -----~                                                        back side no testing



    Front
   before
  testing/
 swabbing




Turned over to DNA:                            Repackaging:                          Seal Date:               Analyst:
                                                                                                   continued on next pg    AMY-JJ6

                                                                                                   Revision Date (01/13)



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 Exhibit/ Item               15 cont.           Date Examined             12/16/2013 Case#                     M77-197

Description of Package and Markings:

01 - stain upper on front and smooth side. Lt to med RBS ~1.3cm X ~2.Scm removed ~1/2 of stain - smooth side of stain
           moist fine tip swab removed ~0.6cm X ~2.Scm of stain on smooth side
           swab air dried. Remaining stain intact on cover
           01 = 15A 1 swabbing into 1 SET into zl pl into man env sld BET 12-17-13 AMY


02 - stain towards middle of plate, on and around switch hole. Stain It to med RBS, thin stain.
            -1.4cm X ~1.Bcm from middle of stain swabbed off
           entire stain ~2cm X ~4cm, more than half of stain remains on cover.
           moist fine tipped swab - air dried.
           Q2 = 158 1 swabbing into 1 SET into zl pl into man env sld BET 12-17-13 AMY
           After swabbing_!_   =-~::::::::::::_-_-_-_-_-_-_______-_,-                        - -~M-
                                                                                                  01 = pos
                                                                                                  Q2 = pos
                                                                                                  blank= neg
                                                                                                  known blood = pos




           - did not swab for touch DNA.


Turned over to ONA:                           Repackaging:                           Seal Date:                Analyst:
15A, 15B                                      orig man env sld BET                   12/17/2013
                                                                                                                          AMY~

                                                                                                  Revision Date (01/13)



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                                                                                                  Date     1/22/2014
                                  MAXWELL EXTRACTION WORKSHEET
 Revision Dale (01/13)                                                                                   P 1 of 3
        Extraction Order                             Extraction Order
           Maxwell Tray 1                       Maxwell Tray 1 continued
     Case#      Ex#      #tubes                 Case #      Ex #     # tubes                   Resol Volume:
     M77-197    21A          1                  M77-197     15A          1                       50 ul each
                22A          1                              158          1
                44A          1                              59C          1
                448          1                1-22 MRB-1, MRB-2          1
                59A          1                1-22 MRB-3, MRB-4
                598          1
                59D          1
                59E          1
                                                                                 . Extraction observed by Laura Gahn


 Exhibit        21A
 Packaging      Manilla env sld BET "Portion of orange stick tip - fingernail scraping from Connie Cooper"
 Contents       zl pl bag containing 1 SET, containing pointy end of org stick


 Extract        1 tube


 Exhibit        22A

 Packaging      Manilla env sld BET "Portion of orange stick tip fingernail scraping from Connie Cooper"
 Contents       zl pl bag containing 1 SET, containing pointy end of org stick


 Extract        1 tube


 Exhibit        44A
 Packaging      Manilla env sld BET "Swabbing from blade of knife (edge)"
 Contents       zl pl bag containing 1 SET containing 1 swab It grey stain vis


 Extract        1 tube




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                                                                                                         Analyst:   ilo
                                                                                          SDT-BOI 000533
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                                  MAXWELL EXTRACTION WORKSHEET
Revision Date (01/13)                            continued p 2 of 3

Exhibit        448
Packaging      Manilla env sld BET "Swabbing from inside of folding knife"
Contents       zl pl bag containing 1 SET containing 1 swab dk grey • dirty vis stain


Extract        1 tube


Exhibit        59A      from blue pants
Packaging      Manilla env sld BET "Swabbing from inside waistband. #59A..."
Contents       zl pl bag containing 1 SET containing 1 swab vis dirty


Extract        1 tube


Exhibit        59B
Packaging      Manilla env sld BET "Cutting from around apparent bum hole (Q7amy) ... "
Contents       zl pl bag containing 1 SET, containing piece of dark fabric


Extract        1 tube


Exhibit        59D
Packaging      Manilla env sld BET "Cutting from inside back of pants by washing tag. (05) ... "
Contents       zl pl bag containing 1 SET, containing piece of light fabric


Extract        1 tube


Exhibit        59E
Packaging      Manilla env sld BET "Cutting from below Rt belt loop above rt pocket .. ."
Contents       zl pl bag containing 1 SET, containing piece of dk blue fabric


Extract        1 tube




                                             RB• ~              lh:                                SealOoA
                                                                                                    ./

                                                                                                          t~
                                                                                                     Analyst



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                                                                                                 Date     1/22/2014
                                  MAXWELL EXTRACTION WORKSHEET
Revision Date (01/13)                            continued D 3 of 3

Exhibit        15A
Packaging      Manilla env sld BET "Swabbing from edge of switch plate cover"
Contents       zl pl bag containing 1 SET, contains 1 swab
Extract        1 tube


Exhibit        15B
Packaging      Manilla env sld BET "Swabbing from near center of switch plate cover"
Contents       zl pl bag containing 1 SET, contains 1 swab
Extract        1 tube                        • Extracted DNA consumed, sample remains on Exhibit 15.


Exhibit        59C
Packaging      Manilla env sld BET "cutting from Rt front pocket. (01) amy..."
Contents       zl pl bag containing 1 SET and glyc fold containing light fabric cutting with vis red brown stain
Extract        1 tube


For Y/ Mlnlfller analysis
    21A1       Extracted DNA from Exhibit 21A labeled 21A1. Extracted DNA dried and packaged in pl bag.
               1-22 MRB-2 dried and packaged in same pl bag and sld in man env 3-20-14.
    22A1       Extracted DNA from Exhibit 22A labeled 22A1. Extracted DNA dried and packaged in pl bag.
               Pl bag sld in man env 3-20-14.
For Mlnlfiler analysis
    15A1       Extracted DNA from Exhibit 15A labeled 15A1. Extracted DNA dried and packaged in
               pl bag. 1-22 MRB-3 and 4 dried and packaged in same pl bag. Pl bag into sld Man env 3-20-14.
44A1 & 44B1 Extracted DNA from Exhibits 44A labeled 44A1 and 448 lableled 44B1. Extracted DNA dried

               and packaged in sep. pl bags. Pl bags respectively pkg'd in man envs sld 3-20-14.
59A1, 59B1, Extracted DNA from Exhibit 59A, 598, 590 and 59E fabled Exhibits 59A1, 5981 , 59D1 and 59E1
5901 59 1
     • E respectively into sep. pl bags. Pl bags respectively pkg'd in man envs sld 3-20-14.
    59C1       Extracted DNA from 1-22 and 2-11 extractions of Exhibit 59C were labeled 59C1. Extracted DNA
               dried and separately pck'd in pl bags. pl bag with 2-11 extracted DNA also contains RB-1 and 2.
               Both pl bags into a sld man env as Exhibit 59C1 on 3-20-14.


Repackaging:                                               RBs packaged with:                      Seal Date:
DNA substrate in me tube into pl bag                       MRB-1 consumed                                3~-/¼
Pl bag into original exhibits                              MRB-2 -+ 21A1
                                                                                                        Anal~
                                                           MRB-3, MRB-4 ... 15A1



                                                                                        SDT-BOI 000535
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      Exhibit/ Item               27 &28            Date Examined         12/20/2013 Case#                          M77-197

      Description of Package and Markings:
     Man env sld clear tape "SB #982 10-22-13"
     on env "Girl Hair Standards- from Connie Cooper''
     Env contains - 2 plastic bags.
     27 -       plastic bag w/ white evid tape seal 'WTJ" on markings
                "#27 RFG M-77-197 1-19-77" "27"
                on bag "Girl head hair standard" smal amt of brown stain on bag vis, not tested at this time.
                Clump of appt hair vis through b Scotch tape "RFG"
                Not examined at this time. Preserve portion of pubic hair standard.
     28-
     plastic bag w/ white evid tape seal 'WTJ 1-1 8-77" on markings
     "#28 RFG M-77-197 1-19-77" "28"                                                      28
     on bag "Girl ubic hair standard"
     contains small clump of appt hair
     Vis It to dark brown stain on outside and inside of bag Q1 ~5
     112cm X-7 cm at widest, Q2 ~71/2cm X ~B 1/2 cm
     KM1=neg
     KM 1 inside bottom edge of bag below seam = neg
     KM2 =neg
     because of vis appr of stains will preserve a portion to test as
     Std for Connie Cooper if others fail

     1 moist swab used to remove small portion of brown stain on inside of bag ~2cm X ~4cm inside seam
     allowed to air dry swab into 1 SET into zl pl into man env sld BET 1-14-14 AMY
     as Exhibit 28A.
     Cut side of bag near RFG tape, removed clump of apparent hairs, small clump remains in pkg untouched
     Examined under stereoscope, root tag material present on many apparent hairs
     Cut off appt root tag end of ~20 apparent hairs. All examined apparent hairs into glyc fold back into Ex 28.

     SET into zl pl into man env sld BET as Ex 28B 1-14-14 AMY
                                                                             -
     Cut off ends placed into 1 SET (range in length from ~1/2cm to ~2cm a I t hairs broke easily when handling)
                                                                                      .




                                                                                                                     ose up of
                                                                                                                    ppt hairs
     KM controls
     blank= neg
     known blood = pas                            28 pl bag sld BET 1-14-14 AMY back into 27/28 man env.
     Turned over to DNA:                          Repackaging:                            Seal Date:               Analyst:
     28A, 288                                     man env orig pkg sld BET                1/14/2014
                                                                                                                                AMY~

                                                                                                       Revision Date (01 /13)    L\?

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     Exhibit/ Item                29&30               Date Examined       1/14/2014   Case#                    M77-197

     Description of Package and Markings:
     Man env sld clear tape "SB #982 10-22-13"
     on env "Boy Hair Standards- from James Robinson"
     Env opened contains - 2 plastic bags.
     29 - plastic bag wt white evid tape seal 'WTJ 1-18-77" on markings
     ''#29 RFG M-77-197 1-19-77" "29"            Scotch tape "RFG"
     on bag "Head hair standards Boy"
     Clump of appt hair vis through bag.
     Cut side of bag near RFG tape, removed clump of apparent hairs
     small amount remain in pkg untouched
     Examined under stereoscope, appt root material present on at least 1 appt hair
     1 appt red fiber obs'd into glyc fold - back into pl bag


     1/15/2014
     ~10 apparent hair ends cut off and placed into SET into zl pl into man env sld BET 1-15-14 AMY as Exhibit 29A
     looked through ~1/2 of appt hair clump. Majority of appt hairs looked like fragments
     Appt hairs examined into glyc fold. Hairs removed from bag not examined put into sep. glyc fold.
     Both glyc folds back into pl bag.


                            close up
                            of appt hairs




     Ex 29 pl bag sld BET 1-15-14 AMY


     30- plastic bag w/ white evid tape seal 'WTJ 1-18-77" on markings
     ''#30 RFG M-77-197 1-19-77" "30"            Scotch tape "RFG"
     on bag "Boy pubic hair standard"
     a small amount of appt hairs obs'd through bag
        not opened at this time - remains intact




     Turned over to DNA:                         Repackaging:                         Seal Date:              Analyst:
     29A                                         orig man env sld BET                 1/15/2014                            AMY/d.Jx

                                                                                                   Revision Date (01/13)   ~~ 0

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Exhibit / Item            88 thru 94        Date Examined         1/15/2014   Case#                   M77-197

Description of Package and Markings:
Man env sld clear tape "SB #982 10-22-13"
on env "Hair Standards William Douglas"
envelope contains 7 small pl bags with White evid tape "6-27-77" and RET "RFG"
88 - "Wm Douglas Mustache" not examined.
89 - "Wm Douglas Hd front" not examined.
90 - "Wm Douglas Hd top"       not examined.
91 - "Wm Douglas Hd rear"      not examined.
92 - "Wm Douglas Hd Rt."       not examined.
93 - "Wm Douglas Hd Lt."       see below
94 - "Wm Douglas Pubic"        not examined.


93- plastic bag opened- removed clump of apparent dark curly hair
examined wit s ereo microscope
removed 7 apparent root ends with apparent follicular tag material
into 1 SET
remaining appt hairs into glyc fold back into bag sld BET 1-15-14


1 SET with cuttings into zl pl into man env sld BET as Exhibit 93A 1-15-14 AMY

All orig pkgs back into orig man env.




Turned over to DNA:                        Repackaging:                       Seal Date:              Analyst:
93A                                        orig man env sld BET                1/15/2014
                                                                                                                 AM~

                                                                                           Revision Date (01/13) S   CJ



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     Exhibit/ Item             95 thru 99        Date Examined      1/15/2014    Case#                    M77-197

     Description of Package and Markings:
     Man env sld clear tape "SB #982 10-22-13"
     on env "Head hair stds Noyalee Robinson"
     envelope contains 5 small pl bags with White evid tape "6-27-77'' and RET "RFG"
     95 - "Noyaleen Robinson Hd. Front 95" not examined
     96 - "Noyaleen Robinson Hd.Top 96"       see below
     97 - "Noyaleen Robinson Hd. Rear 97"      not examined
     98 - "Noyaleen Robinson Hd. Rt. 98"       see below
     99 - "Noyaleen Robinson Hd. Lt. 99"       not examined

    96- plastic bag opened- removed clump of apparent dark hair
    examined under stereo microscope
    removed 3 apparent root ends with apparent follicular tag material
- -m10- n:iE I as Exh1b1f96A     remaining hairs into glyc foTd back into bag

    98- plastic bag opened- removed clump of apparent dark hair
    examined under stereo microscope
    removed 6 apparent root ends with apparent follicular tag material
    into same SET as Exhibit 96 hairs, all from Noyaleen Robinson
                                   remaining apparent hairs into glyc fold back into bag
    SET into zl pl bag into man env sld BET 1-15-14 AMY as Exhibit 96A.




    Turned over to DNA:                       Repackaging:                      Seal Date:               Analyst:
    96A                                       back into orig man env sld BET      1/15/2014
                                                                                                                      AMY:./1n
                                                                                                                          (.£)
                                                                                              Revision Date (01/13)




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                                                Division of Forensic Services                           Case      M77~197
                                                Forensic Sciences Command
                                                                                                        Date      1/28/2014
                                           OVERNIGHT EXTRACTION WORKSHEET
           Revision Date (01/13)                  "Hair Standards" 2 overnights

                  Extraction Order                        Extraction Order (cont)
               Case#      Ex#      #tubes                 Case #     Ex #         # tubes            Resol Volume:
               M77-197    288          1                    NIA                                            20ul
                          29A          1
                          93A          1
                          96A          1
                  SRB-1, SRB-2         1




           Exhibit        288      (Connie Cooper)
           Packaging      man env sld BET "1-14-14" "appt. hairs - root tag ends ... " on env
           C_ontents      zl pLcontaining_1_SE.T_containing.appLhaiuoolends
           Extract        tube     For Mlnlfiler Analysis Extracted DNA labeled 2881 and dried and packaged in pl bag.
                                            SRB- 2 dried and pkg'd in same pl bag. All sld in man env 3-20-14.


           Exhibit        29A

           Packaging      man env sld BET "1-15-14" "appt. hairs - appt root ends from James Robinson... " on env
           Contents       zl pl containing 1 SET containing appt hair root ends
           Extract        tube     For Y and Mlnlfller Analysis Extracted DNA labeled 29A 1 and dried and pkg'd in pl bag.
                                            Pl bag sld in man env 3-20-14.
           Exhibit        93A
           Packaging      man env sld BET "1-15-14" "appt. hair root ends from William Douglas hair standard ... " on env
           Contents       zl pl containing 1 SET containing appt hair root ends
           Extract        tube     For Y and Minlfller Analysis Extracted DNA labeled 93A1 and dried and pkg'd in pl bag.
                                            SRB-1 dried and pkg'd in same pl bag. All sld in man env 3-20-14.


           Exhibit        96A
           Packaging      man env sld BET "1-15-14" " ... of appt hairs from hair standard of Noyalee Robinson... " on env
           Contents       zl pl containing 1 SET containing appt hair root ends
           Extract        tube     For Mlnifiler Analysis Extracted DNA labeled 96A1 and dried and packaged in pl bag.
                                            Pl bag sld in man env 3-20-14.


           Repackaging:                                RBs packaged with:                          Seal Date:   3- 20-/ L/
           DNA s• •b&li:ale in me-ttlbe~i bag          SRB-2-. 28B1
           Pl bag into original                        SRB-1 -. 93A1                                Analyst:    't~
                                                                                                 SDT-BOI 000540
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                                        Forensic Sciences Command
                                     Morton Forensic Science Laborator y

 Exhibit / Item             59           Date Examined         2/10/2013 Case#                         M77-197
                                                            re opened to remove additonal stain from pocket
 Description of Package and Markings:
 BPB opened to remove wpp marked "M77-197 #59 ... "
 opened BPB to remove blue pants
 unfolded blue pants and pulled open right front pocket, 01 and 02


 Cut out ~4cm X -0.7cm strip from 01 edge by corner of pocket and ~0.5cm square piece from below prior tested
                                                                                                                      area
into glyc fold. Will extract with remaining cutting inExhibit 59C. More than -1/2 of stained area remains on pants.
                                                                           glyc fold into 59C for extraction.


                                                                            These cuttings will be combined with prior
                                                                              cuttings subexhibited as Exhibit 59C
                                                                                         extraction #2.




Pants wrapped in white paper and back into Ex 59 sld BET 2-10-13
Turned over to DNA:                 Repackaging:                          Seal Date:                  Analyst:
59C                                 orig BPB sld BET                        2/10/2014
                                                                                                      AMY-tt
                                                                                        Revision Date (01/13)



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                                          ILLINOIS STATE POLICE
.•                                     Division of Forensic Services                              Case      M77-197
                                       Forensic Sciences Command
                                                                                                   Date     2/11/2014
                                 OVERNIGHT EXTRACTION WORKSHEET
Revision Date (01/13)                   2nd extraction • pants pocket

        Extraction Order                         Extraction Order (cont.)
     Case#      Ex#       #tubes                 Case #     Ex #      # tubes                   Resol Volume:
     M77-197    59C         20                     n/a                                               30ul
             RB-1, RB-2 20 each



                                                                                               2-11-14 set up o/n

                                                                                               2-12-14 extra Pro K addition
                                                                                               and incubation, PCI
                                                                                               2-13-14 Cl and microcon
                                                                                                 see SWTL WEF email
                                                                                                 1-30-14 for change to
                                                                                                  extraction procedure




Exhibit         59C
Packaging       Manilla env "cutting from Rt front pocket. (01) amy..."

Contents        empty zl bag and 2 glyc folds containing light fabric cuttings with vis RBS.

                cuttings from new fold contains -4cm X -0.7cm cutting and -0.5cm sq cutting into 11 tubes
                cuttings from old fold -2.3cm X -1.7cm into 9 tubes
Extract         20 SETs


For Mlnlfiler Analysis
      59C1      Extracted DNA from 1-22 and 2-11 extractions of Exhibit 59C were labeled 59C 1. Extracted DNA

                dried and separately pck'd in pl bags. pl bag with 2-11 ext DNA also contains 2-11 RB-1 and 2.
                Both pl bags into a sld man env as Exhibit 59C1 on 3-20-14.




Repackaging:                                 RBs packaged with:                            Seal Date:
DNA substrate in me tube into pl bag         RB-1, RB-2-+ w/59C extraction 2                         3·2.0-1~
Pl bag into original                                        inside 59C1                        Analyst:J i t



                                                                                         SDT-BOI 000542
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                                           ILLJNOIS STATE POLICE
                                         Division of Forensic Services
                                         Forensic Sciences Command
                                      Morton Forensic Science Laboratory

 Exhibit/ Item                26            Date Examined        12/20/2013 Case#                       M77-197

 Description of Package and Markings:
 Small BPB sld clear tape "SB 982"
           on BPB "Tube containing blood #26 "
 contains: plastic tube w/ blue cap
           contains blood tube w/ purple top -4.2" long, -1.5cm diameter, -10.5 cm long containing appt liquid blood
           on tube "BOY" "#26 1-19-77 RFG M-77-197 "w/ WET at top


           used moist swab!to remove vis small appt blood crusts on top of tube stopper and sides
           airdried        ~
        ¾swa~o 1 SET into zl pl into man env sld BETas Exhibit 26A 1-15-14AMY


           small piece of BET on WET to secure 12-20-13 on stopper




Turned over to DNA:                      Repackaging:                         Seal Date:               Analyst:
26A                                      orig bpb sld BET                     1/15/2014
                                                                                                                    AMY/Jo
                                                                                           Revision Date (01 /13)      4L{

                                                                                      SDT-BOI 000543          ~
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                                            ILLINOIS STATE POLICE
                                         Division of Forensic Services                       Case      M77-197
                                         Forensic Sciences Command
                                                                                             Date       3/5/2014
                                      STANDARDS EXTRACTION WORKSHEET
 Revision Date (01/13)


    Extraction Order                   Extraction Order
      Maxwell Tray                    Maxwell Tray (cont.)
    Case#            Ex#               Case#        Ex#                                   Resol Volume:
    M77-197          26A                Not used                                             50 ul each
                     110

            3-5 SRB-1
            3-5 SRB-2




-,- --------------------------------------
 Exhibit           26A
 Packaging         manilla env sld BET AMY on env "James Robinson swabs from blood tube"

 Contents          zl pl containing 1 SET with 2 small swabs inside

 Extract           1 SET              Extracted DNA dried along with S-RB 2 into pl bag and into orig pkg
                                      sld 3-20-14 AMY.


 Exhibit           110
 Packaging         Manilla env sld Clear tape "SB #982 10-23-13"

 Contents          Swab box "Johnnie Lee Savory... " contains 2 swabs
 Extract           1 swab in 1 SET


 !For Mlnls's and Yanalysls          --- -

     110A          Extracted DNA from Exhibit 110 labeled 110A. Extracted DNA dried and packaged in

                   plastic bag. 3-5 S-RB 1 dried and packaged in same plastic bag.
                   Plastic bag sealed in new manila envelope 3-20-14.




 Repackaging:                                       RBs packaged with:
                                                                                       Seal Date:    ?:>-'Z.O ~ ll\
 original resld.                                    S-RB 1 w/ Exhibit 110 in 110A
                                                    S-RB 2 w/ Exhibit 26A                Analyst:~




                                                                                        SDT-BOI 000544
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E}CperimP11t:AMY 1-22-14                           Experiment Results Report                       Applied Biosystems 7500

        ..                                                                                                        Instrument

QC Summary
    Total Wells                 96          Processed Wells             68          Targets Used              3
    Well Setup                  68          Flagged Wells               9           Samples Used              34
             Flag                    Name                   Frequency                       Locations
    AMPNC             Amplification in negative control           0
    BADROX            Bad passive reference signal                0
    BLFAIL            Baseline algorithm failed                   0
    CTFAIL            CT algorithm failed                         0
    EXPFAIL           Exponential algorithm failed                0
    HIGHQT            High Quantity of DNA                        0
    HIGHSD            High standard deviation in                  0
                      replicate oroup
    IPCCT             Internal PCR Control CT value               3          A1,B3,E1
    LOWQT             Low Quantity of DNA                         6          C1, C2, C9, C10, C11, C12
    MTFR              Ratio of Male to Female DNA                 0
                      auantities
    NOAMP             No amplification                            0
    NOISE             Noise higher than others in plate           0
    NOSIGNAL          No signal in well                           0
    NTCCT             Non-Template Control sample                 0
                      amplification
    OFFSCALE          Fluorescence is offscale                    0
    OUTLIERRG         Outlier in replicate group                  0
    R2                Low Standard curve R2 value                 0
    SLOPE             Non-optimal slope of the                    0
                      Standard curve
    SPIKE             Noise spikes                                0
    THOLDFAIL         Thresholding algorithm failed               0
    VINT              Y-lntercept                                 0




                                                                                                                  Lol1
User:GUEST                                                   12                             Printed:2014 Mar 12 2:24:59 PM
                                                                                        SDT-BOI 000545
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 Well Sample Name   Target Name     Task
                                             M77-197

                                                CT     Cr Mean
                                                                 1-22-14 J

                                                                 Quantity
                                                                                  fr
A1    Duo Std 1      Duo Human       Std       25.98    25.93      50.000
A1    Duo Std 1       DuolPC         Unk      31 .09    30.84
A1    Duo Std 1       Duo Male       Std      25.62     25.56      50.000
A2    Duo Std 1      Duo Human       Std      25.88     25.93      50.000
A2    Duo Std 1       DuolPC         Unk      30.60     30.84
A2    Duo Std 1       Duo Mate       Std      25.50     25.56     50.000
A3    Duo Std 2      Duo Human       Std      27.37     27.32     16.700
A3    Duo Std 2       Duo IPC        Unk      30.14     30.12
A3    Duo Std 2       Duo Male
                                                                      --
                                     Std       27.20    27.09     16.700
A4    Duo Std 2      Duo Human       Std      27.26     27.32     16.700
A4    Duo Std 2       DuolPC         Unk      30.10     30.12
A4    Duo Std 2       Duo Male       Std      26.97     27.09     16.700
A5    Duo Std 3      Duo Human       Std      28.85     28.81
-- Duo Std 3
AS                    DuolPC         Unk
                                                                   5.600
                                                                              -
                                              29.97     30.00
AS    Duo Std 3       Duo Male       Std      28.72     28.65      5.600
A6    Duo Std 3      Duo Human       Std      28.76     28.81      5.600
A6    Duo Std 3      DuolPC          Unk      30.02     30.00
AB-   Duo·Std·3      Duo·Mate-    ' -Std-   H a:sg- r 2S:6::,      ::>.b00-
A7    Duo Std 4      Duo Human       Std      30.81     30.69      1.850
A7    Duo Std 4       DuotPC         Unk      30.12     30.04
A7    Duo Std 4      Duo Male        Std      30.62     30.56      1.850
AB    Duo Std 4      Duo Human       Std      30.57     30.69      1.850
AB    Duo Std 4       DuotPC         Unk      29.97     30.04
AB    Duo Std 4      Duo Male        Std      30.49     30.56      1.850
A9    Duo Std 5     Duo Human        Std      31.64     32.30      0.620
A9    Duo Std 5       Duo IPC        Unk      29.79     29.99
A9    Duo Std 5      Duo Male        Std      31.77     32.13      0.620
A10   Duo Std 5     Duo Human       Std       32.96     32.30      0.620
A10   Duo Std 5       Duo IPC       Unk       30.20     29.99
A10   Duo Std 5      Duo Male        Std      32.48     32.13      0.620
A11   Duo Std 6     Duo Human        Std      34.10     33.92      0.210
A11   Duo Std 6       Duo IPC       Unk       29.85     29.92
A11   Duo Std 6      Duo Male        Std      34.37     33.91      0.210
A12   Duo Std 6     Duo Human        Std      33.74     33.92      0.210
A12   Duo Std 6       OuolPC        Unk       29.98     29.92
A12   Duo Std 6      Duo Male        Std      33.45     33.91      0.210
B1    Duo Std 7     Duo Human       Std       34.81     34.91      0.068
B1    Duo Std 7       Duo IPC       Unk       30.10     30.03
B1    Duo Std 7      Duo Male        Std      35.54     35.62      0.068
                                                                           -
B2    Duo Std 7     Duo Human       Std       35.02     34.91      0.068
B2    Duo Std 7       Duo IPC       Unk       29.96     30.03
B2    Duo Std 7      Duo Male        Std      35.70     35.62      0.068
B3    Duo Std 8     Duo Human        Std      38.39     37.50      0.023
B3    Duo Std 8       Duo IPC       Unk       31 .32    30.79
B3    Duo Std 8      Duo Male        Std      37.63     37.55     0.023
B4    Duo Std 8     Duo Human       Std       36.60     37.50     0.023
B4    Duo Std 8       Duo IPC       Unk       30.27     30.79
B4    Duo Std 8      Duo Mate       Std       37.47     37.55     0.023



                                                                              SDT-BOI 000546
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                                                                   M77-197                         1-22-14
                                                                                                              •
                                                                                                                  VI{
                                                                                                   Quantity       M:F Mean
     Well Sample Name          Target Name     Task        CT      CT Mean     Quantity             Mean          Ratio M:F

,_B5                            Duo Human       Unk       Undet
,_ 85      M77- 197 21A          DuolPC         Unk       30.89     31 .28
,_,...
  85


,_86
     86
           M77-197 21A
                                Duo Male
                                Duo Human
                                 DuolPC
                                                Unk
                                                Unk
                                                Unk
                                                          Undet
                                                          Undet
                                                          31 .68    31 .28
                                                                                                        -
                                                                                                                              -~
     86                         Duo Male        Unk       Undet

.,_~ 87    M77-197 22A
                                Duo Human
                                 DuolPC
                                                Unk
                                                Unk
                                                          Undet
                                                          30.25     30.1 8


                                                                                                                              ~
     B7                         Duo Male        Unk       Undet
     B8
--         M77-197 22A
                                Duo Human       Unk       Undet

- 88
  88
                                 Duo IPC
                                Duo Male
                                                Unk
                                                Unk
                                                          30.10
                                                          Undet
                                                                    30.18
                                                                                  - --                                  -
     89                         Duo Human       Unk       Undet
           M77-197 44A
                                                                                                              ~-
,_ 89                            Duo IPC        Unk       30.20     30.14
 - 89- > -
,_810
                                Duo·Male-
                                Duo Human
                                             i -Unk - -
                                                Unk
                                                          Unde,
                                                          Undet
                                                                                                            - ,__
                                                                                                                        -     - -- --
           M77-197 44A
,_ 810                           DuolPC         Unk       30.08     30.14
     B10                        Duo Male        Unk       Undet

,_B11                           Duo Human       Unk       Undet

,_811      M77-197 448           DuolPC         Unk       30.10     30.01
     811                        Duo Male        Unk       Undet
                                                                                                                              **
,_B12                           Duo Human       Unk       Undet
     B12   M77-197 448           DuolPC         Unk       29.92     30.01
1-
     B12                        Duo Male        Unk       Undet

,_ C1                           Duo Human       Unk       Undet     38.03
,--2!_     M77-197 59A           Duo IPC        Unk       30.28     30.29
                                                                                                                              non-reproducible

1-
     C1
     C2
                                Duo Male
                                Duo Human
                                                Unk
                                                Unk
                                                          Undet
                                                          38.03     38.03
                                                                             ·->----
                                                                                 0.012              0.012
                                                                                                              --
                                                                                                                              ..
                                                                                                                              human reading

 C2        M77-197 59A           Duo IPC        Unk       30.29     30.29
----                                                                                     -   >--
     C2                         Duo Male        Unk       Undet
,_C3
,_C3       M77-197 598
                                Duo Human       Unk       Undet
                                                                                         -   - -- -                     -

     C3
                                 Duo IPC
                                Duo Male
                                                Unk
                                                Unk
                                                          32.08
                                                          Undet
                                                                    31 .19
                                                                                 --
                                                                                                                              **
,_C4                            Duo Human       Unk       Undel
                                                                                  -
     C4    M77-197 59B           Duo IPC        Unk       30.29     31 .19
     C4
                          ,-                                                                        -- -
                                Duo Male        Unk       Undet

,_ C5                           Duo Human       Unk       Undet
,_ C5      M77-197 59D           Duo IPC        Unk       31 .71    31 .12
   cs                           Duo Male        Unk       Undet
                                                                                             ·>----                           ••
I~
                                Duo Human       Unk       Undet
 C6        M77-197 59D           Duo IPC        Unk       30.53     31.12
----
     cs                         Duo Male        Unk       Undet




                                                                                                       SDT-BOI 000547
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           ,.                                                                                                 , r-, . . .
                              I                                     M77~197                       1-22-14 cl    n;
                                                                                                  Quantity - M:F- - Mean ~       -----
 Well Sample Name                 Target Name   Task        CT          CT Mean       Quantity     Mean     Ratio M:F
     C7                            Duo Human    Unk        Undet
 -
                M77-197 59E
  -C7                               DuolPC      Unk        30.34         30.30
     C7                             Duo Male    Unk        Undel
                                                                                                                            **
     ca                            Duo Human    Unk        Undel
·-
   ca           M77-197 59E         OuolPC      Unk        30.26         30.30
                                                                                                                       -
·-
     ca                             Duo Male    Unk        Undet
     C9                            Duo Human    Unk        38.97         39.27         0.006          0.005
·-              M77-197 15A
   C9                               Duo IPC     Unk        30.00         30.44
·-
     C9                             Duo Male    Unk        Undet
                                                                                                                            46 ul = 0.25 ng
,_


·-
   C10
     C10
     C10
                M77-197 15A
                                   Duo Human
                                    Duo IPC
                                    Duo Male
                                                Unk
                                                Unk
                                                Unk
                                                           39.56
                                                           30.87
                                                           Undet
                                                                         39.27
                                                                         30.44
                                                                                       0.004          0.005

                                                                                                      --
                                                                                                                --
     C11                           Duo Human    Unk        Undet         38.61
                              -                                                                                             non-reproducible
                M77-197 15B
,_C11                               Duo IPC     Unk        31 .04        30.46                                              human reading
     C11                            Duo Male    Unk        38.71         38.86         0.010          0.009
           ,_                                                                                                               Male 46 ul = 0.4 ng
,-- c1r
                         -    -    ouoHuman     unk-   -   3a:s1-   -    3s:s1-   -    0:000          o:oos
                                                                                                                     ·-
                M77-197 15B         DuolPC      Unk        29.87         30.46                                              Amp this sample
,- C12                                                                                                                      perSWTLWEF
     C12                            Duo Male    Unk        39.02         38.86         0.008          0.009

,- D1                              Duo Human    Unk        Undet                                                ,-.-
,_ 01
                M77-197 59C         DuolPC      Unk        30.39         30.50                                              Extract more of
                                                                                                      --                    this sample w/
     D1                             Duo Male    Unk        Undet
                                                                                                                            additional ProK
,_ D2
,_D2            M77-197 59C
                              -    Duo Human
                                    OuolPC
                                                Unk
                                                Unk
                                                           Undet
                                                           30.61         30.50
                                                                                                                            step and PCI, Cl
                                                                                                                            cleanup.
     02                             Duo Male    Unk        Undet

,_ 03                              Duo Human    Unk        Undet
                1-22 MRB-1                                               30.45
·-D3
   -                                OuolPC      Unk        30.37
     03                             Duo Male    Unk        Undet
     D4                            Duo Human    Unk        Undet
·-
                1·22 MRB-1
·-
   D4
     04
                              -     OuolPC
                                    Duo Male
                                                Unk
                                                Unk
                                                           30.53
                                                           Undel
                                                                         30.45


     D5                            Duo Human    Unk        Undet
·-              1-22 MRB-2
     D5                             Duo IPC     Unk        30.31         30.63
·- D5                               Duo Male    Unk        Undet
                                                                                                  -


- 06            1-22 MRB-2
                                   Duo Human    Unk        Undet
     D6                             Duo IPC     Unk        30.95         30.63
-
     D6                             Duo Male    Unk        Undet
     D7
     07         1-22 MRB-3
                              -    Duo Human
                                    Duo IPC
                                                Unk
                                                Unk
                                                           Undet
                                                           30.23
                                                                          -
                                                                         30.46
-
     07                             Duo Male    Unk        Undet
                                                                                                      --
     08                            Duo Human    Unk        Undet
-               1-22 MRB-3
- 08                                DuolPC      Unk        30.69         30.46
                                                                                       --        _,_
     08                             Duo Male    Unk        Undet




                                                                                                           SDT-BOI 000548Llt-tJg
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'
              •                                                                                                      Ai,,
    --·-            -
                                                                           M77-197
                                                                           -
                                                                                                      i;   1-22-14 ,1ro
                                                                                                           Quantity M:F            Mean
    Well Sample Name _                 Target Name       Task      CT      CT Mean       Quantity           Mean    Ratio          M:F

·- 09              1-22 MRB-4
                                        Duo Human        Unk      Undel
        09                               Duo IPC         Unk      31 .45        30.72
·- 09                                    Duo Male        Unk      Undel
        010                             Duo Human        Unk      Undet
·-010              1-22 MRB-4            Duo IPC         Unk      29.98         30.72
·-
        010                              Duo Male        Unk      Undet

    - E1E1
                    M77-197
                                        Duo Human
                                         Duo IPC
                                                         Unk
                                                         Unk
                                                                  29.17
                                                                  32.55
                                                                                28.65
                                                                                31 .90
                                                                                          4.955             7.449
                                                                                                                                          duplicate readings
    --·-             1A1 F1
        E1                                                                                                                                ratio >1 .5
                                         Duo Male        Unk      Undel


,_E2
    -   E2
                    M77-197
                     1A1 F1
                                        Duo Human
                                         Duo IPC
                                                         Unk
                                                         Unk
                                                                  2B.14
                                                                  31.26
                                                                                28.65
                                                                                31 .90
                                                                                          9.944             7.449
                                                                                                                                          .
                                                                                                                                          Elevated IPC


        E2                               Duo Male        Unk      Undet

,_E3                                    Duo Human        Unk      Undet
,_E3              1-21 ORB 1 F1          DuolPC          Unk      30.25         30.32
        E3                               Duo Male        Unk      Undet

,-e-c
 _
              I-              -   -     cuoHuman         Unk-   r unde1                                                                                  --
                                                     I
,_ E4             1-21 ORB 1 F1          Duo IPC         Unk      30.39         30.32
        E4                               Duo Male        Unk      Undet

     -E5                                Duo Human        Unk      Undet
                  1-21 ORB 2 F1
,_E5                                     DuolPC          Unk      30.75         30.52
                                                                                                                              ·-
        ES                               Duo Male        Unk      Undet
        E6                              Duo Human        Unk      Undet
,_E6
        E6
                  1-21 ORB 2 F1          DuolPC
                                         Duo Male
                                                         Unk
                                                         Unk
                                                                  30.28
                                                                  Undel
                                                                                30.52
                                                                                                  -   +-
                                                                                                                    --
·--·-   E7
        E7        1·21 DRB 3 F1
                                  .__ Duo Human
                                         OuolPC
                                                         Unk
                                                         Unk
                                                                  Undet
                                                                  30.78         30.42                               .,-       -
        E7                               Duo Male        Unk      Undet
                                                                               --
        EB                              Duo Human        Unk      Undet
         -
                  1-21 □RB 3 F1
                                                                                                                          -
,_EB                                     Duo IPC         Unk      30.06         30.42
        EB                               Duo Male        Unk      Undet
        E9                              Duo Human        Unk      Undet
        E9        1-21 ORB 4 F1          Duo IPC         Unk      30.44         30.17
    -                             ,_
        E9                               OuoMale         Unk      Undet
               -
    -E10          1-21 ORB 4 F1
                                        Duo Human        Unk      Undel
        E10                              Duo IPC         Unk      29.90        30.17
-                                                                              --
        E10                              Duo Male        Unk      Undet

,_E11               M77-197
                                        Duo Human        Unk      36.93         36.93     0.026
                                                                                                  -   ~
                                                                                                            0.025                         Female only
        E11                              DuolPC          Unk      29.97        29.87                                                      detected
,-                   1A1 F2
                                                                                                                              -
        E11                              Duo Male        Unk      Undet
                                                                                                                                          Requested Y-
,_E12                                   Duo Human        Unk      36.94         36.93     0.025
                                                                                                      r·
                                                                                                            0.025                         STR analysis
                    M77-197
                                                                                                                                          due to biology
-E12
  -                  1A1 F2       ,-     DuolPC          Unk      29.76        29.87
                                                                                                                     c---
                                                                                                                                          screening
        Et2                              Duo Male        Unk      Undet




                                                                                                               SDT-BOI 000549
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                                                                                                                        rl v
                                                                                M77-197                     1-22-14 ,MO
                                                                                                            Quantity      M:F    Mean
                                                                                                                                                          -
     Well Sample Name                      Target Name      Task       CT       CT Mean       Quantity       Mean        Ratio   M:F
1-
   F1                                       Duo Human       Unk      30.78          30.89       1.658         1.540                      Female only
                     M77-197
         F1           1A1 F3                 Duo IPC        Unk       30.18         30.33                                                detected
1-

         F1                                  Duo Male       Unk      Undet
                                                                                                                       - --              Requested Y-
1-
   F2                                       Duo Human       Unk      31 .01         30.89       1.421         1.540                      STR analysis
                     M77-197
1-
         F2           1A1 F3                 OuolPC         Unk      30.48          30.33                                                due to biology
         F2                                  Duo Male       Unk      Undet                                                               screening
         F3                                 Duo Human       Unk      Undet
     -
                   1-21 ORB 1 F2
                                                            ---                                          -~ - -
   F3                                        DuolPC         Unk       30.88         30.43
1-
                                                                                                     -
         F3                                  Duo Male       Unk      Undel
 F4                                         Duo Human       Unk      Undet
---
,_ F4              1-21 ORB 1 F2             DuolPC         Unk      29.98          30.43
         F4                                  Duo Male       Unk      Undet
,_ F5                                       Duo Human       Unk      Undel
                   1-21 ORB 2 F2
,- F5                                        DuolPC         Unk      30.08          30.07
                                                                                                                   -    r----
         F5                                  Duo Male       Unk      Undet
 - Fe
,_            I-
                               -       -    ouo-Human- -    unK- ,_Undet
         F6       1-21 ORB 2 F2              DuolPC         Unk      30.06          30.07
         F6   I                              Duo Male       Unk      Undet
,_F7                                        Duo Human       Unk      Undel
,_F7              1-21 ORB 3 F2              DuolPC         Unk       30.14         30.13
         F7                                  Duo Male       Unk      Undet
,_FB                                        Duo Human       Unk      Undet
                  1-21 ORB 3 F2
,- F8                                        DuolPC         Unk      30.11          30.13
         FB                                  Duo Male       Unk      Undet

-F9-                                        Duo Human       Unk      Undet ,_,...    --t-
                                                                                                 -
,_F9              1-21 ORB 4 F2              DuolPC         Unk      29.91          29.91
         F9
                                   -
                                           ___ ---- ___
                                       ,__ Duo Male         Unk    ._ Undel
     F10                                    Duo Human       Unk      Undet
·-
                  1-21 ORB 4 F2
                                                                                                             --
     F10                                     DuolPC         Unk      29.92          29.91
     -F10                                    Duo Male       Unk      Undet
                                                                                            *inhibited, will need post extraction clean~ P
                                                                                                                                         __
                                                                                            Y-STR analysis being requested
                                                                                                                                                    -
                                                                                            Minifiler also requested.
-                              , _~-

                  - - --- ---          f---- - - - -       · - - - -- --~·                                                                                -
                                                                                            "*inhibited, will need post extraction clean-up
                                                                                            Minifiler requested.




                                                                                                                   SDT-BOI 000550
                        1:23-cv-01184-CRL-JEH # 318-9                           Filed: 04/22/24     Page 114 of 199
•Experiment:M77-197 2-3-14 AMvj;lf                            Experiment Results Report                            Applied Biosystems 7500
                                                                                                                                  Instrument


QC Summary
             •
    Total Wells                               96          Processed Wells              28           Targets Used              3
    Well Setup                                28          Flagged Wells                2            Samples Used              1! 4
         -                    -   -   -   -                                                    - - - - - - - - - -     -


                 Flag                              Name                   Frequency                        Locations
    AMPNC                     Amplification in negative control                  0
    BA0ROX                    Bad passive reference signal                       0
    BLFAIL                    Baseline algorithm failed                          0
    CTFAIL                    Cr algorithm failed                                0
    EXPFAIL                   Exponential algorithm failed                       0
    HIGHQT                    High Quantity of DNA                               0
    HIGHSD                    High standard deviation in                         0
                              replicate group
    IPCCT                     Internal PCR Control Cr value                      0
    LOWQT                     Low Quantity of DNA                                2          87,B8
    MTFR                      Ratio of Male to Female DNA                        0
                          1   Quantities
    NOAMP                     No amplification                                   0
    NOISE                     Noise higher than others in plate                  0
    NOSIGNAL                  No signal in well                                  0
    NTCCT                     Non-Template Control sample                        0
                              amplification
    OFFSCALE                  Fluorescence is offscale                           0
    OUTLIERRG                 Outlier in replicate group                        0
    R2                        Low Standard curve A2 value                       0
    SLOPE                     Non-optimal slope of the                          0
                              Standard curve
    SPIKE                     Noise spikes                                      0
    THOLDFAIL             Thresholding algorithm failed                         0
    YINT                      Y-lntercept                                       0




                                                                                                                                     Lort
User:GUEST                                                                  8                              Printed:2014 Feb 04 8:58:42 AM
                                                                                                      SDT-BOI 000551
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                                                                                            P/
I
    '                                                 M77-197            2-3-14AMYJ

         Well Sample Name   Target Name     Task        CT     CT Mean     Quantity

        A1    Duo Std 1      Duo Human       Std       24.74    24.66                 50
        A1    Duo Std 1       Duo IPC        Unk       30.49    30.27
        A1    Duo Std 1       Duo Male       Std       24.77    24.77                 50
        A2    Duo Std 1      Duo Human       Std       24.58    24.66                 50
        A2    Duo Std 1       Duo IPC        Unk       30.06    30.27
        A2    Duo Std 1       Duo Male       Std       24,76    24.77                 50
        A3    Duo Std 2      Duo Human       Std       26.27    26.76             16.7
        A3    Duo Std 2       Duo IPC        Unk       29.62    29.68
        A3    Duo Std 2       Duo Male       Std       26 50    26.92             16.7
        A4    Duo Sid 2      Duo Human       Std       27.24    26.76             16.7
        A4    Duo Std 2       DuolPC         Unk       29.75    29.68
        A4    Duo Std 2       Duo Male       Std       27.34    26.92             16.7
        AS    Duo Std 3      Duo Human       Std       27.99    27.96                 5.6
        AS    Duo Std 3       DuolPC         Unk       29.59    29.55
        AS    Duo Std 3       Duo Male       Std       28.27    28.23                 5.6
        A6    Duo Std 3      Duo Human       Std       27.92    27.96                 5.6
        A6    Duo Std 3       DuolPC         Unk       29.51    29.55
        AS-   Duo-Std~       Duo·Male-    ' -Std- -    2a:1a- f-28;23                 5:6
        A7    Duo Std 4      Duo Human       Std       29.47    29.34             1.85
        A7    Duo Std 4       Duo IPC       Unk        29.53    29.43
        A7    Duo Std 4      Duo Male        Std       30.10    29.92             1.85
        AB    Duo Sld4       Duo Human       Sid       29.21    29.34            1.85
        AB    Duo Sld4        Duo IPC       Unk        29.34    29.43
        AB    Duo Sid 4      Duo Male        Std       29.75    29.92            1.85
        A9    Duo Sid 5     Duo Human        Sid       30.82    30.78            0.62
        A9    Duo Sid 5       Duo IPC       Unk        29.39    29.37
        A9    Duo Sid 5      Duo Male        Std       31.58    31 .55           0.62
        A10   Duo Std 5     Duo Human        Std       30.75    30,78            0.62
        A10   Duo Std 5       Duo IPC       Unk        29.34    29,37
        A10   Duo Std 5      Duo Male        Sid       31.52    31.55            0.62
        A11   Duo Sid 6     Duo Human        Std       32.58    32.58            0.21
        A11   Duo Std 6       Duo IPC       Unk        29.34    29.38
        A11   Duo Std 6      Duo Male        Std       32.82    33.15            0.21
        A12   Duo Sld6      Duo Human       Std        32.58    32.58            0.21
        A12   Duo Std 6       DuolPC        Unk        29.43    29.38
        A12   Duo Sid 6      Duo Male       Std        33.48    33.15            0.21
        81    Duo Std 7     Duo Human       Std        34.21    34.13           0.068
        81    Duo Sid 7       Duo IPC       Unk        29.64    29.62
        81    Duo Sid 7      Duo Male       Sid        34.92    34.55           0.068
        B2    Duo Std 7     Duo Human       Std        34.04    34.13           0.068
        B2    Duo Std 7       Duo IPC       Unk       29.61     29.62
        82    Duo Std 7      Duo Male       Std       34.17     34.55           0.068
        83    Duo Std 8     Duo Human       Std       35.52     35.73           0.023
        B3    Duo Sid 8       Duo IPC       Unk       29.60     29.60
        B3    Duo Sid 8      Duo Male       Sid       36.50     36.08           0.023
        84    Duo Std 8     Duo Human       Std       35.94     35.73           0.023
        84    Duo Std 8       DuolPC        Unk       29.59     29.60
        B4    Duo Std 8      Duo Male       Sid       35.66     36.08           0.023




                                                                                SDT-BOI 000552
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                                                                                                               •.., l ,

                                                                      M77-197                2-3-14 AMY        V6
                                                                                               Quantity  M:F Mean
      Well Sample Name        Target Name           Task      CT      CT Mean       Quantity    Mean    Ratio M:F

 , B5
   _ M77-197 288               Duo Human            Unk      29.32     29.43           2.068         1.922
 I~
              Victim Connie     Duo IPC             Unk      29.56     29.64
      85         Cooper         Duo Male            Unk      Undet
                                                                                                                          amp ID+
- _ M77-197 288
, B6
      86                       Duo Human
                                DuolPC
                                                    Unk
                                                    Unk
                                                             29.53
                                                             29.72
                                                                       29.43
                                                                       29.64
                                                                                       1.777         1.922

      B6                        Duo Male            Unk      Undet
, B7
  _ M77-197 29A                Duo Human            Unk      38.23     37.92           0,004         0.005                In~ 16ul
  _ Victim James
, 87                            DuolPC              Unk      29.64    29.69                                               ~0.075 ng
      87        Robinson        Duo Male                     37.93     37.61                                              human
                                                    Unk                                0.007         0.009
                                                                                                                          ~0.143 ng male
, B8
  _                            Duo Human            Unk      37.60     37,92           0.006         0.005                Send for minifiler
 I~
              M77-197 29A       DuolPC              Unk      29.73    29.69                                               orYSTR
      88                        Duo Male            Unk      37.30    37.61            0.011         0.009                standard

, 89
  _ M77-197 93A                Duo Human            Unk      31 .09   31 .09           0.588         0.588
, _ William Douglas
  89                            DuolPC              Unk      29.60    29.56
 - B9                          Duo-Male-    <-Unk-         '-30:49- l-30:42            1-:--1 96     1:-259
                                                                                                                          amp ID+
      B10                      Duo Human            Unk      31.09    31 .09           0.588         0.588
 -
              M77-197 93A
 - B10                          DuolPC              Unk      29.52    29.56
      B10                      Duo Male             Unk     30.34     30.42            1.321         1.259
,811
  _ M77-197 96A                Duo Human            Unk     31.32     31.16            0.497         0.564
,_
 B11  Noyalee                   Duo IPC             Unk     29.51     29.42
      B11      Robinson        Duo Male             Unk     Undet
                                                                                                                          amp ID+
,B12
  _                            Duo Human            Unk     30.99     31.16           0.632          0.564
, _ M77-197 96A
 B12                            DuolPC              Unk     29.34     29.42
      812                      Duo Male             Unk     Undet

     .!'!.. M77-197 SRB-11 Coo ~"!!!" +-I Unk
           0
                                                            Undet
                 HAIR
                                          -
                                                    Unk     29.80     29.82
                                                                                -                  ---
      C!._                      Duo IPC
                                                -
                                                            Undet
                                                                                                                 --
      C1
      C2
                  --    -- Duo
                           - Human
                               Duo Male
                               -            I       Unk
                                                    Unk     Undet
                                                                     ·--
             M77-197 SRB-1
                                                            29.83     29.82
- C2                            Duo IPC
                                            Pu;-
      C2
                 HAIR
                               Duo Male               k     Undet                                          i
,...£L M77-197 SRB-2          Duo Human             Unk     Undet
, C3
  _              HAIR           DuolPC              Unk     29.88     29.89
      C3                       Duo Male             Unk     Undet
I~
                              Duo Human             Unk     Undet
             M77-197 SRB-2
, C4
  _              HAIR           DuolPC              Unk     29.90     29.89
      C4                       Duo Male             Unk     Undet
,_
,_


,_
1-




                                                                                                                                          /~

                                                                                                         SDT-BOI 000553             LI\Y #
                     1:23-cv-01184-CRL-JEH # 318-9                 Filed: 04/22/24    Page 117 of 199
1   Experime nt:Mn-197 2-14-14A 'JN                 Experiment Results Report                        Applied Biosystems 7500
    AMY                      ?-Q                                                                                    Instrument

    QC Sum mary
       Total Wells                96           Processed Wells              22        Targets Used              3
       Well Setup                 22           Flagged Wells                17        Samples Used              11
              Flag                     Name                    Frequenc y                    Locations
        AMPNC           Amplification in negative control           0
        BADROX          Bad passive reference signal                0
       BLFAIL           Baseline algorithm failed                   0
       CTFAIL           CT algorithm failed                         0
       EXPFAIL          Exponential algorithm failed                0
       HIGHQT           High Quantity of DNA                        0
       HIGHSD           High standard deviation in                  0
                        replicate moup
       IPCCT            Internal PCR Control CT value               2        B5, B6
       LOWQT            Low Quantity of DNA                         2        B7, 88
       MTFR            Ratio of Male to Female DNA                  0
                       quantities
       NOAMP           No amplification                             0
       NOJSe -        - t-Joise nigher than others in plate         0
                                                                                 -                                      -
       NOSIGNAL        No signal in well                            0
       NTCCT           Non-Template Control sample                  0
                       amplification
       OFFSCAL E       Fluorescence is offscale                     0
       OUTLIER RG      Outlier in replicate group                   0
       R2              Low Standard curve A 2 value                 0
       SLOPE           Non-optimal slope of the                    13        A1 , A2, A3,A5,A6, A7, A8, A9, A10, A12,
                       Standard curve                                        B1,B2,B3
       SPIKE           Noise spikes                                0
       THOLDFAIL       Thresholding algorithm failed               0
       YINT            Y-lntercept                                 0




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                                                                                        SDT-BOI 000554 ~ 0->Jo
                        1:23-cv-01184-CRL-JEH # 318-9          Filed: 04/22/24        Page 118 of 199
• Experime nt:Mn-197 2-14-14.- {)N           Experiment Results Report

     .
                                                                                                      Applied Biosystems 7500
  AMY                        fV   0                                                                                  Instrument
  ,
 Standard Curve
                                Standard Curve (Target: Duo Human)
                37.0
                36.5
                36.0
                35.5
                35.0
                34.5
               34.0
               33.5
               33.0
               32.5
               32.0
        'P
        ~ 31.5
        ~ 31~0-
        >-


       i 30.51
       0


        ~
               30.0
               29.5
       .c
       r w.o
               28.5
               28.0
               27.5
               27.0
               26.5
               26.0
               25.5
               25.0
               24.5
               24.0                                                                                                ■
                  001    OG:2         01    02                            2   3   :   5      to        al    .)J

                                                               Quantity
      ~.n:I

           •     Standard
  r
                                                 Y-lntercept:30.662                               A2:0.993


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                                                                                          SDT-BOI 000555 cl,~~
                       1:23-cv-01184-CRL-JEH # 318-9           Filed: 04/22/24         Page 119 of 199
• Experitnent:MTT-197 2-14-14(,Lv '          Experiment Results Report                                 Applied Biosystems 7500
 AMY                           r 0                                                                                    Instrument

                               Standard Curve (Target: Duo Male)
             37.5
             37.0
             36.5
             36.0
             35.5
             35 .0
             34.5
             34.0
             33.5
             33 .0
             32.5
       'P
       8 32.0
       ~
       c::; 31.5
       >
       <.> 31.0
     - -0
       _g 30.5
       (I)
       Q)
       ~
             30.0
       .c 2g_5
       ._

             29.0
             28.5
             28.0
             27.5
             27.0
             26.5
             26.0
             25.5
             25.0
             24.5
                                                                                                                 ■
             24.0
                0.01    O.Q2          o.t   02                            2   3   .l   5      10                         100
                                                               Quantity




                                                 Y-lntercept:31 .086                               R2:0.999




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                                                                                           SDT-BOI 000556121:b
                      1:23-cv-01184-CRL-JEH # 318-9            Filed: 04/22/24      Page 120 of 199
•       •
    .       '                                              M77-197              2-14-14AMY       ~
                Well Sample Name   Target Name     Task       CT      CT Mean    Quantity

                A1    Duo Std 1     Duo Human       Std       24.89     24.61               50
                A1    Duo Std 1      DuolPC        Unk        30.81     30.51
                A1    Duo Std 1      Duo Male       Std       24.96     24.75               50
                A2.   Duo Std 1     Duo Human       Std       24.33     24.61               50
                A2    Duo Std 1      Duo IPC       Unk        30.22     30.51
                A2    Duo Std 1      Duo Male       Std       24.53     24.75           50
                A3    Duo Std 2     Duo Human       Std       26.14     26.14          16.7
                A3    Duo Std 2      Duo IPC       Unk        29.67     29.67
                A3    Duo Std 2      Duo Male       Std       26.52     26.52          16.7
                A4    Duo Std 2     Duo Human       Std
                A4    Duo Std 2      Duo IPC        Unk
                A4    Duo Std 2      Duo Male       Std
                A5    Duo Std 3     Duo Human       Std      28.15    27.99             5.6
                A5    Duo Std 3      DuolPC         Unk      29.64    29.62
                A5    Duo Std 3      Duo Male       Std      28.47    28.34             5.6
                A6    Duo Std 3     Duo Human       Std      27.84    27.99             5.6
                A6    Duo Std 3      Duo IPC        Unk      29.60    29.62
                A6-   Duo-Std-3      Duo·Male-   ' -Std-   1-28.20 ' -28,:·             5.6
                A7    Duo Std 4     Duo Human       Std      29.42    29.61            1.85
                A7    Duo Std 4      Duo IPC        Unk      29.46    29.51
                A7    Duo Std 4      Duo Male       Std      30.10    30.11            1.85
                AS    Duo Std 4     Duo Human       Std      29.79    29.61            1.85
                AS    Duo Std 4      Duo IPC        Unk      29.55    29.51
                AS    Duo Std 4      Duo Male       Sid      30.13    30.11            1.85
                A9    Duo Std 5     Duo Human       Std      31.36    31.30            0.62
                A9    Duo Std 5      Duo IPC        Unk      29.47    29.44
                A9    Duo Std 5      Duo Male       Std      31.78    31.87            0.62
                A10   Duo Std 5     Duo Human       Std      31.25    31.30            0.62
                A10   Duo Std 5      Duo IPC        Unk      29.41    29.44
                A10   Duo Std 5      Duo Male       Std      31.96    31.87            0.62
                A11   Duo Std 6     Duo Human       Std
                A11   Duo Std 6      Duo IPC        Unk
                A11   Duo Std 6      Duo Male       Std
                A12   Duo Std 6     Duo Human       Std       33.29     33.29          0.21
                A12   Duo Std 6      Duo IPC        Unk       29.50     29.50
                A12   Duo Std6       Duo Male       Std       33.79     33.79          0.21
                B1    Duo Std 7     Duo Human       Std       35.35     35.32         0.068
                B1    Duo Std 7      DuolPC         Unk       29.73     29.68
                B1    Duo Std 7      Duo Male       Std       35.32     35.28         0.068
                B2    Duo Std 7     Duo Human       Sid       35.30     35.32         0.068
                B2    Duo Std 7      DuolPC         Unk       29.62     29.68
                B2    Duo Std 7      Duo Male       Std       35.25     35.28         0.068
                B3    Duo Std 8     Duo Human       Std       35.82     35.82         0.023
                B3    Duo Std 8      Duo IPC        Unk       29.73     29.73
                B3    Duo Std 8      Duo Male       Std       37.24     37.24         0.023
                B4    Duo Std 8     Duo Human       Std
                B4    Duo Std 8      Duo IPC        Unk
                B4    Duo Std 8      Duo Male       Std




                                                                                      SDT-BOI 000557
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                                                   M77-197
                                                                        Quantity   M:F- Mean
Well Sample Name      Target Name     Task    Cr   Cr Mean   Quantity    Mean      Ratio M:F

    B5               Duo Human      Unk
                                  Undet
         M77-197 59C
    B5
            ext 2    Duo IPC        Unk
                                  Undet                                                        Inhibited
B5                   Duo Male       Unk
                                  Undet
                                                                                               dilute and rerun
B6 M77_197 SSC Duo Human Unk      Undet                                                        (extract lightly
B6
       ext2      Duo IPC    Unk   Undet                                                        colored)
B6               Duo Male   Unk   Undet
                 Duo Human Unk    Undet   39.73
   RB-1 2-11-14 Duo IPC     Unk   29.72   29.69                                                non-reproducible
                Duo Male    Unk   Undet                                                        reading
                                                                                               •send for
~               Duo Human Unk     39.73   39.73   0.003 0.003                                  minifiler with 59C
B8 RB-1 2-11-14 Duo IPC     Unk   29.66   29.69                                                Extraction 2
BB              Duo Male    Unk   Undet
B9              Duo Human +~nk ___Undet 1          __ j     -~ _
B9



-
   RB-2 2-11-14 ~
__s9__
 B10
                      PC  _ Un~
                       Ouo_M~I
                       Duo Human     Unk
                                                1
                                  29.76 ~ 9.74_ - - ~ -
                                     Unk     Undett _
                                             Undet
                                                        ~~- __ _
                                                           -   _ _
                                                                1
                                                        -+--- - - -
                                                                               _   __    l
 B10     RB-2 2-11-14 D1!_o IPC      Unk _   29.72 __29.74   _
                      1
 B10                   Duo Male     IUnk     Undet




                                                                            SDT-BOI 000558
• Experiment:DM 2-17-14
                        i~
                       1:23-cv-01184-CRL-JEH # 318-9                           Filed: 04/22/24   Page 122 of 199
                                                           Experiment Results Report                               Applied Biosystems 7500
                                                                                                                                  Instrument
           •
 QC Summary                                                                                      M77-19 7 ~~
     Total Wells                      96               Processed Wells                66         Targets Used                   3
     Well Setup                       66               Flagged Wells                  8          Samples Used                   33
                                                   -              -    -                                 -   -              -

               Flag                         Name                       Frequency                             Locations
     AMPNC                  Amplification in negative control                     0
    ·sAOROX                 Bad passive reference signal                          0
     BLFAIL                 Baseline algorithm failed                             0
     CTFAIL                 CT algorithm failed                                   0
     EXPFAIL                Exponential algorithm failed                          0
     HIGHQT                 High Quantity of DNA                                  2       011, 012
     HIGHSD                 High standard deviation in                            0
                            replicate group
     IPCCT                  Internal PCR Control CT value                         0
     LOWQT                  Low Quantity of DNA                                   6       B5, B6,87,B8,B 11,B12
     MTFR                    Ratio of Male to Female DNA                          0
                            1auantities
     NOAMP                   No amplification                                     0
     NOISE-           -     No1s·e-hlghe-rthartotliers m plate                    0
     NOSIGNAL               No sional in well                                     0
     NTCCT                  Non-Template Control sample                           0
                            amplification
     OFFSCALE               Fluorescence is offscale                              0
    OUTLIERRG               Outlier in replicate group                            0
    R2                      Low Standard curve R2 value                         0
    SLOPE                   Non-optimal slope of the                              0
                            Standard curve
    SPIKE                   Noise spikes                                        0
    THOLDFAIL               Thresholding algorithm failed                      0
    VINT                   Y-Intercept                                         0




                      All samples run on this plate:
                          M13-2845    2A                   M12-4398        2                 M77-197     ~9C
                          M13-3787    2,3                   M13-208        3
                          M14-017     8                    M13-3355        3
                          M14-097     1                    M13-3787        1, 4
                          M14-143     3A,3B                 M14-097        5
                          M14-178     4A                    M14-178        5A, 58
                          M14-387     1A                    M14-387        2
                             2·14 RB-1 - RB-4                     2·14 S·RB




User:GUES T                                                                1                            Printed:2014 Feb 18 11:12:04 AM
                                                                                                       SDT-BOI 000559
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                                                                                      ~
                                                                                  !

                                                   M77-197             2-18-14 j

 Well Sample Name      Target Name     Task          CT      CT Mean   Quantity

A1    Duo Std 1         Duo Human       Std
A1    Duo Std 1          DuolPC         Unk
A1    Duo Std 1          Duo Male       Std
A2    Duo Std 1         Duo Human       Std         24.75     24.75     50.000
A2    Duo Std 1          DuolPC         Unk         30.25     30.25
A2    Duo Std 1          Duo Male       Std         24.88     24.88     50.000
A3    Duo Std 2         Duo Human       Std         26.60     26.79     16.700
A3    Duo Std 2          DuolPC         Unk         29.97     29.94
A3    Duo Std 2         Duo Male        Std         26.76     26.80     16.700
A4    Duo Std 2         Duo Human       Std         26.97     26.79     16.700
A4    Duo Std 2          DuolPC         Unk         29.92     29.94
A4    Duo Std 2         Duo Mate        Std         26.84     26.80     16.700
A5    Duo Std 3         Duo Human       Std         28.14     28.22      5.600
A5    Duo Std 3          Duo tPC        Unk         29.72     29.81
A5    Duo Std 3         Duo Male        Std         28.38     28.38      5.600
A6    Duo Std 3         Duo Human       Std         28.31     28.22      5.600
AS    Duo Sid 3          DuotPC        Unk          29.90     29.81
AS-   Duo.Std"          nuo-Male-    - -Std-   -    28,38- f-28:aB       :.600
A7    Duo Std 4         Duo Human       Std         29.45     29.50      1.850
A7    Duo Std 4          Duo IPC       Unk          29.71     29.68
A7    Duo Std 4         Duo Male        Std         29.68     29.79      1.850
AB    Duo Sid 4        Duo Human        Std         29.56     29.50      1.850
AB    Duo Sid 4          Duo IPC       Unk          29.64     29.68
AB    Duo Sid 4         Duo Male        Std         29.90     29.79      1.850
A9    Duo Std 5        Duo Human        Std         31 .06    30.99      0.620
A9    Duo Std 5          DuotPC        Unk          29.65     29.61
A9    Duo Std 5         Duo Male        Std         31 .28    31 .24     0.620
A10   Duo Std 5        Duo Human        Std         30.93     30.99      0.620
A10   Duo Std 5          DuolPC        Unk          29.57     29.61
A10   Duo Sid 5         Duo Male        Std         31.19     31 .24     0.620
A11   Duo Std 6        Duo Human        Std         32.32     32.28      0.210
A11   Duo Std 6          DuolPC        Unk          29.61     29.60
A11   Duo Sid 6         Duo Male        Std         33.01     33.11      0.210
A12   Duo Std 6        Duo Human       Std          32.25     32.28      0.210
A12   Duo Sid 6          Duo IPC       Unk          29.59     29.60
A12   Duo Std 6         Duo Male       Std          33.22     33.11      0.210
81    Duo Std 7        Duo Human       Std          34.18     33.94     0 .068
B1    Duo Std 7          DuolPC        Unk          29.84     29.84
81    Duo Std 7         Duo Mate       Std          34.85     34.75     0.068
82    Duo Std 7
                  --   Duo Human       Std          33.70     33.94     0.068
82    Duo Std 7          DuolPC        Unk          29.84     29.84
-·
82    Duo Std 7         Duo Male       Std          34.64     34.75     0.068
83    Duo Std 8        Duo Human       Sid          35.76     35.42     0.023

-B3   Duo Sid 8          Duo IPC       Unk         29.84      29.81
B3    Duo Sid 8         Duo Male       Std          35.74     35.65     0.023
B4    Duo Std 8        Duo Human       Std         35.08     35.42      0.023
84    Duo Std 8          Duo IPC       Unk         29.77     29.81
B4    Duo Std 8         Duo Male       Sid         35.57     35.65      0.023




                                                                                 SDT-BOI 000560
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                                                                                        Ii
                                                    M77-197                             ✓u
                                                                             2-18-14
                                                                             Quantity   M:F Mean
Well   Sample Name     Target Name   Task    CT     Cr Mean   Quantity        Mean      Ratio M:F

, F3
  _                     Duo Human    Unk    Undet
         M77-197
 F3                      Duo IPC     Unk
·F3-   59C 2ND 1:10                         29.96    29.96
                         Duo Male    Unk    Undet
,F4-     M77-197
                        Duo Human    Unk    Undet
,F4-   59C 2ND 1:10      DuolPC      Unk    29.96    29.96
 F4                     Duo Male     Unk    Undet
,FS-     M77-197
                        Duo Human    Unk    Undet
, FS
  _    59C 2ND 1:100     DuolPC      Unk    29.99    30.03
 FS                     Duo Male     Unk    Undet
,F6-     M77-197
                        Duo Human    Unk    Undet
, F6
  _    59C 2ND 1:100     OuolPC      Unk    30.07    30.03
 F6                     Duo Male     Unk    Undet
                                                                         .
                                                               ""'-'-VV.- .s.




                                                                                 SDT-BOI 000561
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                    1:23-cv-01184-CRL-JEH # 318-9                   Filed: 04/22/24   Page 125 of 199
                                                      Experiment Results Report                      Applied Biosystems 7500
                                                                                                                    Instrument

 QC Summ ary
     Total Wells                    96          Processed Wells               24      Targets Used              3
     Well Setup                     24          Flagged Wells                 0       Samples Used              12
                                     -                                   --           -                              -

             Flag                        Name                   Frequency                    Locations
     AMPNC                Amplification in negative control          0
     BADROX               Bad passive reference signal               0
     BLFAIL               Baseline algorithm failed                  0
     CTFAIL               CT algorithm failed                        0
     EXPFAIL              Exponential algorithm failed               0
     HIGHQT               High Quantity of DNA                       0
     HIGHSD               High standard deviation in                 0
                          replicate group
     IPCCT                Internal PCR Control CT value              0
     LOWQT            Low Quantity of DNA                            0
     MTFR             Ratio of Male to Female DNA                    0
                      ouantities
                      1



     NOAMP            No amplification                               0
     NOJS~            Noiseliigne r than others in plate             0
     NOSIGNAL         No signal in well                              0
     NTCCT            Non-Template Control sample                    0
                      amplification
    OFFSCALE          Fluorescence is offscale                       0
    OUTLIERRG         Outlier in replicate group                     0
    R2                Low Standard curve R2 value                    0
    SLOPE             Non-optimal slope of the                       0
                      Standard curve
    SPIKE             Noise spikes                                   0
    THOLDFAIL         Thresholding algorithm failed                  0
    VINT              Y -Intercept                                  0




User:GUES T                                                     8                           Printed:2014 Mar 05 1:28:07 PM
                                                                                          SDT-BOI 000562
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                                                          M77-197                 3-5-14AMl ~

    Well Sample Name             Target Name      Task        CT       CT Mean     Quantity

A1      Duo Std 1                 Duo Human        Std        24.56       24.51           50
A1      Duo Std 1                  Duo IPC        Unk         30.62       30.31
A1      Duo Std 1                  Duo Male        Std        24.78       24.75           50
A2      Duo Sid 1                 Duo Human        Std        24.46       24.51           50
                     -·
A2      Duo Std 1                  Duo IPC        Unk         30.00       30.31
A2      Duo Std 1                  Duo Male        Std
                                                          -
                                                              24.71
                                                                        -24.75
                                                                          --
A3      Duo Std 2
                     -            Duo Human        Std        26.11
                                                                                         50
                                                                          26.19         16.7
A3      Duo Std 2                  Duo IPC        Unk         29.72       29.72
A3      Duo Std 2                  Duo Male        Std        26.48       26.53
A4
                                                                                       -16.7
                                                                                         -
        Duo Std 2                 Duo Human        Std        26.28       26.19         16.7
A4      Duo Std 2                  Duo IPC        Unk         29.72       29.72
A4      Duo Std 2                  Duo Male        Std        26.58       26.53         16.7
AS      Duo Std 3                 Duo Human        Std        28.14       27.98          5.6
AS      Duo Std 3                  DuolPC         Unk         29.71       29.61
AS      Duo Std 3                 Duo Male         Std        28.30       28.30          5.6
A6      Duo Std 3                 Duo Human        Std        27.83       27.98          5.6
A6      Duo Sid 3                  Duo IPC        Unk         29.51      29.61
A6-
                                                                                       --
        E>uo·Sld-3                Duo-Male-    ' -S,..,       LS:31 l - 28:30            5:6
A7      Duo Std 4                 Duo Human       Std         29.50       29.61         1.85
A7      Duo Std 4                  Duo IPC        Unk         29.62       29.61
A7      Duo Sid 4                 Duo Male        Std         29.92       30.01         1.85
AS      Duo Std 4                Duo Human        Std         29.72      29.61          1.85
AS      Duo Sid 4                  Duo IPC        Unk         29.59      29.61
AS      Duo Sid 4                 Duo Male        Std         30.11      30.01          1.85
A9      Duo Sid 5                Duo Human        Std         31 .20     31 .08         0.62
A9      Duo Std 5                  Duo IPC        Unk         29.55      29.51
A9      Duo Std 5                 Duo Male        Std         31 .73     31 .57         0.62
A10     Duo Std 5                Duo Human        Std         30.95      31.08         0.62
A10     Duo Std 5                  Duo IPC        Unk         29.47      29.51
                                                                                     --~
A10     Duo Std 5         _,__    Duo Male        Std         31 .41     31.57
                                                                                      -0.62
                                                                                         -
A11     Duo Sld6                 Duo Human        Std         32.22      32.45          0.21
A11     Duo Std 6                  Duo IPC        Unk         29.38      29.45
                                                                                       --
A11     DuoStd6                   Duo Male        Std         32.94      33.03          0.21
A12     Duo Sid 6                Duo Human        Std         32.69      32.45          0.21
                                                                                      --
A12     Duo Std 6                  Duo IPC        Unk         29.52      29.45
A12     Duo Sid 6                 Duo Male        Std         33.11      33.03          0.21
B1      Duo Std 7                Duo Human        Std         33.58      34.05         0.068
B1      Duo Std 7                  Duo IPC        Unk         29.66      29.65
B1      Duo Std 7                 Duo Male        Std         34.25      34.90         0.068
82      Duo Std 7                Duo Human        Std         34.52      34.05         0.068
82      Duo Std 7                  Duo IPC        Unk         29.64      29.65
B2      Duo Std 7
                                                                                      --
                                  Duo Male        Std         35.54      34.90         0.068
B3      Duo Std 8                Duo Human        Std         34.83      35.45         0.023
-
B3      Duo Std 8                  DuolPC         Unk         29.70      29.59
B3      Duo Std 8                 Duo Male        Std         36.70      36.15         0.023
84      Duo Std 8                Duo Human        Std         36.08      35.45         0.023
-
84      Duo Std 8                  DuolPC         Unk         29.48      29.59
B4      Duo Std 8                 Duo Male        Std         35.59      36.15         0.023



                                                                                         SDT-BOI 000563
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                                                                                      ~--':>-ll{i r n
                                                               M77-197               ;! 9-tAMY
                                                                                                  ~
                                                                                      Quantity     M:F    Mean
     Well Sample Name          Target Name     Task    CT      CT Mean   Quantity      Mean       Ratio   M:F

       BS
     -BS        M77-197 26A
                                Duo Human      Unk     34.14     34.28       0.065        0.059
      -BS                        Duo IPC
                                 Duo Male
                                                Unk    29.70
                                                       33.80
                                                                 29.76
                                                Unk              34.06      0.130         0.111                  2.72ng human
 ,_B6                           Duo Human       Unk    34.42     34.28      0.053         0.059                  DNA in 46ul
 ,- B6          M77-197 26A      Duo IPC        Unk    29.82     29.76
      B6                         Duo Male       Unk    34.31     34.06      0.092         0.111


 ~
                                Duo Human       Unk    26.12     26.13     18.700        18.533
      B7        M77-197 110      DuolPC         Unk    29.66     29.66
      B7                        Duo Male        Unk    26.67     26.68     15.626        15.451                  dilute 1:100 for
,-    BB                        Duo Human       Unk    26.14     26.13     18.367        18.533                  amp
,_ 88
                M77-197 110      Duo IPC        Unk    29.67     29.66
      BB                        Duo Male        Unk    26.70     26.68     15.276        15.451
,_B9                           Duo Human        Unk Undet
                S-RB1 3-5-14                           29.56
,- B9                            Duo IPC        Unk              29.52
 _eg_
            -                   .nuo.Male-   , -Unk- Undet
                                                Unk Undet
,- B10                         Duo Human
     810        S-RB1 3-5-14     DuolPC         Unk    29.48     29.52
1-
     B10                        Duo Male        Unk Undet

,-   B11                       Duo Human        Unk  Undet
     811        S-RB2 3-5-14     DuolPC         Unk    29.61    29.49
·-
     811                        Duo Male        Unk Undet

,-   B12                       Duo Human        Unk Undet
 B12            S-RB2 3-5-14     Duo IPC        Unk    29.37    29.49
 - -
     B12                        Duo Male        Unk Undet




                                                                                           SDT-BOI 000564
            1:23-cv-01184-CRL-JEH # 318-9 Filed: 04/22/24                                                Page 128 of 199
                           ILLINOIS STATE POLICE                                                             Case# M77-197
                                      Division of Forensic Services                                                                   ------
                                      Forensic Sciences Command                                                      Initials                AMYM('
                               ldentifiler Plus AMPLIFICATION FORM                                                        Date _...;.;.:~::..:....;....;__
                                                                                                                                     1/22/2014
DNA 13 (11/11)
Each amplification set (different date and/or time of set up) requires its own worksheet. Mark column(s) for kit


                                                           [DNA]                              Amount             Amount                    Estimated
          Sample                      ID+                                     Dil'n for
                                                           (ng/µI)                              of                 of                       Amount
                                                                               Amp
                                                                                              DNA (µI)           H20 (µI)                 of DNA (ng)
                                                                              46ul to
   M77-197           158          1         org                 0.009          10ul                10                 0                      0.4
                                                                                                          L
                                                                              46ul to                        I
    MRB-1            1-22        2          blue       ----      ....._        10ul                10                 0                       0

    positive control             3          pink
                                                       -----     ----           nla                5                  5                      0.5

    negative control             4        green        ---- I    ----
                                                                 -              nla                0                 10                       0

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             1:23-cv-01184-CRL-JEH # 318-9                                      Filed: 04/22/24                         Page 129 of 199
                                         ILLINOIS STATE POLICE


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                                                                                                                              Case#           M77-197
                                         Division of Forensic Services
                                         Forensic Sciences Command                                                            Initials           AMY          1~
                                   ldentifiler Plus AMPLIFICATION FORM                                                             Date        3/7/2014
DNA 13 (11/11)
Each amplification set (different date and/or time of set up) requires its own worksheet. Mark column(s) for kit


                                                              (DNA]                               Amount                    Amount             Estimated
           Sample                        ID+                                         Dil'n for
                                                              (ng/µI)                               of                        of                Amount
                                                                                      Amp
                                                                                                  DNA (µI)                  H20 (µI)          of DNA (ng)

    M77-197           288           1      ___Eig_                 1.9                1:10                 8                   2                    1.5

                      93A           2          blue                0.59                n/a                2.6                 7.4                   1.5

                      96A           3          pink                0.56                n/a                2.7                 7.3                   1.5
-                                                                                                                                                             -
    SRB-1 hair                      4          green               ND                  n/a                3                    7                     0

    M77-197           26A           8      ~     g                 0.06              25- >10              10                   0                    1.5            *

                       110          9          blue
                                                             - - 18.5                1:100                4.5                 5.5               0.8
                                                                                                                                                - - -
        S-RB1 3-5-14                10         pink                ND                25->10               10                   0                    0              *

-    positive control               11         green         - -                 ·-
                                                                                       n/a                5                    5                    0.5

_   n~gative control                12 ~         g           -- -                      n/a                0                   10                    0

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* more than 1/2 of extracted DNA consumed, additional blanks and sample remains
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      tg Biosystems                      Mn-197 Run 1-23-14 AMY/Ni
    GeneMappi;tr ID v3.2

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Thu Jan 23,2014 12:29PM, CST                                                          Printed by: gmld                                                B3~age1of2
                  1:23-cv-01184-CRL-JEH # 318-9 Filed: 04/22/24                                              Page 131 of 199
         ·Applied
          Biosystems
 GeneMapper ID v3.2
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   Sam l11Flle                                                                      Sam eName
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                   1:23-cv-01184-CRL-JEH # 318-9 Filed: 04/22/24                                                                             Page 132 of 199
         ,J\pplied
          Biosystems                        M77-197 3-7-14 A M ~
 G~neMapP1!r ID v3.2

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                                                                            ILLINOIS STATE POLICE                                                                               M77-197           •

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                  ~                                                                       Division of Forensic Services
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             DNA 14 (11/11)                                                                ID+ STR SUMMARY FORM                                            Date                  1/23/2014
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             DNA 14 (11/11)
                                                                                            Division of Forensic Services
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                             26A Swabbing of blood tube                                                                                                    110 -
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                                                           Connie Cooper std from
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                                                                                         William Douglas std from
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                                                                                                                      Noyalee Robinson std
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             D8S1179              13, 14, 15, 16                   13         15                 12        16                           15               13      14
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              1:23-cv-01184-CRL-JEH # 318-9              Filed: 04/22/24     Page 167 of 199

                                       ILLINOIS STATE POLICE
                                       Division of Forensic Services
                                     Morton Forensic Science Laboratory
                                          1810 South Main Street
                                        Morton, Illinois 61550-2983
                                  (309) 284-6500 (Voice)* 1-(800) 255-3323 (TDD)
Pat Quinn                                                                                 Hiram Grau
Governor                                     January 17, 2014                                Director
                                          LABORATORY REPORT

 CRJME SCENE UNIT
 PEORJAPD
 600 SOUTH WEST ADAMS STREET
 PEORIA IL 61602
                                                                 Laboratory Case #M77-000197
                                                                 Agency Case #77-1588

 OFFENSE:       Murder
 SUSPECT:       Johnnie Lee Savory
 VICTIMS:       Connie Cooper/James Robinson

 The..follmYing..e.ridence_was...submitted.to the..Morton.Eorensic.-Science-Laborator.y-by..Officer Scott
 Bowers on November 7, 2013:

 EXHIBIT            DESCRIPTION                                 FINDINGS
   IA               Vaginal swabs reported to be from           Not tested at this time. Preserved as Exhibit lAI.
                    Connie Cooper

    15              Light switch cover from bathroom            Blood indicated on two areas of cover. Portions
                                                                preserved as Exhibits 15A and 15B.

    21              Fingernail scraping reported to be from Miscellaneous debris observed on wooden stick.
                    right index finger of Connie Cooper     Portion of stick preserved as Exhibit 2 lA.

    22              Fingernail scraping reported to be from Miscellaneous debris observed on wooden stick.
                    right ring finger of Connie Cooper      Portion of stick preserved as Exhibit 22A.


 The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
 Bowers on November 8, 2013:

 EXHIBIT            DESCRIPTION                                FINDINGS
   24               Blood tube reported to be from Connie      Swabbed blood like crusts from top and around
                    Cooper                                     lower edge of stopper of tube. Swabbing
                                                               preserved as Exhibit 24A.

   26              Blood tube reported to be from James        Swabbed blood like crusts from top and around
                   Robinson                                    lower edge of stopper of tube. Swabbing
                                                               preserved as Exhibit 26A.




                                                                               SDT-BOI 000604
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~   PEORIAPD
    Laboratory Case #M77-000197                       -2-                                    January 17, 2014


    The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
    Bowers on November 7, 2013:

    EXHIBIT          DESCRIPTION                               FINDINGS
      27             Head hair standard reported to be from    Apparent hairs observed through package. Not
                     Connie Cooper                             examined at this time.

      28             Pubic hair standard reported to be from No blood indicated on visible staining on outside
                     Connie Cooper                           and inside bottom seam edge of package.
                                                             Swabbing of brown stain from inside seam edge
                                                             preserved as Exhibit 28A. Apparent hairs
                                                             observed. Portion of apparent hair ends
                                                             preserved as Exhibit 28B.
                                                             May be used as a DNA standard.

      29             Head hair standard reported to be from    Apparent hairs observed. Portion of apparent
                     James Robinson                            hair ends preserved as Exhibit 29A. May be used
                                                               as a iNA: stanaard.
                                                               Apparent fiber observed.

      30             Pubic hair standard reported to be from   Apparent hairs observed through package. No
                     James Robinson                            further exam at this time.

      31             Package reported to contain hair from     No apparent hairs observed on inside of package.
                     Connie Cooper1s right hand                No blood indicated on stain on outside of
                                                               package. One apparent hair observed on outside
                                                               of package. No further exam at this time.

      35             Anal swabs reported to be from Connie Not tested at this time. Swabs and liquid
                     Cooper                                contents preserved as Exhibit 35A.

      36             Vaginal swabs reported to be from         Not tested at this time. Swabs and liquid
                     Connie Cooper                             contents preserved as Exhibit 36A.

      44             Black Normark folding knife reported      Small blood-like stains observed on blade and
                     to be from Johnnie Lee Savory             inside folding portion of knife. Swabbings
                                                               conducted of both areas and preserved as Exhibit
                                                               44A and 44B respectively. No testing conducted
                                                               at this time to preserve sample.

      49             Head hair standard reported to be from    Not examined.
                     Johnnie Lee Savory

      50             Head hair standard reported to be from    Not examined.
                     Johnnie Lee Savory




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        •        PEORIA PD
                 Laboratory Case #M77-000197                     -3-                                      January 17, 2014


                 EXHIBIT         DESCRIPTION                               FINDINGS
                   51            Head hair standard reported to be from    Not examined.
                                 Johnnie Lee Savory

                     52          Head hair standard reported to be from    Not examined.
                                 Johnnie Lee Savory

                     53          Head hair standard reported to be from    Not examined.
                                 Johnnie Lee Savory

                     54          Pubic hair standard reported to be from   Not examined.
                                 Johnnie Lee Savory

                     59          Blue pants                                No blood indicated on areas tested at this time.
                                                                           Swabbing from inside waist band of pants
                                                                           conducted and preserved as Exhibit 59A.
                                                                           Area cut around apparent bum hole and
    --                                                                     preserved as Exh101t 59B-:-
                                                                           Portion of blood-like stain from inside right front
                                                                           pocket preserved as Exhibit 59C.
                                                                           Portion of stained area from inside back of pants
                                                                           near tag preserved as Exhibit 59D.
                                                                           Portion of material cut out below belt loop next
                                                                           to right front pocket (possible prior testing area)
                                                                           preserved as Exhibit 59E.
                                                                           Apparent hairs, fibers and miscellaneous debris
                                                                           collected.

                     69         Package reported to contain hair from      No apparent hairs observed on inside of package.
                                James Robinson's left hand

                     84         Blood tube reported to be from Johnnie Not examined.
                                Lee Savory

                     85         Blood tube reported to be from Johnnie Not examined.
                                Lee Savory

                     88         Mustache hair standard reported to be      Not examined.
                                from William Douglas

                     89         Head hair standard reported to be from     Not examined.
                                William Douglas

                     90         Head hair standard reported to be from     Not examined.
                                William Douglas




                                                                                           SDT-BOI 000606
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~   PEORIA PD
    Laboratory Case #M77-000197                           -4-                                     January 17, 2014


    EXHIBIT            DESCRIPTION                                 FINDINGS
      91               Head hair standard reported to be from      Not examined.
                       William Douglas

       92              Head hair standard reported to be from      Not examined.
                       William Douglas

       93              Head hair standard reported to be from      Apparent hairs observed. Portion of apparent
                       William Douglas                             hair ends preserved as Exhibit 93A. May be used
                                                                   as a DNA standard.

       94              Pubic hair standard reported to be from     Not examined.
                       William Douglas

       95              Head hair standard reported to be from      Not examined.
                       Noyalee Robinson

                       Head hair standard reported to be from      Apparent hairs observed. -Portion o apparent
                       Noyalee Robinson                            hair ends preserved as Exhibit 96A. May be used
                                                                   as a DNA standard.

       97              Head hair standard reported to be from      Not examined.
                       Noyalee Robinson

       98              Head hair standard reported to be from     Apparent hairs observed. Portion of apparent
                       Noyalee Robinson                           hair ends preserved and combined with Exhibit
                                                                  96A. May be used as a DNA standard.

       99              Head hair standard reported to be from     Not examined.
                       Noyalee Robinson

       100             Pubic hair standard reported to be from    Apparent hairs observed through package. Not
                       Noyalee Robinson                           examined at this time.

       I IO            Buccal standard from Johnnie Lee           Preserved.
                       Savory


    REQUESTS:
    Exhibits IAI, 21A, 22A, 35A, 36A, 44A, 44B, 59A, 59B, 59D and 59E will need to be consumed in DNA
    analysis due to limited sample size.

    Please note that some items have not been examined at this time. If, at a later date, it is determined that
    the value of this evidence can significantly aid the case, please advise.




                                                                                  SDT-BOI 000607
..                  1:23-cv-01184-CRL-JEH # 318-9            Filed: 04/22/24     Page 171 of 199

     •' PEORIA PD
        Laboratory Case #M77-000197                        -5-                                     January 17, 2014


       REQUESTS: (continued)
       For results of previous biological examinations, refer to the laboratory reports by Forensic Scientists
       Robert Gonsowski and Judith Kienzler.

       Microscopy evidence (apparent hairs, fiber, debris) was observed and collected in this case.

       EVIDENCE DISPOSITION:
       Exhibits IAI, 15A, 15B, 21A, 22A, 24A, 26A) 28A, 28B, 29A, 35A, 36A, 44A, 44B, 59A, 59B, 59C,
       59D, 59E, 93A, 96A and I IO have been transferred to the DNA section of the Morton Forensic Science
       Laboratory for further analysis and may be the subject of a separate report.

       The evidence will be returned to your agency at a later date.

       If you have any questions regarding this report, please feel free to contact me.

       Any analysis conducted is accredited under the laboratory's ISO/IEC 17025 accreditation issued by
       ANSI-ASQ National Accreditation Board/FQS. Refer to certificate #AT-1700 and associated Scope of
       Accreditation.




                                                                       a~~Ua.r~
                                                                       Respectfully submitted,



                                                                             3
                                                                       Ann Maria ~:agle
                                                                       Forensic Scientist
                                                                                            "(J
       cc: PEORIA CO SA
           Joshua A. Tepfer-Center on Wrongful Convictions of Youth




                                                                                   SDT-BOI 000608
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                                               ILLINOIS STATE POLICE                                               4
                                            Division of Forensic Services
                                            Forensic Sciences Command
                                          Morton Forensic Science Laboratory

Exhibit/ Item                    44            Date Examined        12/11/2013 Case#                   M77-197

Description of Package and Markings:
  man env sld clear tape " ...#982 10-22-13 ... "
  "Black Normark Folding Knife ex. 32A" on env
Envelope opened to observe
Folding knife - "People's Exhibit #32A" Red label on handle
             INITIALS AND DATE SCRIBED ON HANDLE BY STICKER " ... 2/1/77''
          "Normark" brand on handle blade "EKA Sweden Stainless"
          knife ~18cm long unfolded blade ~7.5cm
Exam with stereo microscope
             observed very small RBS on blade of knife, sharp edge(<~ 112mm by ~3mm)
             not tested b/c so small to preserve
12-12-13 continue exam
                                                                                       ----
44A-1 swabbing into 1 SET into zl into man env sld BET 12-17-13--AMY
             fine tip swab moistened w/ ddi water - blade edge of knife
             swabbed both sides of sharp edge at stain
             air dried and preserved as Exhibit 44A


Vis small amount of reddish stain inside area blade folds into
             not tested b/c so small to preserve


44B- 1 swabbing into 1 SET into zl into man env sld BET 12-17-13 AMY
             fine lip swab moistened w/ ddi water - inside area of folding knife
             air dried and preserved as Exhibit 448




KM controls
known blood = pos
blank =neg
Turned over to DNA:                          Repackaging:                     Seal Date:              Analyst:
44A,44B                                      orig man env sld BET             12/12/2013


                                                                                           Revision Date (01/13)



                                                                                       SDT-BOI 000956
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                                               ILLINOIS STATE POLICE
                                             Division of Forensic Services
                                                                                                                            5
                                             Forensic Sciences Command
                                          Morton Forensic Science Laboratory

Exhibit I Item                  59              Date Examined          12/9/2013     Case#                      M77-197

Description of Package and Markings:
  BPB sld clear box tape "SB #982 10-22-13"
  on BPB "Paper sack with blue pants Ex #34"
BPB opened to obs: open BPB inside ''#59 ... from sheet in main room ... blue pants... "
         Red people's exhibit label ''#34"
           White and Red Evidence tape seal at top fold of bag " ... 1-26-TT" appears intact
           brown tape seal at bottom "RFG" appear to be initials on tape in black
           Bag appears ripped open - observe blue work style pants             No size label observ,&d in pants.
           Removed pants from bag to examine.             Tag inside back "Koratron ... Machine wa;fshable... permanent press"
Blue Pants - Navy blue work pants, visually dirty                              Also "People's Exhibit #34A" label inside back
           button missing at waist. Pants are zipped. Zipper is metal and corroded. Unzipped pants - zipper works.
           swabbed inside of waistband with 1 moist swab. Avoided areas with markings.
           Also swabbed small area around thread where button would have been attached.                     _    swab.aicdried
           Markings on inside waist difficult to read Initials
           -3/4" of waistband width swabbed- area swabbed - dotted outline.
                                                                                                    inside front view




Two tapings made to remove and preserve apparent hairs, fibers and debris.
Front and back pockets empty, button intact left rear pocket, front right small coin pocket empty
Debris observed in front pocket, into paper packet. Packet and tapings into man env and into Ex 59 pkg.
Left front leg appears to have a small bum hole - exam w/ stereo microscope - melted fibers vis around edge
Swabbing from waist area - 1 swab
into 1 SET into zl pl into man env sld BET 12-11-13 AMY as Ex 59A



                                                                                                    continue on next page

Turned over to DNA:                          Repackaging:                            Seal Date:                 Analyst:
59A                                          n/a                                     n/a                        AMY fJ.A,
                                                                                                                    IV O '53

                                                                                                  Revision Date (01/13)



                                                                                            SDT-BOI 000959
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                                         ILLINOIS STATE POLICE
                                       Division of Forensic Services
                                       Forensic Sciences Command
                                    Morton Forensic Science Laboratory

 Exhibit / Item                59         Date Examined      12/10/2013 Case#                   M77-197

 Description of Package and Markings:
 continued exam
Visual exam of pants- dirty and worn.
 Right front pocket inside -




Q 1 - vis med rbs on pocket outside of wt material
KM Q 1 swab of stain = neg X2, cutting neg X2 on each side
                        =
Q2 same pocket swab neg, cutting neg =
inside Q1 - swab X 2 = neg, 2 cuttings inside seam= neg
Q3 around inside appt burn hole on front left leg KM = neg
Q4 yellowish stain around edge of tag swab = neg, cutting = neg
Q5 yellow- brown stain above tag swab = neg, cutting = neg




KM controls
known blood = pos
blank =neg

                                                                                    continued on next page
Turned over to DNA:                     Repackaging:                   Seal Date:               Analyst:
n/a                                     n/a                            nfa
                                                                                                            AM~

                                                                                    Revision Date (01/13)         6L\

                                                                              SDT-BOI 000960
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                                                          ILLINOIS STATE POLICE
                                                        Division of Forensic Services
                                                        Forensic Sciences Command
                                                     Morton Forensic Science Laboratory

            Exhibit / Item                 59             Date Examined         12/11/2013      Case#                      M77-197

            Description of Package and Markings:
            continued exam on 12-11-13
            Examine pants with stereo microscope - inside right front pocket stain vis blood like               12/11/2013
            KM                                                                                                 KM controls
            Q6 - stain inside back of pants below tag. Cutting= neg                                           known blood = pos
            Q7(outside of appt burn hole) same stain as 03, cutting and swab of 07 = neg                      blank =neg
            08 - vis dirt from left front leg - swab = neg
            09 = neg
            010 at zipper fly - swab= neg


            Preserve stains/ areas of pants for DNA analysis

            Q3/7 - apparent burn hole -0.4cm in diameter.
-   -   ~     ttingfromaround apparent burn hole -0.6cm X -0.8cm - hole in center           - - -----------
            into 1 SET into zl pl into man env sld BET 12-11-13 AMY as Ex 598


            01 - cutting from right front pocket. Portion of seam and pocket into 1 SET, additional portion from pocket into glyc fold .
            Cut out area -0.9cm X-1cm from seam into SET, Cut out -2.3cm X - 1.7cm from Q1 RBS stain
            From 01 stain cut out -0.Scm X -0.Bcrn into same SET, remaining stain in glyc fold.
            SET into zl pl. glyc fold and zl pl into man env sJd BET 12-11-13 AMY as Ex 59C
            More than 1/2 of stain remains intact on pants


            05 - It yellowish/ It brownish cutting from vis stain above washing tag
            -1.4cm X -0.9cm cut out of stained area- diffuse appearance
            into 1 SET into zl pl into man env sld BET 12-11-13 AMY as Ex 59D




            Pants wrapped in white paper and back into Ex 59 sld BET 12-11-13




                                                                                                              continued on next page
            Turned over to DNA:                        Repackaging:                           Seal Date:                     Analyst:
            59B,59C,590                                orig BPB Sid BET                         12/11/2013                   AMY.,.~

                                                                                                             Revision Date (01/13)      cJ:J

                                                                                                        SDT-BOI 000961
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                                                    ILLINOIS STATE POLICE
                                                  Division of Forensic Services
                                                  Forensic Sciences Command
                                               Morton Forensic Science Laboratory

Exhibit/ Item                         59               Date Examined         12/12/2013 Case#                     M77-197

Description of Package and Markings:
exam continued


12-12-13 reopened pants
looked at area around rt front pocket again with stereo microscope
observed small cut out area ~0.5cm X ~0.Scm
will cut out under layer of blue fabric remaining.
Vis dirty areas surrounding but no blood like stains observed.
Q11 - swabbing from area around rt pocket outside KM= neg                  KM controls 12-12-13
                                                                           known blood = pos
                                                                           blank =neg
Cut out inside layer from prior appt testing cut out area. ~0.5cm X ~0.Scm was pre~iously r~m(?Ved. -f1
Cut out-0.4cm X-0.5cm and into 1 SET.                                          b~t ~t}J Ct!., - ~
SET into zl pl into man env sld BET 12-12-13 AMY as Ex 59E                              -               T




Ex 59A, 598, 59D and 59E will need to be consumed in DNA




Turned over to DNA:                                  Repackaging:                        Seal Date:               Analyst:
                                                     reseled in orig bpb sld BET         12-12-13 AMY


                                                                                                      Revision Date (01/13)



                                                                                           SDT-BOI 000962
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    ,                                     ILLINOIS STATE POLICE
                                        Division of Forensic Services
                                        Forensic Sciences Command
                                     Morton Forensic Science Laborator y
                                                                                                         6

 Exhibit / Item             59           Date Examined         2/10/2013 Case#                         M77-197
                                                            re opened to remove additonal stain from pocket
 Description of Package and Markings:
 BPB opened to remove wpp marked "M77-197 #59 ... "
 opened BPB to remove blue pants
 unfolded blue pants and pulled open right front pocket, 01 and 02


 Cut out ~4cm X -0.7cm strip from 01 edge by corner of pocket and ~0.5cm square piece from below prior tested
                                                                                                                      area
into glyc fold. Will extract with remaining cutting inExhibit 59C. More than -1/2 of stained area remains on pants.
                                                                           glyc fold into 59C for extraction.


                                                                            These cuttings will be combined with prior
                                                                              cuttings subexhibited as Exhibit 59C
                                                                                         extraction #2.




Pants wrapped in white paper and back into Ex 59 sld BET 2-10-13
Turned over to DNA:                 Repackaging:                          Seal Date:                  Analyst:
59C                                 orig BPB sld BET                        2/10/2014
                                                                                                      AMY-tt
                                                                                        Revision Date (01/13)



                                                                                 SDT-BOI 000541
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                                                                                         7
                                     ILLINOIS STATE POLICE
                                     Division of Forensic Services
                                   Morton Forensic Science Laboratory
                                        1810 South Main Street
                                      Morton, Illinois 61550-2983
                                (309) 284-6500 (Voice) * 1-(800) 255-3323 (TDD)
Pat Quinn                                                                                    Hiram Grau
Governor                                     March 20, 2014                                     Direcror
                                         LABORATORY REPORT

 CRIME SCENE UNIT
 EEORIA PD
 600 SOUTH WEST ADAMS STREET
 PEORIA, IL 61602
                                                                Laboratory Case #M77-000197
                                                                AgencyCase# 77- 1588

 OFFENSE       Murder
 SUSPECT       Johnnie Lee Savory
 VICTIMS       Connie Cooper/James Robinson

 The fo llowing evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
 Bowers on November 7, 2013:

 EXHIBIT           DESCRIPTION
   IA !            Vaginal swabs from Connie Cooper
   l A IA          Extracted DNA from vaginal swabs
   15A             Swabbing from stain on edge of light switch cover (blood indicated)
   !SA i           Extracted DNA from edge of light switch cover
   15B             Swabbing from stain near center of light switch cover (blood indicated)
   2 1A            Fingernail scraping from Connie Cooper
   21A l           Extracted DNA from fingernail scraping
    '22A           Fingernail scraping from Connie Cooper
     22A l         Extracted DNA from fingernail scraping

 The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
 Bowers on N ovember 8, 2013:

 EXHIBIT           DESCRIPTION
   26A             Swabbing from top and sides of lavender blood tube stopper from James Robinson

 The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
 Bowers on November 7, 2013:

 EXHIBIT           DESCRIPTION
   28B             Apparent root ends from pubic hair standard of Connie Cooper
   28Bl            Extracted DNA from pubic hair standard of Connie Cooper
   29A             Apparent root ends from head hair standard of James Robinson
   29A I           Extracted DNA from hair standard of James Robinson
   44A             Swabbing from sharp edge of knife blade




       CONFIDENTIAL -
       PURSUANT TO PROTECTIVE ORDER
       ENTERED IN 17-CV-0204                                                PEORIA_SAVORY 1918
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PEORIA PD
Laboratory Case #M77-000 197                        -2-                                     March 20, 2014


EXHIBIT           DESCRIPTION
  44Al            Extracted DNA from swabbing from sharp edge of knife blade
  44B             Swabbing from inside of folding handle of knife
  44Bl            Extracted DNA from swabbing from inside folding handle of knife
  59A             Swabbing from inside waistband of blue pants
  59Al            Extracted DNA from swabbing of inside waistband
  5.9B            Portion of blue pants from around apparent bum hole on pants leg
 ' ''59Bl         Extracted ONA from portion of pants leg around apparent bum hole
    59C           Portion of blood-like stain from inside right front pocket
    59Cl          Extracted DNA from portion of stain inside right front pocket
    59D     - ---....ortion of pants from inside back by tag
  .59Dl           Extracted DNA from stain inside back of pants by tag
    59E           Portion of pants fro111 apparent prior testing area below belt loop
    59El          Extracted DNA from area on pants below belt loop
   .93A           Apparent root ends from head hair standard of William "Peter" Douglas
    93Al          Extracted DNA from hair standard of William."Peter" Douglas
    96A           Apparent root ends from head hair standard ofNoyalee Robinson
    96Al          Extracted DNA from hair standard ofNoyalee Robinson
    110           Buccal swab standard from Johnnie Lee Savory
    llOA          Extracted DNA from buccal standard of Johnnie Lee Savory


RESULTS
DNA from Exhibits 15B, 26A, 28B, 93A, 96A and 110 was amplified using the Polymerase Chain
Reaction (PCR) and profiled at the loci listed on the attached table.

A mixture of human DNA profiles was identified in Exhibit 15B at the D8Sl 179, D3S1358, DI 9S433,
vW A and Amelogenin loci that was interpreted as a mixture of at least two people. This mixed profile is
potentially incomplete and unsuitable for comparison to known standards. It is not suitable for entry into
the DNA Index.

A mixture of human DNA profiles was identified in Exhibit 26A that has been interpreted as a mixture of
at least three people. This mixed profile is not suitable for use as a DNA standard.

DNA profiles were identified in Exhibit 110; in Exhibit 28B at the D8Sl 179, 021Sl 1, D3S1358, THOl ,
D 13S317, Dl 6S539, Dl9S433 , vWA, TPOX, Dl8S51, D5S8l8, FGA and Amelogenin loci; in Exhibit
93A at the D8Sl 179, D21Sl l, D3S1358, THOl , D13S3l 7, D16S539, D 19S433, vWA, TPOX, D5S8l 8,
FGA and Amelogenin loci; and in Exhibit 96A at the D8S1179, D21Sll , D7S820, CSFJPO, D3Sl358,
THO! , D13S317, Dl 6S539, D 19S433, vWA, TPOX, Dl8S51, D5S8l8, FGA and Amelogenin loci. These
profiles were not used for comparisons at this time.

DNA was extracted from Exhibits lAl, 15A, 21A, 22A, 29A, 44A, 44B, 59A, 59B, 59C, 59D and 59E,
but not profiled. Quantitative PCR indicates these samples should be directed for Y -STR and Minifiler
analysis.




       CONFIDENTIAL -
       PURSUANT TO PROTECTIVE ORDER
       ENTERED IN 17-CV-0204                                               PEORIA_SAVORY 1919
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 PEORIA.PD
 Laboratory Case #M77-000197                            -3 -                                    March 20, 2014


 RESULTS (continued)
 Exhibits lAlA, l 5Al , 21Al , 22Al, 28B l , 29Al, 44Al, 44Bl, 59Al , 59Bl, 59Cl, 5901 , 59El, 93Al,
 96Al and l lOA wiU be forwarded to the Research and Development Laboratory for further analysis and
 will be the subject of a separate report .

. See the attached table for a summary of observed alleles.
 . •,.f   '
 Additional exhibits were received in this case, but were not analyzed.

  REQUESTS
  For results of previous biological examinations, refer to my laboratory report dated January 17, 2014 and
· to the laboratory reports by Forensic Scientists Robert Gonsowslci and Judith Kienzler.

 EVIDENCE DISPOSITION
 Please note that Exhibits lAl , 15A, 15B, 21A, 22A, 26A, 28B, 29A, 44A, 44B, 59A, 59B, 59C, 590,
 59E, 93A and 96A were consumed in analysis. Sample remains in Exhibits 15, 28, 29, 59, 93 and 96 for
 further testing if needed.

 The evidence will be available for return at a later date.

 If you have any questions regarding this report, please feel free to contact me .
           •
Any analysis conducted is accredited under the laboratory's ISO/IEC 17025 accreditation issued by
ANSI-ASQ National Accreditation Board/FQS. Refer to certificate #AT-1700 and associated Scope of
Accreditation.

                                                                  Respectfully submitted,



                                                                  Ann Maria Y eagle
                                                                  Forensic Scientist

Attachment (s)

cc: PEORIA CO SA
    Joshua A. Tepfer-Center on Wrongful Convictions of Youth




              CONFIDENTIAL -
              PURSUANT TO PROTECTIVE ORDER
              ENTERED IN 17-CV-0204                                          PEORIA_SAVORY 1920
                                                                                        Summary of DNA ID+ Analytical Results
                                                                  1:23-cv-01184-CRL-JEH # 318-9                            Filed: 04/22/24           Page 181 of 199    ..
                                                                                                           M77-000197
                                                                                                                                                                        _.I               •
                                                                                                     ·E xhibit Attachment - 1
                               Sub 15B                Sub 26A                Sub 288              Sub 93A                Sub 96A               Exb L10




                                                                                                                                                                                 PEORIA_SAVORY 1921
                               Swabbing from stain    !Swabbing from top and Apparent root ends   !Apparent root ends    Appi1icnt root ends   Buccal swab standard
                               near center of light   ~ides of lavender blood from pubic hair     lfrom head hair        from bead hair        from Johnnie Lee
                               switch cover {blood     ube stopper from       standard of CoMie   !standard of William   standard ofNoyalee    Savory
                               ~dicated)              ~ames Robinson          Cooper               'Peter" Douglas       Robinson


D8Sl 179                       13,14                  13,14,15,16            13, 15               12,16                  14,15                 13,14
D21S 11                        ND                     29,30,3 1                9,30               28,32.2                 9,30                 28,32.2
D7S820                         ND                     IO              lND                         ND                       ,10                 10,11
CSF lPO                        ND                     12              ND                          ND                     10                    &, 12
D3S 1358                       14,16, 18              14,15,16,17,18 16                           15,17                  16,18                 16,17
THOl                           IND                    5,7,8,9          7,9                        8,9.3                  k5,9                  7,8
Dl 3S3 17                      ND                     9,12,13          13                         13                     12,13                 12
Dl6S 539                       ND                      10,11 ,12       9,11                       9                      9,1 1                 11
D2Sl338                        ND
                                --
                                                       16,17           IND                        lND                    lND                   23
0 19S433                        11 ,13,1 4.2 ,15       11 ,13,14.2,15 13,15                       12.2,13                14.2,15               12,12.2
vWA                             17                     17,18,19         14, ) 5                   16, 17                 14,17                 15, 19
                                                                                                          '
TPOX                            ND                    8,9               &,9                       &                      &,9                   8
Dl8S5 l                         ND                     13,15            14                        ND                     15,20                 14,22
Amelogenin                      IX,Y                  IX,Y             X                          X,Y                    X                     X,Y
D5S818                          ND                     11 , I 3         11,13                      11 , 13               13                    &,13
FGA                             ND                     21,22,23        21                          19,22                 21,24                 25,27
                   lt.t n - ,.1...... n ...... - , .....A
        - · ..,.. ___.. _ _a
NT = N
rhis is a summary of the observed alleles only. Interpretations are made according to established guidelines.




                                                                                                                                                                       PURSUANT TO PROTECTIVE ORDER
                                                                                                                                                                       ENTERED IN 17-CV-0204
                                                                                                                                                                       CONFIDENTIAL -
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                                                           SDT-ISP 547
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                                                           SDT-ISP 548
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                                                           SDT-ISP 549
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                                                                    9




                                                           SDT-ISP 560
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                                                           SDT-ISP 561
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                                                           SDT-ISP 567
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                                                           SDT-ISP 568
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                                                                    11




                                             PEORIA_SAVORY 12380
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                                             PEORIA_SAVORY 12381
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                                             PEORIA_SAVORY 12382
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                                             PEORIA_SAVORY 12383
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                                             PEORIA_SAVORY 12384
1:23-cv-01184-CRL-JEH # 318-9   Filed: 04/22/24   Page 194 of 199




                                             PEORIA_SAVORY 12385
1:23-cv-01184-CRL-JEH # 318-9   Filed: 04/22/24   Page 195 of 199




                                             PEORIA_SAVORY 12386
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                                             PEORIA_SAVORY 12387
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                                             PEORIA_SAVORY 12388
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                                                                                                         12
                                     ILLINOIS STATE POLICE
                                     Division of Forensic Services
                                   Morton Forensic Science Laboratory
                                        1810 South Main Street
                                      Morton, Illinois 61550-2983
                                (309) 284-6500 (Voice)* 1-(800) 255-3323 (TDD)
Bruce Rauner                                                                               Leo P. Schmitz
   Govemor                                  November 29, 2018                                 Director
                                        LABORATORY REPORT
 CRlME SCENE UNIT
 PEORIA PD
 600 SOUTH WEST ADAMS STREET
 PEORIA IL 61602
                                                               Laboratory Case #M77-000197
                                                               Agency Case #77-1588
                                                               SUPPLEMENTAL REPORT

 OFFENSE:       Murder
 SUSPECT:       Johnnie Lee Savory
 VICTIMS:       Connie Cooper/James Robinson

 The following evidence was submitted to the Morton Forensic Science Laboratory by Officer Scott
 Bowers on Febrnary 2, 2017:

 EXHIBIT           DESCRIPTION
   7A              Blood indicated stain from lower back inside panel of underwear f.rom James Robinson


 RESULTS
 A mixture of human DNA profiles was previously identified in Exhibit 7A at 16 of 24 loci and interpreted
 as a mixture of 3 people. This mixture was repo11ed on October 3, 2018. One major male DNA profile
 was identified at 13 of those 24 loci from which James Robinson could not be excluded (is included). A
 minor DNA proflle was identified at 9 of those 24 loci and an additional low level third DNA profile was
 also identified at 3 of those 24 loci.

 In response to the court order issued October 4, 2018 by Judge Gilfillan in regards to court case number
 77-CF-565 the minor DNA profile from Exhibit 7A was searched against the Illinois SDIS database on
 October 10, 2018. The search detected possible associations to three Convicted Offe�: Jawanza
 Lark (DOB                 DOC# K68057, SID# II.A1986090), Dawna Sawyers (DOB� DOC#
 R82000, SID# IlA6161850), and Eaddie Ahumeen (DOB-- DOC#K67637, SID#
 IL36407760). These individuals demonstrate DNA profiles that are consistent with the evidence profile
 and could be the possible donor of the partial minor DNA profile identified.

 This information can be used for investigative purposes only. Please submit standard samples from
 Jawanza Lark, Dawna Sawyers, and Eaddie Ahumeen for confirmatory forensic analysis if needed.

 EVIDENCE DISPOSITION
 The evidence has been returned to your agency.




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